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                                  #:325178




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                                         #:325179




                                                                                      Arrival date:       05-14-08
 MGA Entertainment                                                                    Departure date:     08-29-08
 16300 Roscoe Boulevard                                                               No. in party:      0/0
 Van Nuys, CA 91406                                                                   Room No.:          9001
                                                                                      Account No.:
                                                                                       BookingNo.:
                                                                                      Page No.:              I of 53

                                                                                       Invoice .:
  INFORMATION INVOICE                                                                                          08-06-08
                                          Reference                                        .(7114iges          Credits

 07-01-08       Comm-Long Distance         09:46 00:02:00 lost Interface #9500=>MGA             1.21
                                           Entertainment #9001
 07-01-08       Room Service               Line# 104: CHECK# 0049304 Holden Craig              19.83
                                            104=>MGA Entertainment #900I
 07-01-08       Comm-Long Distance         09:46 00:02:00 lost Interface #9500—>MGA             1.21
                                           Entertainment #9001
 07-01-08       Kelly's Spa                Line# 8509 : CHECK# 54729 Larian Isaac             110.00
                                           #8509=>MCIA Entertainment #9001
 07-01-08       Kelly's Spa                Line# 8509 : CHECK# 54729 Larian Isaac              15.00
                                           #8509=>MGA Entertainment #9001
 07-01-08       Comm-Long Distance         09:46 00:07:00 lost Interface #9500=>MGA             2.36
                                           Entertainment #9001
 07-01-08       Comm-Long Distance         09:46 00:01:00 lost Interface #9500—>MGA             0.98
                                           Entertainment #9001
 07-01-08       Comm-Long Distance         09:46 00:01:00 lost Interface #9500=>MGA             0.98
                                           Entertainment #9001
 07-01-08       Comm-Long Distance         09:46 00:03:00 lost Interface #9500—>MGA             1.44
                                           Entertainment #9001
 07-01-08       Comm-Long Distance         09:46 00:05:00 lost Interface #9500=>MGA             1.90
                                           Entertainment #9001
 07-01-08       Comm-Long Distance         09:46 00:01:00 lost Interface #9500=>MGA             0.98
                                           Entertainment #9001
 07-01-08       Comm-Long Distance         09:46 00:02:00 lost Interface #9500—>MGA             1.21
                                           Entertainment #9001
 07-01-08       Comm-Long Distance         09:46 00:02:00 lost Interface #9500—>MGA             1.21
                                           Entertainment #9001
 07-01-08       Comm-Long Distance         09:46 00:04:00 lost Interface #9500—>MGA               1,67
                                           Entertainment #9001
 07-01-08       Parking-Valet Overnight    Routed From Reyes Cecilia Of Room #357              10.00
 07-01-08       Parking-Valet Overnight    Routed From Harden Susan Of Room #345               10.00
 07-01-08       Parking-Valet Overnight    Routed From Isomoto Becky Of Room #355              10.00
 07-01-08       Parking-Valet Overnight    Routed From Nolan Tom Of Room #403                  10.00
 07-01-08       Parking-Valet Overnight    Routed From Herrington Rob Of Room #221             10.00




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                                          #:325180




                                                                                       Arrival date:      05-14-08
 MGA Entertainment                                                                     Departure date:    08-29-08
 16300 Roscoe Boulevard                                                                No. in party:     0/0
 Van Nuys, CA 91406                                                                    Room No,:          9001
                                                                                       Account No,:
                                                                                        BookingNo.:
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                                                                                        Invoice .:
  INFORMATION INVOICE                                                                                          08-06-08
 Date        Description                  Reference                                          Charges           Credits

 07-01-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349            10.00
 07-01-08       Parking-Valet Overnight    Routed From Gronich Daphne Of Room #184              10.00
 07-01-08       Parking-Valet Overnight    Routed From McFarland Larry Of Room #222             10.00
 07-01-08       Parking-Valet Overnight    Routed From Lopez Alex Of Room #154                  10.00
 07-01-08       Room-Group                  Routed From Holden Craig Of Room #104              189.00
 07-01-08       Occupancy Tax               Routed From Holden Craig Of Room #104               20.79
 07-01-08       Room-Group                  Routed From Feinnan Jordan Of Room #122             99.00
 07-01-08       Occupancy Tax               Routed From Feirman Jordan Of Room #122             10.89
 07-01-08       Room-Group                  Routed From MGA Entertainment Storage               99.00
                                           Room Of Room #132
 07-01-08       Occupancy Tax               Routed From MGA Entertainment Storage               10.89
                                           Room Of Room #1132
 07-01-08       Room-Group                  Routed From Franco Max Of Room 11151                99.00
 07-01-08       Occupancy Tax               Routed From Franco Max Of Room #151                 10.89
 07-01-08       Parking-Self Overnight      Routed From Franco Max Of Room #151                  5.00
 07-01-08       Room-Group                  Routed From Lopez Alex Of Room 11154                99,00
 07-01-08       Occupancy Tax               Routed From Lopez Alex Of Room 11154                10.89
 07-01-08       Room-Group                  Routed From Gronich Daphne Of Room #184             99.00
 07-01-08       Occupancy Tax               Routed From Gronich Daphne Of Room #184             10.89
 07-01-08       Room-Group                  Routed From Roth Carl Of Room #202                 189.00
 07-01-08       Occupancy Tax               Routed From Roth Carl Of Room #202                  20.79
 07-01-08       Room-Group                  Routed From Rogosa Diana Of Room #217               99.00
 07-01-08       Occupancy Tax               Routed From Rogosa Diana Of Room #217               10.89
 07-01-08       Room-Group                  Routed From Herrington Rob Of Room #221             99.00
 07-01-08       Occupancy Tax               Routed From Herrington Rob Of Room #221             10.89
 07-01-08       Room-Group                  Routed From McFarland Larry Of Room                 99.00
                                           #222
 07-01-08       Occupancy Tax               Routed From McFarland Larry Of Room                 10.89
                                           #222
 07-01-08       Room-Group                  Routed From D'Avolio Lisa Of Room #223              99.00
 07-01-08       Occupancy Tax               Routed From D'Avolio Lisa Of Room #223              10.89
 07-01-08       Room-Group                  Routed From Turnipseed Alissa Of Room               99,00




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                                                                                   Arrival date:      05-14-08
 MGA Entertainment                                                                 Departure date:    08-29-08
 16300 Roscoe Boulevard                                                            No. in party:     0/0
 Van Nuys, CA 91406                                                                Room No.:         9001
                                                                                   Account No.:
                                                                                    BookingNo,:
                                                                                   Page No.:             3 of 53

                                                                                    Invoice .:
  INFORMATION INVOICE                                                                                       08-06-08
 Date        Description           Reference                                             Charges           Credits

                                    #230
 07-01-08       Occupancy Tax        Routed From Turnipseed Alissa Of Room                  10.89
                                    #230
 07-01-08       Room-Group           Routed From Mumford Marcus Of Room                     99.00
                                    #255
 07-01-08       Occupancy Tax        Routed From Mumford Marcus Of Room                     10.89
                                    /1255
 07-01-08       Room-Group           Routed From Tonner Robert Of Room #274                 99.00
 07-01-08       Occupancy Tax        Routed From Tonner Robert Of Room #274                 10.89
 07-01-08       Room-Group           Routed From Aguiar Lauren Of Room #286                189.00
 07-01-08       Occupancy Tax        Routed From Aguiar Lauren Of Room #286                 20.79
 07-01-08       Room-Group           Routed From Shorr Aaron Of Room #303                   99.00
 07-01-08       Occupancy Tax        Routed From Shorr Aaron Of Room #303                   10.89
 07-01-08       Room-Group           Routed From Lybrand Steve Of Room #314                 99.00
 07-01-08       Occupancy Tax        Routed From Lybrand Steve Of Room #314                 10,89
 07-01-08       Room-Group           Routed From Hartlein Brianna Of Room #316              99.00
 07-01-08       Occupancy Tax        Routed From 1-lartlein Brianna Of Room #316            10.89
 07-01-08       Room-Group           Routed From Rinker Greg Of Room #317                   99.00
 07-01-08       Occupancy Tax        Routed From Rinker Greg Of Room 11317                  10.89
 07-01-08       Room-Group           Routed From Harden Susan Of Room 045                   99.00
 07-01-08       Occupancy Tax        Routed From Harden Susan Of Room #345                  10.89
 07-01-08       Room-Group           Routed From Uslaner Jonathan Of Room                   99.00
                                    #349
 07-01-08       Occupancy Tax        Routed From Uslaner Jonathan Of Room                   10.89
                                    #349
 07-01-08       Room-Group           Routed From Isomoto Becky Of Room #355                 99.00
 07-01-08       Occupancy Tax        Routed From Isomoto Becky Of Room #355                 1 0.89
 07-01-08       Room-Group           Routed From Reyes Cecilia Of Room 057                  99.00
 07-01-08       Occupancy Tax        Routed From Reyes Cecilia Of Room #357                 10.89
 07-01-08       Room-Group           Routed From Nolan Tom Of Room #403                    350.00
 07-01-08       Occupancy Tax        Routed From Nolan Tom Of Room #403                     38.50
 07-02-08       Banquet Invoice     07-01-083992I                                          678.95




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                                                                                       Arrival date:      05-14-08
 MGA Entertainment                                                                     Departure date:    08-29-08
 16300 Roscoe Boulevard                                                                No. in party:     010
 Van Nuys, CA 91406                                                                    Room No.:          9001
                                                                                       Account No.:
                                                                                       BookingNo.:

                                                                                       Page No.:             4 of 53

                                                                                        Invoice .:

  INFORMATION INVOICE                                                                                          08-06-08
 Date        Description                  Reference                                          Charge::i         Credits

 07-02-08       Room Service               Lind/ 104 : CHECK# 0049348 Holden Craig              23.54
                                           11104=>MGA Entertainment #9001
 07-02-08       Banquet Invoice            07-XX-XXXXXXX                                     1,186.11
 07-02-08       Banquet Invoice            39155                                             1,389.55
 07-02-08       Valet Parking              Line# 202: CI-IECK# 0112632 Roth Carl                 8.00
                                           #202=>MGA Entertainment #9001
 07-02-08       Banquet Invoice            DINNER39962                                         683.73
 07-02-08       Parking-Valet Overnight    Routed From Holden Craig Of Room #104                10.00
 07-02-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room /1303                10.00
 07-02-08       Parking-Valet Overnight    Routed From Isomoto Becky Of Room 11355              10.00
 07-02-08       Parking-Valet Overnight    Routed From Harden Susan Of Room 11345               10.00
 07-02-08       Parking-Valet Overnight    Routed From Nolan Tom Of Room 11403                  10.00
 07-02-08       Parking-Valet Overnight    Routed From Lopez Alex Of Room #154                  10.00
 07-02-08       Parking-Valet Overnight    Routed From Roth Carl Of Room 11202                  10.00
 07-02-08       Parking-Valet Overnight    Routed From Reyes Cecilia Of Room #357               10.00
 07-02-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349            10.00
 07-02-08       Room-Group                  Routed From Holden Craig Of Room #104              189.00
 07-02-08       Occupancy Tax               Routed From Holden Craig Of Room #/ 104             20,79
 07-02-08       Room-Group                  Routed From Feirman Jordan Of Room #122             99.00
 07-02-08       Occupancy Tax               Routed From Feirman Jordan Of Room #122             10,89
 07-02-08       Room-Group                  Routed From Franco Max Of Room #151                 99.00
 07-02-08       Occupancy Tax               Routed From Franco Max Of Room #151                 10.89
 07-02-08       Parking-Self Overnight      Routed From Franco Max Of Room #151                  5.00
 07-02-08       Room-Group                  Routed From Lopez Alex Of Room #154                 99.00
 07-02-08       Occupancy Tax               Routed From Lopez Alex Of Room #154                 10.89
 07-02-08       Room-Group                  Routed From Roth Carl Of Room #202                 189.00
 07-02-08       Occupancy Tax               Routed From Roth Carl Of Room #202                  20.79
 07-02-08       Room-Group                  Routed From Rogosa Diana Of Room 1#217              99.00
 07-02-08       Occupancy Tax               Routed From Rogosa Diana Of Room #217               10.89
 07-02-08       Room-Group                  Routed From Herrington Rob Of Room #221             99.00
 07-02-08       Occupancy Tax               Routed From Herrington Rob Of Room #221             10.89
 07-02-08       Room-Group                  Routed From McFarland Larry Of Room                 99.00




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                                                                                    Arrival date:       05-14-08
 MGA Entertainment                                                                  Departure date:     08-29-08
 16300 Roscoe Boulevard                                                             No. in party:      010
 Van Nuys, CA 91406                                                                 Room No.:           9001
                                                                                    Account No.:
                                                                                     BookingNo.:
                                                                                    Page No.:              5 of 53

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  INFORMATION INVOICE                                                                                        08-06-08

 Date        Description           'Referenee                                             Cha r es;:         Credlis

                                     #222
 07-02-08       Occupancy Tax         Routed From McFarland Larry Of Room                      10.89
                                     #222
 07-02-08       Room-Group            Routed From D'Avolio Lisa Of Room #223                   99.00
 07-02-08       Occupancy Tax         Routed From D'Avolio Lisa Of Room #223                   10.89
 07-02-08       Room-Group            Routed From Turnipseed Alissa Of Room                    99.00
                                     #230
 07-02-08       Occupancy Tax         Routed From Turnipseed Alissa Of Room                    10.89
                                     #230
 07-02-08       Room-Group            Routed From Mumford Marcus Of Room                       99.00
                                     #255
 07-02-08       Occupancy Tax         Routed From Mumford Marcus Of Room                       10.89
                                     #255
 07-02-08       Room-Group            Routed From Tonner Robert Of Room #274                 99,00
 07-02-08       Occupancy Tax         Routed From Tonner Robert Of Room #274                 10.89
 07-02-08       Room-Group            Routed From Aguiar Lauren Of Room #286                189.00
 07-02-08       Occupancy Tax         Routed From Aguiar Lauren Of Room #286                 20.79
 07-02-08       Room-Group            Routed From Shorr Aaron Of Room #303                   99,00
 07-02-08       Occupancy Tax         Routed From Shorr Aaron Of Room #303                   10.89
 07-02-08       Room-Group            Routed From Lybrand Steve Of Room #314                 99.00
 07-02-08       Occupancy Tax         Routed From Lybrand Steve Of Room #314                 10.89
 07-02-08       Room-Group            Routed From 1-lartlein Brianna Of Room 4316            99.00
 07-02-08       Occupancy Tax         Routed From 1-lartlein Brianna Of Room #316            10.89
 07-02-08       Room-Group            Routed From Rinker Greg Of Room 11317                  99.00
 07-02-08       Occupancy Tax         Routed From Rinker Greg Of Room #317                   10.89
 07-02-08       Room-Group            Routed From Harden Susan Of Room #345                  99.00
 07-02-08       Occupancy Tax         Routed From Harden Susan Of Room #345                  10.89
 07-02-08       Room-Group            Routed From Uslaner Jonathan Of Room                   99.00
                                     11349
  07-02-08       Occupancy Tax        Routed From Uslaner Jonathan Of ROOM                     10.89
                                     #349
  07-02-08       Room-Group           Routed From Isomoto Becky Of Room #355                   99.00
  07-02-08       Occupancy Tax        Routed From Isomoto Becky Of Room #355                   10.89




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                                                                                        Arrival (late:      05-14-08
 MGA Entertainment                                                                      Departure (late:    08-29-08
 16300 Roscoe Boulevard                                                                 No. in party:      0# 0
 Van Nuys, CA 91406                                                                     Room No.:           9001
                                                                                        Account No.:
                                                                                         BookingNo.:
                                                                                        Page No.:              6 of 53

                                                                                         Invoice .:

  INFORMATION INVOICE                                                                                            08-06-08
 Date        Description                  `:Reference                                         AC hargcs.         Credits

 07-02-08       Room-Group                   Routed From Reyes Cecilia Of Room #357              99.00
 07-02-08       Occupancy Tax                Routed From Reyes Cecilia Of Room #357              10.89
 07-02-08       Room-Group                   Routed From Nolan Tom Of Room /1403                350.00
 07-02-08       Occupancy Tax                Routed From Nolan Tom Of Room 1#403                 38.50
 07-03-08       Room Service                Line# 104 : CHECK!! 0049397 Holden Craig             19.83
                                            g104=>MGA Entertainment 49001
 07-03-08       Banquet Invoice             39156                                               842.82
 07-03-08       Parking-Valet Overnight     Routed From Holden Craig Of Room 4104                10.00
 07-03-08       Parking-Valet Overnight     Routed From Herrington Rob Of Room 11221             10.00
 07-03-08       Parking-Valet Overnight     Routed From Uslaner Jonathan Of Room #349            10.00
 07-03-08       Parking-Valet Overnight     Routed From Uslaner Jonathan Of Room #349            10.00
 07-03-08       Parking-Valet Overnight     Routed From Lanstra Allen Of Room 4113               10,00
 07-03-08       Parking-Valet Overnight     Routed From Shoff Aaron Of Room ##303                10.00
 07-03-08       Parking-Valet Overnight     Routed From Harden Susan Of Room 11345               10.00
 07-03-08       Parking-Valet Overnight     Routed From Lopez Alex Of Room #154                  10.00
 07-03-08       Room-Group                   Routed From Holden Craig Of Room 4104              189.00
 07-03-08       Occupancy Tax                Routed From Holden Craig Of Room #104               20.79
 07-03-08       Room-Group                   Routed From Lanstra Allen Of Room 4113              99.00
 07-03-08       Occupancy Tax                Routed From Lanstra Allen Of Room 4113              10.89
 07-03-08       Room-Group                   MGA Entertainment Storage Room                      99.00
                                            #139—>MGA Entertainment 49001
 07-03-08       Occupancy 'fax               MGA Entertainment Storage Room                       10.89
                                            1/139-->MGA Entertainment 49001
 07-03-08       Room-Group                   Routed From Franco Max Of Room 11151                 99.00
 07-03-08       Occupancy Tax                Routed From Franco Max Of Room 11151                 10.89
 07-03-08       Parking-Self Overnight       Routed From Franco Max Of Room 11151                  5.00
 07-03-08       Room-Group                   Routed From Lopez Alex Of Room /1154                 99.00
 07-03-08       Occupancy Tax                Routed From Lopez Alex Of Room 1/154                 10.89
 07-03-08       Room-Group                   Routed From Roth Carl Of Room #202                  189.00
 07-03-08       Occupancy Tax                Routed From Roth Carl Of Room #202                   20,79
 07-03-08       Room-Group                   Routed From Rogosa Diana Of Room 11217               99.00
 07-03-08       Occupancy Tax                Routed From Rogosa Diana Of Room #217                10.89




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                                                                                 Arrival date:       05-14-08
 MGA Entertainment                                                               Departure date:     08-29-08
 16300 Roscoe Boulevard                                                          No. in party:      0/0
 Van Nuys, CA 91406                                                              Room No.:           9001
                                                                                 Account No.:
                                                                                  BookingNo.:
                                                                                 Page No.:              7 of 53

                                                                                  Invoice
  INFORMATION INVOICE                                                                                     08-06-08
 Date        Description           Reference                                           Charges            Credits

 07-03-08       Room-Group          Routed From Herrington Rob Of Room #221                 99.00
 07-03-08       Occupancy Tax       Routed From Herrington Rob Of Room #221                 10.89
 07-03-08       Room-Group          Routed From D'Avolio Lisa Of Room #223                  99.00
 07-03-08       Occupancy Tax       Routed From D'Avolio Lisa Of Room #223                  10.89
 07-03-08       Room-Group          Routed From Turnipseed Alissa Of Room                   99.00
                                    #230
 07-03-08       Occupancy Tax       Routed From Turnipsced Alissa Of Room                   10.89
                                    #230
 07-03-08       Room-Group          Routed From Mumford Marcus Of Room                      99.00
                                    #255
 07-03-08       Occupancy Tax       Routed From Mumford Marcus Of Room                      10.89
                                    #255
 07-03-08       Room-Group           Routed From Aguiar Lauren Of Room #286              189.00
 07-03-08       Occupancy Tax        Routed From Aguiar Lauren Of Room #286               20.79
 07-03-08       Room-Group           Routed From Shoff Aaron Of Room #303                 99.00
 07-03-08       Occupancy Tax        Routed From Shorr Aaron Of Room #303                 10.89
 07-03-08       Room-Group           Routed From Lybrand Steve Of Room #314               99.00
 07-03-08       Occupancy Tax        Routed From Lybrand Steve Of Room #314               10.89
 07-03-08       Room-Group           Routed From Hartlein Brianna Of Room #316            99.00
 07-03-08       Occupancy Tax        Routed From Hartlein Brianna Of Room #316            10.89
 07-03-08       Room-Group           Routed From Rinker Greg Of Room #317                 99.00
 07-03-08       Occupancy Tax        Routed From Rinker Greg Of Room #317                 10.89
 07-03-08       Room-Group          Routed From Harden Susan Of Room #345                 99.00
 07-03-08       Occupancy Tax        Routed From Harden Susan Of Room #345                10.89
 07-03-08       Room-Group           Routed From Uslaner Jonathan Of Room                 99.00
                                    #349
 07-03-08       Occupancy Tax        Routed From Uslaner Jonathan Of Room                   10.89
                                    #349
 07-03-08       Room-Group           Routed From Isomoto Becky Of Room #355               99.00
 07-03-08       Occupancy Tax        Routed From lsomoto Becky Of Room #355               10.89
 07-03-08       Room-Group           Routed From Reyes Cecilia Of Room #357               99.00
 07-03-08       Occupancy Tax        Routed From Reyes Cecilia Of Room #357               10.89
 07-03-08       Room-Group           Routed From Nolan Tom Of Room #403                  350.00




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                                                                                        Arrival date:      05-14-08
  MGA Entertainment                                                                     Departure date:   08-29-08
  16300 Roscoe Boulevard                                                                No. in party:     0/0
  Van Nuys, CA 91406                                                                    Room No.:         9001
                                                                                        Account No.:
                                                                                        BookingNo.:
                                                                                        Page No.:             8 of 53

                                                                                         Invoice .:
     INFORMATION INVOICE                                                                                        08-06-08
               .
 .....11ate:                               Reference                                          Charges           Credits

  07-03-08       Occupancy Tax               Routed From Nolan Tom Of Room #403                  38.50
  07-04-08       Banquet Invoice            39157                                               842,82
  07-04-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349            10.00
  07-04-08       Parking-Valet Overnight    Routed From Lanstra Allen Of Room #1I3               10.00
  07-04-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room #303                 10.00
  07-04-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room #303                 10.00
  07-04-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349            10.00
  07-04-08       Room-Group                  Routed From Lanstra Allen Of Room #113              99.00
  07-04-08       Occupancy Tax               Routed From Lanstra Allen Of Room #113              10.89
  07-04-08       Room-Group                  Routed From MGA Entertainment Storage               99.00
                                            Room Of Room #I39
  07-04-08       Occupancy Tax               Routed From MGA Entertainment Storage                10.89
                                            Room Of Room J# 139
  07-04-08       Room-Group                  Routed From Franco Max Of Room #151                 99.00
  07-04-08       Occupancy Tax               Routed From Franco Max Of Room #151                 10.89
  07-04-08       Parking-Self Overnight      Routed From Franco Max Of Room #151                  5.00
  07-04-08       Room-Group                  Routed From Lopez Alex Of Room #154                 99,00
  07-04-08       Occupancy Tax               Routed From Lopez Alex Of Room #154                 10.89
  07-04-08       Room-Group                  Routed From Roth Carl Of Room #202                 189.00
  07-04-08       Occupancy Tax               Routed From Roth Carl Of Room #202                  20.79
  07-04-08       Room-Group                  Routed From Rogosa Diana Of Room #217               99.00
  07-04-08       Occupancy Tax               Routed From Rogosa Diana Of Room #217               10.89
  07-04-08       Room-Group                  Routed From Herrington Rob Of Room #221             99.00
  07-04-08       Occupancy Tax               Routed From Herrington Rob Of Room #221             10.89
  07-04-08       Room-Group                  Routed From D'Avolio Lisa Of Room #223              99.00
  07-04-08       Occupancy Tax               Routed From D'Avolio Lisa Of Room #223              10.89
  07-04-08       Room-Group                  Routed From Turnipseed Alissa Of Room               99.00
                                            #230
  07-04-08       Occupancy Tax               Routed From Turnipseed Alissa Of Room                10.89
                                            #230
  07-04-08       Room-Group                  Routed From Aguiar Lauren Of Room #286             189.00
  07-04-08       Occupancy Tax               Routed From Aguiar Lauren Of Room #286              20.79




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                                                                                        Arrival date:      05-14-08
 MGA Entertainment                                                                      Departure date:    08-29-08
 16300 Roscoe Boulevard                                                                 No. in party:     0/ 0
 Van Nuys, CA 91406                                                                     Room No.:          9001
                                                                                        Account No.:
                                                                                        BookingNo.:
                                                                                        Page No.:             9 of 53

                                                                                         Invoice .:
  INFORMATION INVOICE                                                                                           08-06-08
 bate'                                    Reference                                           Chiges.           Credits

 07-04-08       Room-Group                 Routed From Shorr Aaron Of Room #303                  99.00
 07-04-08       Occupancy Tax              Routed From Shorr Aaron Of Room #303                  10.89
 07-04-08       Room-Group                 Routed From Lybrand Steve Of Room #314                99.00
 07-04-08       Occupancy Tax               Routed From Lybrand Steve Of Room #314               10.89
 07-04-08       Room-Group                  Routed From Hartlein Brianna Of Room #316            99,00
 07-04-08       Occupancy Tax               Routed From Hartlein Brianna Of Room #316            10,89
 07-04-08       Room-Group                  Routed From Rinker Greg Of Room 017                  99.00
 07-04-08       Occupancy Tax               Routed From Rinker Greg Of Room #317                 10.89
 07-04-08       Room-Group                  Routed From Harden Susan Of Room #345                99.00
 07-04-08       Occupancy Tax               Routed From Harden Susan Of Room #345                10.89
 07-04-08       Room-Group                  Routed From Uslaner Jonathan Of Room                 99.00
                                           #349
 07-04-08       Occupancy Tax               Routed From Uslaner Jonathan Of Room                 10,89
                                           #349
 07-04-08       Room-Group                  Routed From Isomoto Becky Of Room #355               99.00
 07-04-08       Occupancy Tax               Routed From Isomoto Becky Of Room #355               10.89
 07-04-08       Room-Group                  Routed From Reyes Cecilia Of Room #357               99.00
 07-04-08       Occupancy Tax               Routed From Reyes Cecilia Of Room #357               10.89
 07-04-08       Room-Group                  Routed From Nolan Tom Of Room #403                  350.00
 07-04-08       Occupancy Tax               Routed From Nolan Torn Of Room #403                  38.50
 07-05-08       Parking-Valet Overnight    Day visitor on 7/5/08 Aguiar Lauren                   15.00
                                           #286—>MGA Entertainment #9001
 (}7-05-08      Valet Parking              Line# 286 : CHECK# 0112800 Aguiar Lauren              10.00
                                           #286=>MGA Entertainment 49001
 07-05-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room #303                  10.00
 07-05-08       Parking-Valet Overnight    Routed From Lanstra Allen Of Room #113                10.00
 07-05-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349             10.00
 07-05-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room #303                  10.00
 07-05-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349             10.00
 07-05-08       Parking-Valet Overnight    Routed From Herrington Rob Of Room #221               10.00
 07-05-08       Parking-Valet Overnight    Routed From Lopez Alex Of Room #154                   10.00
 07-05-08       Room-Group                  Routed From Lanstra Allen Of Room #113               99.00




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                                                                                      Arrival date:      05-14-08
 MGA Entertainment                                                                    Departure date:   08-29-08
 16300 Roscoe Boulevard                                                               No. in party:     U/0
 Van Nuys, CA 91406                                                                   Room No.:         9001
                                                                                      Account No.:
                                                                                      BookingNo.:
                                                                                      Page No.:             10 of 53

                                                                                       Invoice .:
  INFORMATION INVOICE                                                                                         08-06-08
 Date        Description                 Reference                                          Charges           Credits

 07-05-08       Occupancy Tax             Routed From Lanstra Allen Of Room #113               10.89
 07-05-08       Room-Group                Routed From MGA Entertainment Storage                99.00
                                          Room Of Room #139
 07-05-08       Occupancy Tax             Routed From MGA Entertainment Storage                10.89
                                          Room Of Room #139
 07-05-08       Room-Group                Routed From Franco Max Of Room #151                  99.00
 07-05-08       Occupancy Tax             Routed From Franco Max Of Room #151                  10.89
 07-05-08       Parking-Self Overnight    Routed From Franco Max Of Room #151                   5.00
 07-05-08       Room-Group                Routed From Lopez Alex Of Room #154                  99.00
 07-05-08       Occupancy Tax             Routed From Lopez Alex Of Room #154                  10.89
 07-05-08       Room-Group                Routed From Roth Carl Of Room #202                  189,00
 07-05-08       Occupancy Tax             Routed From Roth Carl Of Room 4202                   20.79
 07-05-08       Room-Group                Routed From Rogosa Diana Of Room #217                99.00
 07-05-08       Occupancy Tax             Routed From Rogosa Diana Of Room 11217               10.89
 07-05-08       Room-Group                Routed From 1-Torrington Rob Of Room #221            99.00
 07-05-08       Occupancy Tax             Routed From Herrington Rob Of Room #221              10.89
 07-05-08       Room-Group                Routed From D'Avolio Lisa Of Room #223               99.00
 07-05-08       Occupancy Tax             Routed From D'Avolio Lisa Of Room #223               10.89
 07-05-08       Room-Group                Routed From Turnipseed Alissa Of Room                99.00
                                          #230
 07-05-08       Occupancy Tax             Routed From Turnipseed Alissa Of Room                10.89
                                          #230
 07-05-08       Room-Group                Routed From Aguiar Lauren Of Room #286              189.00
 07-05-08       Occupancy Tax             Routed From Aguiar Lauren Of Room #286               20.79
 07-05-08       Room-Group                Routed From Short' Aaron Of Room #303                99.00
 07-05-08       Occupancy Tax             Routed From Shorr Aaron Of Room #303                 10.89
 07-05-08       Room-Group                Routed From Lybrand Steve Of Room #314               99.00
 07-05-08       Occupancy Tax             Routed From Lybrand Steve Of Room #314               10.89
 07-05-08       Room-Group                Routed From Hartlein Brianna Of Room #316            99.00
 07-05-08       Occupancy Tax             Routed From Hartlein Brianna Of Room #316            10.89
 07-05-08       Room-Group                Routed From Rinker Greg Of Room #317                 99.00
 07-05-08       Occupancy Tax             Routed From Rinker Greg Of Room #317                 10.89




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                                                                                      Arrival date:     05-14-08
 MGA Entertainment                                                                    Departure date:   08-29-08
 16300 Roscoe Boulevard                                                               No. in party:     0/0
 Van Nuys, CA 91406                                                                   Room No.;          9001
                                                                                      Account No.:
                                                                                       BookingNo.:
                                                                                      Page No.:             I I of 53

                                                                                       Invoice .:
  INFORMATION INVOICE                                                                                           08-06-08
 Date        Description                     "•
                                                                                                                Credits

 07-05-08       Room-Group                Routed From Harden Susan Of Room #345                99.00
 07-05-08       Occupancy Tax             Routed From Harden Susan Of Room #345                10.89
 07-05-08       Room-Group                Routed From Uslaner Jonathan Of Room                 99.00
                                          #349
 07-05-08       Occupancy Tax             Routed From Uslaner Jonathan Of Room                 10.89
                                          #349
 07-05-08       Room-Group                 Routed From Isomoto Becky Of Room #355              99.00
 07-05-08       Occupancy Tax              Routed From Isomoto Becky Of Room #355              10.89
 07-05-08       Room-Group                 Routed From Reyes Cecilia Of Room #357              99.00
 07-05-08       Occupancy Tax              Routed From Reyes Cecilia Of Room #357              10.89
 07-05-08       Room-Group                 Routed From Nolan Tom Of Room #403                 350.00
 07-05-08       Occupancy Tax              Routed From Nolan Tom Of Room #403                  38.50
 07-06-08       Banquet Invoice           ROOM RENTAL39159                                    779.25
 07-06-08       Room Service              Lind/ 104 : CI-IECK# 0049778 Holden Craig            19.83
                                          #104,->MGA Entertainment #9001
 07-06-08       Parking-Valet Overnight   Routed From Isomoto Becky Of Room #355               15.00
 07-06-08       Parking-Valet Overnight   Routed From Roth Carl Of Room #202                   15.00
 07-06-08       Parking-Valet Overnight   Routed From Reyes Cecilia Of Room #357               15.00
 07-06-08       Parking-Valet Overnight   Routed From Lopez Alex Of Room #154                  15.00
 07-06-08       Parking-Valet Overnight   Routed From Shoff Aaron Of Room #303                 15.00
 07-06-08       Parking-Valet Overnight   Routed From Uslaner Jonathan Of Room #349            15.00
 07-06-08       Parking-Valet Overnight   Routed From Herrington Rob Of Room #221              15.00
 07-06-08       Parking-Valet Overnight   Routed From Sloan Matt Of Room #351                  15.00
 07-06-08       Parking-Valet Overnight   Routed From Holden Craig Of Room #104                15.00
 07-06-08       Room-Group                 Routed From Holden Craig Of Room #104              189.00
 07-06-08       Occupancy Tax              Routed From Holden Craig Of Room #104               20.79
 07-06-08       Room-Group                 Routed From Lanstra Allen Of Room #113              99.00
 07-06-08       Occupancy Tax              Routed From Lanstra Allen Of Room #113              10.89
 07-06-08       Room-Group                 Routed From MGA Entertainment Storage               99.00
                                          Room Of Room ##139
 07-06-08       Occupancy Tax              Routed From MGA Entertainment Storage               10.89
                                          Room Of Room #139




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                                                                                         Arrival date:      05-14-08
 MGA Entertainment                                                                       Departure date:    08-29-08
 16300 Roscoe Boulevard                                                                  No. in party:     0/0
 Van Nuys, CA 91406                                                                      Room No.:          9001
                                                                                         Account No.:
                                                                                          RookingNo.:
                                                                                         Page No.:             12 of 53

                                                                                          Invoice .:
  INFORMATION INVOICE                                                                                            08-06-08
 Date        Description                                                                       Charges           Credits

 07-06-08       Room-Group               Routed From Franco Max Of Room #151                      99.00
 07-06-08       Occupancy Tax            Routed From Franco Max Of Room #151                      10.89
 07-06-08       Parking-Self Overnight   Routed From Franco Max Of Room #151                       5,00
 07-06-08       Room-Group               Routed From Lopez Alex Of Room #154                      99.00
 07-06-08       Occupancy Tax            Routed From Lopez Alex Of Room #154                      10.89
 07-06-08       Room-Group               Routed From Roth Carl Of Room #202                      189.00
 07-06-08       Occupancy Tax            Routed From Roth Carl Of Room #202                       20.79
 07-06-08       Room-Group               Routed From Rogosa Diana Of Room #217                    99.00
 07-06-08       Occupancy Tax            Routed From Rogosa Diana Of Room #217                    10.89
 07-06-08       Room-Group                Routed From Herrington Rob Of Room #221                 99.00
 07-06-08       Occupancy Tax             Routed From Herrington Rob Of Room #221                 10.89
 07-06-08       Room-Group                Routed From D'Avolio Lisa Of Room #223                  99.00
 07-06-08       Occupancy Tax             Routed From D'Avolio Lisa Of Room #223                  10.89
 07-06-08       Room-Group                Routed From Turnipseed Alissa Of Room                   99.00
                                         #230
 07-06-08       Occupancy Tax             Routed From Turnipseed Alissa Of Room                   10.89
                                         #230
 07-06-08       Room-Group                Routed From Aguiar Lauren Of Room #286                 189.00
 07-06-08       Occupancy Tax             Routed From Aguiar Lauren Of Room #286                  20.79
 07-06-08       Room-Group                Routed From Shorr Aaron Of Room #303                    99.00
 07-06-08       Occupancy Tax             Routed From Shorr Aaron Of Room #303                    10.89
 07-06-08       Room-Group                Routed From Lybrand Steve Of Room #314                  99.00
 07-06-08       Occupancy Tax             Routed From Lybrand Steve Of Room #314                  10.89
 07-06-08       Room-Group                Routed From 1-lartlein I3rianna Of Room #316            99.00
 07-06-08       Occupancy Tax             Routed From Hartlein I3rianna Of Room #316              10.89
 07-06-08       Room-Group                Routed From Rinker Greg Of Room #317                    99.00
 07-06-08       Occupancy Tax             Routed From Rinker Greg Of Room #317                    10.89
 07-06-08       Room-Group                Routed From Harden Susan Of Room #345                   99.00
 07-06-08       Occupancy Tax             Routed From Harden Susan Of Room #345                   10.89
 07-06-08       Room-Group                Routed From Uslaner Jonathan Of Room                    99.00
                                         #349
 07-06-08       Occupancy Tax             Routed From Uslaner Jonathan Of Room                    10.89




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                                                                                          Arrival date:      05-14-08
 MGA Entertainment                                                                        Departure date:    08-29-08
 16300 Roscoe Boulevard                                                                   No. in party:     0/0
 Van Nuys, CA 91406                                                                       Room No.:          9001
                                                                                          Account No.:
                                                                                           BookingNo.:
                                                                                          Page No.:             13 of 53

                                                                                           Invoice .:
  INFORMATION INVOICE                                                                                             08-06-08
 ))atc       Description                                                                        Charges           Credits
                                          •
                                              #349
 07-06-08       Room-Group                     Routed From Sloan Matt Of Room #351                 99.00
 07-06-08       Occupancy Tax                  Routed From Sloan Matt Of Room #351                 10.89
 07-06-08       Room-Group                     Routed From Isomoto Becky Of Room #355              99.00
 07-06-08       Occupancy Tax                  Routed From Isomoto Becky Of Room #355              10.89
 07-06-08       Room-Group                     Routed From Reyes Cecilia Of Room #357              99,00
 07-06-08       Occupancy Tax                  Routed From Reyes Cecilia Of Room #357              10.89
 07-06-08       Room-Group                     Routed From Nolan Tom Of Room #403                 350.00
 07-06-08       Occupancy Tax                  Routed From Nolan Tom Of Room I/403                 38.50
 07-07-08       Banquet Invoice               39160                                               842.82
 07-07-08       Banquet Invoice               39988                                               698.03
 07-07-08       Las Campanas                  Line# 104 : CHECK# 0057499 Holden Craig              49.28
                                              #104=>MGA Entertainment #9001
 07-07-08       Parking-Valet Overnight       Routed From Roth Carl Of Room #202                   15.00
 07-07-08       Parking-Valet Overnight       Routed From Lopez Alex Of Room #154                  15.00
 07-07-08       Parking-Valet Overnight       Routed From Harden Susan Of Room #345                15.00
 07-07-08       Parking-Valet Overnight       Routed From Isomoto Becky Of Room #355               15.00
 07-07-08       Parking-Valet Overnight       Routed From Shorr Aaron Of Room #303                 15,00
 07-07-08       Parking-Valet Overnight       Routed From Lanstra Allen Of Room 1#113              15.00
 07-07-08       Parking-Valet Overnight       Routed From Uslancr Jonathan Of Room #349            15.00
 07-07-08       Parking-Valet Overnight       Routed From Herrington Rob Of Room #221              15.00
 07-07-08       Parking-Valet Overnight       Routed From Sloan Matt Of Room #351                  15.00
 07-07-08       Room-Group                     Routed From Holden Craig Of Room #104              189.00
 07-07-08       Occupancy Tax                  Routed From Holden Craig Of Room #104               20.79
 07-07-08       Room-Group                     Routed From Lanstra Allen Of Room #113              99.00
 07-07-08       Occupancy Tax                  Routed From Lanstra Allen Of Room #113              10.89
 07-07-08       Room-Group                     Routed From Franco Max Of Room #151                 99.00
 07-07-08       Occupancy Tax                  Routed From Franco Max Of Room #151                 10.89
 07-07-08       Parking-Self Overnight         Routed From Franco Max Of Room #151                  5.00
 07-07-08       Room-Group                     Routed From Lopez Alex Of Room 11154                99.00
 07-07-08       Occupancy Tax                  Routed From Lopez Alex Of Room #154                 10.89
 07-07-08       Room-Group                     Routed From Roth Carl Of Room #202                 189.00




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                                                                                  Arrival date:       05-14-08
 MGA Entertainment                                                                Departure date:     08-29-08
 16300 Roscoe Boulevard                                                           No. in party:      010
 Van Nuys, CA 91406                                                               Room No.:           9001
                                                                                  Account No.:
                                                                                   BookiugNo.:
                                                                                  Page No.:              14 of 53

                                                                                   Invoice
  INFORMATION INVOICE                                                                                       08-06-08
 Date        Description >          Reference                                           Charges            C•edits

 07-07-08       Occupancy Tax        Routed From Roth Carl Of Room #202                      20.79
 07-07-08       Room-Group           Routed From Rogosa Diana Of Room #217                   99.00
 07-07-08       Occupancy Tax         Routed From Rogosa Diana Of Room #217                  10.89
 07-07-08       Room-Group           Routed From Herrington Rob Of Room 1/221                99.00
 07-07-08       Occupancy Tax         Routed From Herrington Rob Of Room I/221               10.89
 07-07-08       Room-Group           Routed From D'Avolio Lisa Of Room #223                  99.00
 07-07-08       Occupancy Tax         Routed From D'Avolio Lisa Of Room #223                 10.89
 07-07-08       Room-Group            Routed From Turnipseed Alissa Of Room                  99.00
                                     #230
 07-07-08       Occupancy Tax         Routed From Turnipseed Alissa Of Room                  10.89
                                     #230
 07-07-08       Room-Group            Routed From Aguiar Lauren Of Room #286              189.00
 07-07-08       Occupancy Tax         Routed From Aguiar Lauren Of Room #286               20.79
 07-07-08       Room-Group            Routed From Shoff Aaron Of Room #303                 99.00
 07-07-08       Occupancy Tax         Routed From Shorr Aaron Of Room #303                 10.89
 07-07-08       Room-Group            Routed From Lybrand Steve Of Room #314               99.00
 07-07-08       Occupancy Tax         Routed From Lybrand Steve Of Room #314               10.89
 07-07-08       Room-Group            Routed From Hartlein Brianna Of Room #316            99.00
 07-07-08       Occupancy Tax         Routed From Hartlein Brianna Of Room #316            10.89
 07-07-08       Room-Group            Routed From Rinker Greg Of Room #317                 99.00
 07-07-08       Occupancy Tax         Routed From Rinker Greg Of Room #317                 10.89
 07-07-08       Room-Group            Routed From Harden Susan Of Room #345                99.00
 07-07-08       Occupancy Tax         Routed From Harden Susan Of Room #345                10.89
 07-07-08       Room-Group            Routed From Uslaner Jonathan Of Room                 99.00
                                     #349
 07-07-08       Occupancy Tax         Routed From Uslaner Jonathan Of Room                   10.89
                                     #349
 07-07-08       Room-Group            Routed From Sloan Matt Of Room #351                    99.00
 07-07-08       Occupancy Tax         Routed From Sloan Matt Of Room #351                    10.89
 07-07-08       Room-Group            Routed From Isomoto Becky Of Room #355                 99.00
 07-07-08       Occupancy Tax         Routed From Isomoto Becky Of Room #355                 10.89
 07-07-08       Room-Group            Routed From Reyes Cecilia Of Room #357                 99.00




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                                          #:325193




                                                                                       Arrival date:      05-14-08
 MGA Entertainment                                                                     Departure date:    08-29-08
 16300 Roscoe Boulevard                                                                No. in party:     0/0
 Van Nuys, CA 91406                                                                    Room No.:          9001
                                                                                       Account No.:
                                                                                        BookingNo.:
                                                                                       Page No.:             15 of 53

                                                                                        Invoice .:

  INFORMATION INVOICE                                                                                          08-06-08
 Date        Description                  Reference                                         k7harges           Credits

 07-07-08       Occupancy Tax               Routed From Reyes Cecilia Of Room #357              10.89
 07-07-08       Room-Group                  Routed From Nolan Tom Of Room #403                 350.00
 07-07-08       Occupancy Tax               Routed From Nolan Tom Of Room #403                  38.50
 07-08-08       Room Service               Line# 104: CHEM/ 0049848 Holden Craig                19.83
                                           #104---->MGA Entertainment #9001
 07-08-08       Banquet Invoice            39161                                               842.82
 07-08-08       Bella Trattoria            Linell 104: CHECK# 0164251 Holden Craig              19.34
                                           #104—>MGA Entertainment #9001
 07-08-08       Banquet Invoice            DINNER39989                                         683.73
 07-08-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349            10.00
 07-08-08       Parking-Valet Overnight    Routed From Herrington Rob Of Room #221              10.00
 07-08-08       Parking-Valet Overnight    Routed From Roth Carl Of Room #202                   10.00
 07-08-08       Parking-Valet Overnight    Routed From Harden Susan Of Room #345                10.00
 07-08-08       Parking-Valet Overnight    Routed From Isomoto Becky Of Room #355               10.00
 07-08-08       Parking-Valet Overnight    Routed From Short-Aaron Of Room #303                 10.00
 07-08-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room #303                 10,00
 07-08-08       Room-Group                  Routed From Holden Craig Of Room #104              189.00
 07-08-08       Occupancy Tax               Routed From Holden Craig Of Room #104               20.79
 07-08-08       Room-Group                  Routed From Lanstra Allen Of Room #113              99.00
 07-08-08       Occupancy Tax               Routed From Lanstra Allen Of Room #113              10.89
 07-08-08       Room-Group                  Routed From Franco Max Of Room #151                 99.00
 07-08-08       Occupancy Tax               Routed From Franco Max Of Room #15 I                10.89
 07-08-08       Parking-Self Overnight      Routed From Franco Max Of Room #151                  5.00
 07-08-08       Room-Group                  Routed From Lopez Alex Of Room #154                 99.00
 07-08-08       Occupancy Tax               Routed From Lopez Alex Of Room #154                 10,89
 07-08-08       Room-Group                  Routed From Roth Carl Of Room #202                 189.00
 07-08-08       Occupancy Tax               Routed From Roth Carl Of Room #202                  20.79
 07-08-08       Room-Group                  Routed From Rogosa Diana Of Room #217               99.00
 07-08-08       Occupancy Tax               Routed From Rogosa Diana Of Room #217               10.89
 07-08-08       Room-Group                  Routed From Herrington Rob Of Room #221             99.00
 07-08-08       Occupancy Tax               Routed From Herrington Rob Of Room #221             10.89
 07-08-08       Room-Group                  Routed From D'Avolio Lisa Of Room #223              99.00




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                                                                                   Arrival date:      05-14-08
 MGA Entertainment                                                                 Departure date:    08.29-08
 16300 Roscoe Boulevard                                                            No. in party:     0/0
 Van Nuys, CA 91406                                                                Room No.:          9001
                                                                                   Account No.:
                                                                                    BookingNo.:
                                                                                   Page No.:             16 of 53

                                                                                    Invoice .:
  INFORMATION INVOICE                                                                                      08-06-08
 Date        Description            Reference                                            Charges           Ci•edits

 07-08-08       Occupancy Tax         Routed From D'Avolio Lisa Of Room #223                10.89
 07-08-08       Room-Group            Routed From Turnipseed Alissa Of Room                 99.00
                                     #230
 07-08-08       Occupancy Tax         Routed From Turnipseed Alissa Of Room                 10.89
                                     #230
 07-08-08       Room-Group            Routed From Aguiar Lauren Of Room #286               189.00
 07-08-08       Occupancy Tax         Routed From Aguiar Lauren Of Room #286                20.79
 07-08-08       Room-Group            Routed From Short' Aaron Of Room #303                 99.00
 07-08-08       Occupancy Tax         Routed From Shorr Aaron Of Room #303                  10.89
 07-08-08       Room-Group            Routed From Lybrand Steve Of Room #314                99,00
 07-08-08       Occupancy Tax         Routed From Lybrand Steve Of Room 11314               10.89
 07-08-08       Room-Group            Routed From Hartlein Brianna Of Room #316             99.00
 07-08-08       Occupancy Tax         Routed From Harticin Brianna Of Room 11316            10.89
 07-08-08       Room-Group            Routed From Rinker Greg Of Room #317                  99.00
 07-08-08       Occupancy Tax         Routed From Rinker Greg Of Room #317                  10.89
 07-08-08       Room-Group            Routed From Harden Susan Of Room #345                 99.00
 07-08-08       Occupancy Tax         Routed From Harden Susan Of Room #345                 10.89
 07-08-08       Room-Group            Routed From Uslaner Jonathan Of Room                  99.00
                                     #349
 07-08-08       Occupancy Tax         Routed From Uslancr Jonathan Of Room                  10,89
                                     #349
 07-08-08       Room-Group            Routed From Sloan Matt Of Room #351                   99.00
 07-08-08       Occupancy Tax         Routed From Sloan Matt Of Room #351                   10.89
 07-08-08       Room-Group            Routed From Isomoto Becky Of Room #355                99.00
 07-08-08       Occupancy Tax         Routed From Isomoto Becky Of Room #355                10.89
 07-08-08       Room-Group            Routed From Nolan Tom Of Room #403                   350.00
 07-08-08       Occupancy Tax         Routed From Nolan Tom Of Room #403                    38.50
 07-09-08       Banquet Invoice      39949                                                 842.82
 07-09-08       In Room Beverage     Routed From Holden Craig Of Room #104                   6.50
 07-09-08       Banquet Invoice      dinner39990                                           678.95
 07-09-08       Room Service         Line 104 : CHECK# 0049922 Holden Craig                 23.86
                                     11 1 04=>MGA Entertainment 119001




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                                          #:325195




                                                                                        Arrival (tale:                05-14-08
 MGA Entertainment                                                                      Departure date:               08-29-08
 16300 Roscoe Boulevard                                                                 No, in party:                0/0
 Van Nuys, CA 91406                                                                     Wumil                         9001
                                                                                        Account No.:
                                                                                        BookingNo.:
                                                                                        Page No.:                        17 of 53

                                                                                         Invoice .:
  INFORMATION INVOICE                                                                                                      08-06-08
                                                                                             ....• • • ••. ••• • .
 Date        Description                  Reference'.                                                                      Credits
                                                                                                     .•
 07-09-08       Parking-Valet Overnight    Routed From Isomoto Becky Of Room #355                   10,00
 07-09-08       Parking-Valet Overnight    Routed From Herrington Rob Of Room 4221                  10.00
 07-09-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room 1/349               10.00
 07-09-08       Parking-Valet Overnight    Routed From Lanstra Allen Of Room #113                   10.00
 07-09-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room #303                     10.00
 07-09-08       Parking-Valet Overnight    Routed From Harden Susan Of Room #345                    10.00
 07-09-08       Parking-Valet Overnight    Routed From Lopez Alex Of Room #154                      10.00
 07-09-08       Parking-Valet Overnight    Routed From Roth Carl Of Room 11202                      10.00
 07-09-08       Room-Group                 Routed From Holden Craig Of Room #104                   189.00
 07-09-08       Occupancy Tax              Routed From Holden Craig Of Room #104                    20,79
 07-09-08       Room-Group                 Routed From Lanstra Allen Of Room #113                   99.00
 07-09-08       Occupancy Tax              Routed From Lanstra Allen Of Room #113                   10.89
 07-09-08       Room-Group                 Routed From Franco Max Of Room #151                      99.00
 07-09-08       Occupancy Tax              Routed From Franco Max Of Room /1151                     10,89
 07-09-08       Parking-Self Overnight     Routed From Franco Max Of Room #151                       5.00
 07-09-08       Room-Group                 Routed From Lopez Alex Of Room #154                      99.00
 07-09-08       Occupancy Tax              Routed From Lopez Alex Of Room #154                      10.89
 07-09-08       Room-Group                 Routed From Roth Carl Of Room #202                      189.00
 07-09-08       Occupancy Tax              Routed From Roth Carl Of Room #202                       20.79
 07-09-08       Room-Group                 Routed From Rogosa Diana Of Room 11217                   99.00
 07-09-08       Occupancy Tax              Routed From Rogosa Diana Of Room /1217                   10.89
 07-09-08       Room-Group                 Routed From Herrington Rob Of Room 4221                  99.00
 07-09-08       Occupancy Tax              Routed From Herrington Rob Of Room 11221                 10.89
 07-09-08       Room-Group                 Routed From D'Avolio Lisa Of Room #223                   99.00
 07-09-08       Occupancy Tax              Routed From D'Avolio Lisa Of Room #223                   10.89
 07-09-08       Room-Group                 Routed From Turnipseed Alissa Of Room                    99,00
                                           #230
 07-09-08       Occupancy Tax              Routed From Turnipsced Alissa Of Room                     10.89
                                           #230
 07-09-08       Room-Group                 Routed From Feirman Jordan Of Room #233                  99.00
 07-09-08       Occupancy Tax              Routed From Feirman Jordan Of Room 11233                 10.89
 07-09-08       Room-Group                 Routed From Aguiar Lauren Of Room /1286                 189.00




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                                        #:325196




                                                                                          Arrival (late:      05-14-08
 MGA Entertainment                                                                        Departure (late:   08-29-08
 16300 Roscoe Boulevard                                                                   No. m party:       0/0
 Van Nuys, CA 91406                                                                       Room No.:          9001
                                                                                          Account No.:
                                                                                           BookingNo.:
                                                                                          Page No.:              18 of 53

                                                                                           Invoice .:
 INFORMATION INVOICE                                                                                               08-06-08
                 .
 bate-   DescriptIon                      Reference                                             ChargeS            Credits

 07-09-08       Occupancy Tax               Routed From Aguiar Lauren Of Room #286                 20.79
 07-09-08       Room-Group                  Routed From Rion Aaron Of Room #303                    99.00
 07-09-08       Occupancy Tax               Routed From Shorr Aaron Of Room #303                   10.89
 07-09-08       Room-Group                  Routed From Lybrand Steve Of Room #314                 99.00
 07-09-08       Occupancy Tax               Routed From Lybrand Steve Of Room #314                 10.89
 07-09-08       Room-Group                  Routed From Hartlein I3rianna Of Room #316             99.00
 07-09-08       Occupancy Tax               Routed From I Iartlein Brianna Of Room #316            10.89
 07-09-08       Room-Group                  Routed From Rinker Greg Of Room #317                   99.00
 07-09-08       Occupancy Tax               Routed From Rinker Greg Of Room #317                   10.89
 07-09-08       Room-Group                  Routed From Harden Susan Of Room #345                  99.00
 07-09-08       Occupancy Tax               Routed From Harden Susan Of Room #345                  10.89
 07-09-08       Room-Group                  Routed From Uslaner Jonathan Of Room                   99.00
                                           #349
 07-09-08       Occupancy Tax               Routed From Uslaner Jonathan Of Room                    10.89
                                           #349
 07-09-08       Room-Group                  Routed From Sloan Matt Of Room #351                    99.00
 07-09-08       Occupancy Tax               Routed From Sloan Matt Of Room #351                    10.89
 07-09-08       Room-Group                  Routed From Isomoto Becky Of Room #355                 99.00
 07-09-08       Occupancy Tax               Routed From Isomoto Becky Of Room #355                 10.89
 07-09-08       Room-Group                  Routed From Nolan Tom Of Room #403                    350.00
 07-09-08       Occupancy Tax               Routed From Nolan Tom Of Room #403                     38.50
 07-10-08       Room Service               Lind/ 104: CHECK# 0049946 Holden Craig                  19.83
                                           #104-->MGA Entertainment #9001
 07-10-08       American Express           XXXXXXXXXXX6006                    XX/XX                              30,000.00
 07-10-08       American Express           XXXXXXXXXXX6006                    XX/XX                              30,000.00
 07-10-08       Banquet Invoice                                                                   842.82
 07-10-08       In Room Beverage           Routed From Holden Craig Of Room #104                    8.00
 07-10-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349               10.00
 07-10-08       Parking-Valet Overnight    Routed From Nolan Tom Of Room #403                      10.00
 07-10-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room #303                    10.00
 07-10-08       Parking-Valet Overnight    Routed From Isomoto Becky Of Room #355                  10.00
 07-10-08       Parking-Valet Overnight    Routed From Harden Susan Of Room #345                   10,00




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                                          #:325197




                                                                                      Arrival date:      05-14-08
 MGA Entertainment                                                                    Departure date:    08-29.08
 16300 Roscoe Boulevard                                                               No. in party:     0/0
 Van Nuys, CA 91406                                                                   Room No.:          9001
                                                                                      Account No.:
                                                                                       BookingNo.:
                                                                                      Page No.:             19 of 53

                                                                                       Invoice .:
  INFORMATION INVOICE                                                                                         08-06-08
 Mite        Description                  RefcrepCe                                         Charges           Credit's •

 07-10-08       Parking-Valet Overnight    Routed From Lopez Alex Of Room #154                 10.00
 07-10-08       Room-Group                 Routed From Holden Craig Of Room #104              189.00
 07-10-08       Occupancy Tax              Routed From Holden Craig Of Room #104               20.79
 07-10-08       Room-Group                 Routed From Franco Max Of Room #151                 99.00
 07-10-08       Occupancy Tax              Routed From Franco Max Of Room #151                 10.89
 07-10-08       Parking-Self Overnight     Routed From Franco Max Of Room 11151                 5.00
 07-10-08       Room-Group                 Routed From Lopez Alex Of Room 11154                99.00
 07-10-08       Occupancy Tax              Routed From Lopez Alex Of Room 11154                10.89
 07-10-08       Room-Group                 Routed From Roth Carl Of Room #202                 189.00
 07-10-08       Occupancy Tax              Routed From Roth Carl Of Room /1202                 20.79
 07-10-08       Room-Group                 Routed From Rogosa Diana Of Room 11217              99.00
 07-10-08       Occupancy Tax              Routed From Rogosa Diana Of Room 11217              10.89
 07-10-08       Room-Group                 Routed From Herrington Rob Of Room 11221            99.00
 07-10-08       Occupancy Tax              Routed From Herrington Rob Of Room 11221            10.89
 07-10-08       Room-Group                 Routed From D'Avolio Lisa Of Room #223              99.00
 07-10-08       Occupancy Tax              Routed From D'Avolio Lisa Of Room #223              10.89
 07-10-08       Room-Group                 Routed From Turnipseed Alissa Of Room               99.00
                                           #230
  07-10-08      Occupancy Tax              Routed From Turnipseed Alissa Of Room               10.89
                                           #230
  07-10-08      Room-Group                  Routed From Feirman Jordan Of Room 0233            99.00
  07-10-08      Occupancy Tax               Routed From Feirman Jordan Of Room #233            10.89
  07-10-08      Room-Group                  Routed From Aguiar Lauren Of Room #286            189.00
  07-10-08      Occupancy Tax               Routed From Aguiar Lauren Of Room #286             20.79
  07-10-08      Room-Group                  Routed From Shorr Aaron Of Room #303               99.00
  07-10-08      Occupancy Tax               Routed From Shorr Aaron Of Room #303               10.89
  07-10-08      Room-Group                  Routed From Lybrand Steve Of Room #314             99.00
  07-10-08      Occupancy Tax               Routed From Lybrand Steve Of Room #314             10.89
  07-10-08      Room-Group                  Routed From Rinker Greg Of Room #317               99.00
  07-10-08      Occupancy Tax               Routed From Rinker Greg Of Room 11317              10.89
  07-10-08      Room-Group                  Routed From Harden Susan Of Room #345              99.00
  07-10-08      Occupancy Tax               Routed From Harden Susan Of Room #345              10.89




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                                                                                       Arrival date:      05-14-08
 MGA Entertainment                                                                     Departure date:   08-29-08
 16300 Roscoe Boulevard                                                                No. in party:     0/0
 Van Nuys, CA 91406                                                                    Room No.:         900]
                                                                                       Account No.:
                                                                                       BookingNo.:

                                                                                       Page No.:             20 of 53

                                                                                        Invoice .:
  INFORMATION INVOICE                                                                                          08-06-08
 Date        Description                  Reference::':                                      Chatte$           Credits

 07-10-08       Room-Group                  Routed From Uslaner Jonathan Of Room                99.00
                                           #349
 07-10-08       Occupancy Tax               Routed From Uslaner Jonathan Of Room                10.89
                                           11349
 07-10-08       Room-Group                  Routed From Isomoto Becky Of Room #355              99.00
 07-10-08       Occupancy Tax               Routed From Isomoto Becky Of Room #355              10.89
 07-10-08       Room-Group                  Routed From Nolan Tom Of Room #403                 350.00
 07-10-08       Occupancy Tax               Routed From Nolan Tom Of Room #403                  38.50
 07-11-08       Room Service               Line# 104: C1-IECK1i 0049992 Holden Craig            24.17
                                           #104=>MGA Entertainment #9001
 07-11-08       Banquet Invoice            39951                                               842.82
 07-11-08       Parking-Valet Overnight    Routed From Nolan Tom Of Room 11403                  10.00
 07-11-08       Parking-Valet Overnight    Routed From Shari.Aaron Of Room #303                 10.00
 07-11-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349            10.00
 07-11-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room #303                 10.00
 07-11-08       Parking-Valet Overnight    Routed From Isomoto Becky Of Room #355               10.00
 07-11-08       Parking-Valet Overnight    Routed From Harden Susan Of Room #345                10.00
 07-11-08       Parking-Valet Overnight    Routed From Nolan Tom Of Room #403                   10.00
 07-11-08       Parking-Valet Overnight    Routed From Turnipseed Alissa Of Room                10.00
                                           #230
 07-11-08       Parking-Valet Overnight    Routed From Herrington Rob Of Room #221              10.00
 07-11-08       Room-Group                  Routed From Franco Max Of Room #151                 99.00
 07-11-08       Occupancy Tax               Routed From Franco Max Of Room #151                 10.89
 07-11-08       Parking-Self Overnight      Routed From Franco Max Of Room #151                  5.00
 07-11-08       Room-Group                  Routed From Lopez Alex Of Room #154                 99.00
 07-11-08       Occupancy Tax               Routed From Lopez Alex Of Room #154                 10.89
 07-11-08       Room-Group                  Routed From Hansen David Of Room #173               99.00
 07-11-08       Occupancy Tax               Routed From Hansen David Of Room #173               10.89
 07-11-08       Room-Group                  Routed From Roth Carl Of Room #202                 189.00
 07-11-08       Occupancy Tax               Routed From Roth Carl Of Room #202                  20.79
 07-11-08       Room-Group                  Routed From Rogosa Diana Of Room #217               99.00
 07-11-08       Occupancy Tax               Routed From Rogosa Diana Of Room #217               10.89




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                                                                                     Arrival (late:     05-14-08
 MGA Entertainment                                                                   Departure date:   08-29-08
 16300 Roscoe Boulevard                                                              No. in party:     0/0
 Van Nuys, CA 91406                                                                  Room No.:         9001
                                                                                     Account No.:
                                                                                      BookingNo.:
                                                                                     Page No.:             21 of 53

                                                                                      Invoice .:
  INFORMATION INVOICE                                                                                        08-06-08
 Date        Description                                                                   Charges           Credits

 07-11-08       Room-Group                Routed From Herrington Rob Of Room #221             99.00
 07-11-08       Occupancy Tax              Routed From Herrington Rob Of Room #221            10.89
 07-11-08       Room-Group                Routed From Turnipseed Alissa Of Room               99.00
                                          #230
 07-11-08       Occupancy Tax              Routed From Turnipsecd Alissa Of Room              10.89
                                          #230
 07-11-08       Room-Group                 Routed From Feirman Jordan Of Room #233            99.00
 07-11-08       Occupancy Tax              Routed From Feirman Jordan Of Room #233            10.89
 07-11-08       Room-Group                 Routed From Aguiar Lauren Of Room #286            189.00
 07-11-08       Occupancy Tax              Routed From Aguiar Lauren Of Room #286             20.79
 07-11-08       Room-Group                 Routed From Shorr Aaron Of Room #303               99.00
 07-11-08       Occupancy Tax              Routed From Shorr Aaron Of Room /1303              10.89
 07-11-08       Room-Group                 Routed From Lybrand Steve Of Room #314             99.00
 07-11-08       Occupancy Tax              Routed From Lybrand Steve Of Room #314             10.89
 07-11-08       Room-Group                 Routed From Rinker Greg Of Room #317               99.00
 07-11-08       Occupancy Tax              Routed From Rinker Greg Of Room #317               10.89
 07-11-08       Room-Group                 Routed From Harden Susan Of Room #345              99.00
 07-11-08       Occupancy Tax              Routed From Harden Susan Of Room #345              10,89
 07-11-08       Room-Group                 Routed From Uslaner Jonathan Of Room               99.00
                                          #349
 07-11-08       Occupancy Tax              Routed From Uslaner Jonathan Of Room               10.89
                                          #349
 07-11-08       Room-Group                 Routed From Isomoto Becky Of Room #355             99.00
 07-11-08       Occupancy Tax              Routed From Isomoto Becky Of Room #355             10.89
 07-11-08       Room-Group                 Routed From Nolan Tom Of Room #403                350.00
 07-11-08       Occupancy Tax              Routed From Nolan Tom Of Room #403                 38.50
 07-12-08       Banquet Invoice           39952                                              842.82
 07-12-08       Parking-Valet Overnight   Routed From Isomoto Becky Of Room #355              10.00
 07-12-08       Parking-Valet Overnight   Routed From Harden Susan Of Room #345               10.00
 07-12-08       Parking-Valet Overnight   Routed From Nolan Tom Of Room 4403                  10.00
 07-12-08       Parking-Valet Overnight   Routed From Aguiar Lauren Of Room #286              10.00
 07-12-08       Parking-Valet Overnight   Routed From Turnipsccd Alissa Of Room               10.00




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                                          #:325200




                                                                                       Arrival date:      05-14-08
 MGA Entertainment                                                                     Departure date:    08-29-08
 16300 Roscoe Boulevard                                                                No. in party:     0/0
 Van Nuys, CA 91406                                                                    Room No.:          9001
                                                                                       Account No.:
                                                                                       BookingNo.:
                                                                                       Page No.:             22 of 53

                                                                                        Invoice .:

  INFORMATION INVOICE                                                                                           08-06-08
 Date        Description                  Reference:-                                        Charges           Credits

                                           #230
 07-12-08       Parking-Valet Overnight    Routed From Nolan Tom Of Room 11403                  10.00
 07-12-08       Room-Group                  Routed From Franco Max Of Room #151                 99.00
 07-12-08       Occupancy Tax               Routed From Franco Max Of Room 11151                10.89
 07-12-08       Parking-Self Overnight      Routed From Franco Max Of Room 11151                 5.00
 07-12-08       Room-Group                  Routed From Lopez Alex Of Room #154                 99.00
 07-12-08       Occupancy Tax               Routed From Lopez Alex Of Room #154                 10,89
 07-12-08       Room-Group                  Routed From Hansen David Of Room #173               99.00
 07-12-08       Occupancy Tax               Routed From Hansen David Of Room #173               10.89
 07-12-08       Room-Group                  Routed From Roth Carl Of Room #202                 189.00
 07-12-08       Occupancy Tax               Routed From Roth Carl Of Room #202                  20.79
 07-12-08       Room-Group                  Routed From Rogosa Diana Of Room #217               99.00
 07-12-08       Occupancy Tax               Routed From Rogosa Diana Of Room #217               10.89
 07-12-08       Room-Group                  Routed From Herrington Rob Of Room #221             99,00
 07-12-08       Occupancy Tax               Routed From Herrington Rob Of Room #221             10.89
 07-12-08       Room-Group                  Routed From Turnipsccd Alissa Of Room               99.00
                                           #230
 07-12-08       Occupancy Tax               Routed From Turnipseed Alissa Of Room               10.89
                                           #230
 07-12-08       Room-Group                  Routed From Feirman Jordan Of Room /1233            99.00
 07-12-08       Occupancy 'Fax              Routed From Feirman Jordan Of Room #233             10.89
 07-12-08       Room-Group                  Routed From Aguiar Lauren Of Room #286             189.00
 07-12-08       Occupancy Tax               Routed From Aguiar Lauren Of Room #286              20.79
 07-12-08       Room-Group                  Routed From Shorr Aaron Of Room #303                99.00
 07-12-08       Occupancy Tax               Routed From Shorr Aaron Of Room #303                10.89
 07-12-08       Room-Group                  Routed From Lybrand Steve Of Room #314              99.00
 07-12-08       Occupancy Tax               Routed From Lybrand Steve Of Room #314              10.89
 07-12-08       Room-Group                  Routed From Rinker Greg Of Room #317                99.00
 07-12-08       Occupancy Tax               Routed From Rinker Greg Of Room #317                10.89
 07-12-08       Room-Group                  Routed From Harden Susan Of Room #345               99.00
 07-12-08       Occupancy Tax               Routed From Harden Susan Of Room #345               10.89
 07-12-08       Room-Group                  Routed From Isomoto Becky Of Room #355              99.00




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                                           #:325201




                                                                                     Arrival date:      05-14-08
 MGA Entertainment                                                                   Departure date:    08-29-08
 16300 Roscoe Boulevard                                                              No. in party;     010
 Van Nuys, CA 91406                                                                  Room No.:          9001
                                                                                     Account No.:
                                                                                     BookingNo.:
                                                                                     Page No.:             23 of 53

                                                                                      Invoice .:
  INFORMATION INVOICE                                                                                        08-06-08
 Date.       DescrijAion                 RefereniCe                                        Charges           Credits

 07-12-08       Occupancy Tax              Routed From Isomoto Becky Of Room #355             10.89
 07-12-08       Room-Group                 Routed From Nolan Tom Of Room #403                350.00
 07-12-08       Occupancy Tax              Routed From Nolan Tom Of Room #403                 38.50
 07-13-08       Banquet Invoice           39953                                              842,82
 07-13-08       Room-No Show              Hartlein Brianna #328=>MGA Entertainment            99.00
                                          #9001
 07-13-08       Room-No Show              Weinsten Ryan #119=>MGA Entertainment               99.00
                                          #9001
 07-13-08       Room-Group                 Routed From Franco Max Of Room #151                99.00
 07-13-08       Occupancy Tax              Routed From Franco Max Of Room #151                10.89
 07-13-08       Parking-Self Overnight     Routed From Franco Max Of Room 11151                5.00
 07-13-08       Room-Group                 Routed From Lopez Alex Of Room #154                99.00
 07-13-08       Occupancy Tax              Routed From Lopez Alex Of Room #154                10.89
 07-13-08       Room-Group                 Routed From Hansen David Of Room #173              99.00
 07-13-08       Occupancy Tax              Routed From Hansen David Of Room #173              10.89
 07-13-08       Room-Group                 Routed From Roth Carl Of Room #202                189,00
 07-13-08       Occupancy Tax              Routed From Roth Carl Of Room #202                 20.79
 07-13-08       Room-Group                 Routed From Rogosa Diana Of Room #217              99.00
 07-13-08       Occupancy Tax              Routed From Rogosa Diana Of Room 1/217             10.89
 07-13-08       Room-Group                 Routed From Herrington Rob Of Room #221            99.00
 07-13-08       Occupancy Tax              Routed From Herrington Rob Of Room #221            10.89
 07-13-08       Room-Group                 Routed From Turnipsced Alissa Of Room              99.00
                                          #230
 07-13-08       Occupancy Tax              Routed From Turnipsced Alissa Of Room              10.89
                                          1/230
 07-13-08       Room-Group                 Routed From Feirman Jordan Of Room #233            99.00
 07-13-08       Occupancy Tax              Routed From Feirman Jordan Of Room #233            10.89
 07-13-08       Room-Group                 Routed From Aguiar Lauren Of Room #286            189.00
 07-13-08       Occupancy Tax              Routed From Aguiar Lauren Of Room #286             20.79
 07-13-08       Room-Group                 Routed From Shoff Aaron Of Room #327               99.00
 07-13-08       Occupancy Tax              Routed From Short-Aaron Of Room #327               10.89
 07-13-08       Room-Group                 Routed From Rinker Greg Of Room 4340               99.00




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                                        #:325202




                                                                                       Arrival date:       05-14-08
 MGA Entertainment                                                                     Departure date:    08-29-08
 16300 Roscoe Boulevard                                                                No. in party:      0/0
 Van Nuys, CA 91406                                                                    Room No.:          9001
                                                                                       Account No.:
                                                                                        BookingNo.:
                                                                                       Page No.:              24 of 53

                                                                                        Invoice
  INFORMATION INVOICE                                                                                           08-06-08
                                          gefereite .                                                           Credits

 07-13-08       Occupancy Tax                Routed From Rinker Greg Of Room #340               10,89
 07-13-08       Room-Group                   Routed From Harden Susan Of Room #345              99.00
 07-13-08       Occupancy Tax                Routed From Harden Susan Of Room #345              10.89
 07-13-08       Room-Group                   Routed From Isomoto Becky Of Room 11355            99.00
 07-13-08       Occupancy Tax                Routed From Isomoto Becky Of Room #355             10.89
 07-13-08       Room-Group                   Routed From Lybrand Steve Of Room #377             99.00
 07-13-08       Occupancy Tax                Routed From Lybrand Steve Of Room #377             10.89
 07-13-08       Room-Group                   Routed From Nolan Tom Of Room #403                350.00
 07-13-08       Occupancy Tax                Routed From Nolan Tom Of Room 11403                38.50
 07-14-08       Banquet Invoice             39954                                              842.82
 07-14-08       Banquet Invoice             40086                                              384.62
 07-14-08       Parking-Valet Overnight     Routed From Roth Carl Of Room #202                  15.00
 07-14-08       Parking-Valet Overnight     Routed From Shorr Aaron Of Room #327                15.00
 07-14-08       Parking-Valet Overnight     Routed From Herrington Rob Of Room 11221            15.00
 07-14-08       Parking-Valet Overnight     Routed From Nolan Tom Of Room #403                  15.00
 07-14-08       Room-Group                   Routed From Franco Max Of Room 11151               99.00
 07-14-08       Occupancy Tax                Routed From Franco Max Of Room 11151               10.89
 07-14-08       Parking-Self Overnight       Routed From Franco Max Of Room 11151                5.00
 07-14-08       Room-Group                   Routed From Lopez Alex Of Room 11154               99.00
 07-14-08       Occupancy Tax                Routed From Lopez Alex Of Room #154                10.89
 07-14-08       Room-Group                   Routed From Hansen David Of Room #173              99.00
 07-14-08       Occupancy Tax                Routed From Hansen David Of Room #173              10.89
 07-14-08       Room-Group                   Routed From Roth Carl Of Room #202                189.00
 07-14-08       Occupancy Tax                Routed From Roth Carl Of Room #202                 20.79
 07-14-08       Room-Group                   Routed From Rogosa Diana Of Room #217              99.00
 07-14-08       Occupancy Tax                Routed From Rogosa Diana Of Room #217              10.89
 07-14-08       Room-Group                   Routed From Herrington Rob Of Room #221            99.00
 07-14-08       Occupancy Tax                Routed From Herrington Rob Of Room #221            10,89
 07-14-08       Room-Group                   Routed From Turnipseed Alissa Of Room              99.00
                                            #230
 07-14-08       Occupancy Tax                Routed From Turnipseed Alissa Of Room                10.89
                                            #230




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                                            #:325203




                                                                                      Arrival date:     05-14-08
 MGA Entertainment                                                                    Departure date:   08-29-08
 16300 Roscoe Boulevard                                                               No. in party:     0/0
 Van Nuys, CA 91406                                                                   Room No.:          9001
                                                                                      Account No.:
                                                                                      BookingNo.:

                                                                                      Page No.:             25 of 53

                                                                                       Invoice .:
  INFORMATION INVOICE                                                                                           08-06-08
 I.)ate       Description                 Reference                                         Charges             Credits.

 07-14-08       Room-Group                  Routed From Feirman Jordan Of Room #233            99.00
 07-14-08       Occupancy Tax               Routed From Feirman Jordan Of Room #233            10.89
 07-14-08       Room-Group                  Routed From Aguiar Lauren Of Room #286            189.00
 07-14-08       Occupancy Tax               Routed From Aguiar Lauren Of Room #286             20.79
 07-14-08       Room-Group                  Routed From Shorr Aaron Of Room #327               99.00
 07-14-08       Occupancy Tax               Routed From Shorr Aaron Of Room #327               10.89
 07-14-08       Room-Group                  Routed From Rinker Greg Of Room #340               99.00
 07-14-08       Occupancy Tax               Routed From Rinker Greg Of Room #340               10.89
 07-14-08       Room-Group                  Routed From Harden Susan Of Room #345              99.00
 07-14-08       Occupancy Tax               Routed From Harden Susan Of Room it345             10.89
 07-14-08       Room-Group                  Routed From Isomoto Becky Of Room 11355            99.00
 07-14-08       Occupancy Tax               Routed From Isomoto Becky Of Room #355             10.89
 07-14-08       Room-Group                  Routed From Lybrand Steve Of Room #377             99.00
 07-14-08       Occupancy Tax               Routed From Lybrand Steve Of Room #377             10.89
 07-14-08       Room-Group                  Routed From Nolan Torn Of Room #403               350.00
 07-14-08       Occupancy Tax               Routed From Nolan Torn Of Room #403                38.50
 07-15-08       Banquet Invoice            39955                                              842.82
 07-15-08       Parking-Valet Overnight    Routed From Harden Susan Of Room #345               10.00
 07-15-08       Parking-Valet Overnight    Routed From Isomoto Becky Of Room #355              10.00
 07-15-08       Parking-Valet Overnight    Routed From Herrington Rob Of Room #221             10.00
 07-15-08       Parking-Valet Overnight    Routed From Nolan Tom Of Room #403                  10.00
 07-15-08       Room-Group                  Routed From Franco Max Of Room #151                99.00
 07-15-08       Occupancy Tax               Routed From Franco Max Of Room #151                10.89
 07-15-08       Parking-Self Overnight      Routed From Franco Max Of Room #151                 5.00
 07-15-08       Room-Group                  Routed From Lopez Alex Of Room #154                99.00
 07-15-08       Occupancy Tax               Routed From Lopez Alex Of Room #154                10.89
 07-15-08       Room-Group                  Routed From Hansen David Of Room #173              99.00
 07-15-08       Occupancy Tax               Routed From Hansen David Of Room #173              10.89
 07-15-08       Room-Group                  Routed From Roth Carl Of Room #202                189.00
 07-15-08       Occupancy Tax              Routed From Roth Carl Of Room #202                  20.79
 07-15-08       Room-Group                 Routed From Rogosa Diana Of Room #217               99.00
 07-15-08       Occupancy Tax              Routed From Rogosa Diana Of Room #217               10.89




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                                        #:325204




                                                                                         Arrival date:      05-14-08
 MGA Entertainment                                                                       Departure date:    08-29-08
 16300 Roscoe Boulevard                                                                  No. in party:     010
 Van Nuys, CA 91406                                                                      Room No.:          9001
                                                                                         Account No.:
                                                                                          BookingNo.:
                                                                                         Page No.:             26 of 53

                                                                                          Invoice .:
  INFORMATION INVOICE                                                                                             08-06-08
            • •,DeScrzliIiow                Reference                                          Charges.          C redi ts..:
                         ••••
 07-15-08         Room-Group                  Routed From Herrington Rob Of Room #221             99.00
 07-15-08         Occupancy Tax               Routed From Herrington Rob Of Room #221             10.89
 07-15-08         Room-Group                  Routed From Turnipseed Alissa Of Room               99,00
                                             #230
 07-15-08         Occupancy Tax               Routed From Turnipseed Alissa Of Room               10.89
                                             #230
 07-15-08         Room-Group                  Routed From Feirman Jordan Of Room 11233            99.00
 07-15-08         Occupancy Tax               Routed From Feirman Jordan Of Room 11233            10.89
 07-15-08         Room-Group                  Routed From Aguiar Lauren Of Room #286             189,00
 07-15-08         Occupancy Tax               Routed From Aguiar Lauren Of Room /1286             20.79
 07-15-08         Room-Group                  Routed From Shorr Aaron Of Room /1327               99.00
 07-15-08         Occupancy Tax               Routed From Shorr Aaron Of Room #327                10.89
 07-15-08         Room-Group                  Routed From Rinker Greg Of Room 11340               99.00
 07-15-08         Occupancy Tax               Routed From Rinker Greg Of Room 1/340               10.89
 07-15-08         Room-Group                  Routed From Harden Susan Of Room #345               99.00
 07-15-08         Occupancy Tax               Routed From Harden Susan Of Room #345               10.89
 07-15-08         Room-Group                  Routed From Isomoto Becky Of Room #355              99.00
 07-15-08         Occupancy Tax               Routed From Isomoto Becky Of Room /1355             10.89
 07-15-08         Room-Group                  Routed From Lybrand Steve Of Room #377              99.00
 07-15-08         Occupancy Tax               Routed From Lybrand Steve Of Room #377              10.89
 07-15-08         Room-Group                  Routed From Nolan Tom Of Room #403                 350.00
 07-15-08         Occupancy Tax               Routed From Nolan Tom Of Room /1403                 38.50
 07-16-08         Banquet Invoice            39956                                               842.82
 07-16-08         Comm-Long Distance         16:00 00:06:00 Routed From MGA                        2.13
                                             Entertainment Of Room #5425
 07-16-08         Parking-Valet Overnight    Routed From Herrington Rob Of Room #221              10.00
 07-16-08         Parking-Valet Overnight    Routed From Nolan Tom Of Room #403                   10.00
 07-16-08         Parking-Valet Overnight    Routed From Shorr Aaron Of Room #327                 10.00
 07-16-08         Parking-Valet Overnight    Routed From Harden Susan Of Room #345                10.00
 07-16-08         Parking-Valet Overnight    Routed From Isomoto Becky Of Room #355               10.00
 07-16-08         Parking-Valet Overnight    Routed From Lopez Alex Of Room 4154                  10.00
 07-16-08         Room-No Show               Kennedy Raoul 1/259=>MGA Entertainment              189.00




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                                        #:325205




                                                                                 Arrival date:      05-14-08
 MGA Entertainment                                                               Departure date:    08-29-08
 16300 Roscoe Boulevard                                                          No. in party:     0/0
 Van Nuys, CA 91406                                                              Room No.:          9001
                                                                                 Account No.:
                                                                                  BookingNo.:
                                                                                 Page No.:             27 of 53

                                                                                  Invoice .:

  INFORMATION INVOICE                                                                                    08-06-08
                                                                                          . .
             Description             Reference                                         Charges           Credits

                                      #9001
 07-16-08       Room-Group            Routed From Lopez Alex Of Room #154                 99.00
 07-16-08       Occupancy Tax         Routed From Lopez Alex Of Room #154                 10.89
 07-16-08       Room-Group            Routed From Hansen David Of Room #173               99.00
 07-16-08       Occupancy Tax         Routed From Hansen David Of Room #173               10.89
 07-16-08       Room-Group            Routed From Roth Carl Of Room #202                 189.00
 07-16-08       Occupancy Tax         Routed From Roth Carl Of Room #202                  20.79
 07-16-08       Room-Group            Routed From Rogosa Diana Of Room #217               99.00
 07-16-08       Occupancy Tax         Routed From Rogosa Diana Of Room #217               10.89
 07-16-08       Room-Group            Routed From Herrington Rob Of Room #221             99.00
 07-16-08       Occupancy Tax         Routed From Herrington Rob Of Room #221             10.89
 07-16-08       Room-Group             Routed From Turn ipseed Alissa Of Room             99.00
                                      #230
 07-16-08       Occupancy Tax          Routed From Turnipseed Alissa Of Room              10.89
                                      #230
 07-16-08       Room-Group             Routed From Feirman Jordan Of Room #233            99.00
 07-16-08       Occupancy Tax          Routed From Feirman Jordan Of Room #233            10.89
 07-16-08       Room-Group             Routed From Aguiar Lauren Of Room #286            189.00
 07-16-08       Occupancy Tax          Routed From Aguiar Lauren Of Room #286             20.79
 07-16-08       Room-Group             Routed From Shorr Aaron Of Room #327               99.00
 07-16-08       Occupancy Tax          Routed From Shorr Aaron Of Room #327               10.89
 07-16-08       Room-Group             Routed From Rinker Greg Of Room #340               99.00
 07-16-08       Occupancy Tax          Routed From Rinker Greg Of Room #340               10.89
 07-16-08       Room-Group             Routed From Harden Susan Of Room 11345             99.00
 07-16-08       Occupancy Tax          Routed From Harden Susan Of Room 11345             10.89
 07-16-08       Room-Group             Routed From Isomoto Becky Of Room #355             99.00
 07-16-08       Occupancy Tax          Routed From Isomoto Becky Of Room #355             10.89
 07-16-08       Room-Group             Routed From Lybrand Steve Of Room #377             99.00
 07-16-08       Occupancy Tax          Routed From Lybrand Steve Of Room #377             10.89
 07-16-08       Room-Group             Routed From Nolan Torn Of Room #403               350.00
 07-16-08       Occupancy Tax          Routed From Nolan Tom Of Room #403                 38.50
 07-17-08       Comm-Long Distance    10:01 00:04:00 Routed From MGA                       1.67




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                                          #:325206




                                                                                      Arrival date:       05-14-08
 MGA Entertainment                                                                    Departure date:     08-29-08
 16300 Roscoe Boulevard                                                               No. in party;      01 0
 Van Nuys, CA 91406                                                                   Room No.:           9001
                                                                                      Account No.;
                                                                                       l3ookingNo.:
                                                                                      Page No.:              28 of 53

                                                                                       Invoice .:
  INFORMATION INVOICE                                                                                          08-06-08
 Date        Description                  RetelrelICC                                                          Credits

                                            Entertainment Of Room #5425
 07-17-08       Comm-Long Distance          12:46 00:02:00 Routed From MGA                      1.21
                                            Entertainment Of Room #5425
 07-17-08       Banquet Invoice             39957 Routed From MGA Entertainment Of            842.82
                                            Room 115425
 07-17-08       Comm-Long Distance          15:51 00:05:00 Routed From MGA                        1.90
                                            Entertainment Of Room #5425
 07-17-08       Comm-Long Distance          16:29 00:02:00 Routed From MGA                        1.21
                                            Entertainment Of Room #5425
 07-17-08       Comm-Long Distance          17:04 00:01:00 Routed From MGA                      0.98
                                            Entertainment Of Room #5425
 07-17-08       Comm-Long Distance          17:46 00:01:00 Routed From MGA                      0.98
                                            Entertainment Of Room #5425
 07-17-08       Comm-Long Distance          18:00 00:13:00 Routed From MGA                      3.74
                                            Entertainment Of Room 05425
 07-17-08       Mission Inn Restaurant      Line 211: CHECK# 0011729 Holden Craig              54.37
                                            #211=>MGA Entertainment #9001
 07-17-08       Comm-Long Distance          21:21 00:01:00 Routed From MGA                      0.98
                                            Entertainment Of Room #5425
 07-17-08       Comm-Long Distance          21:25 00:01:00 Routed From MGA                      0.98
                                            Entertainment Of Room #5425
 07-17-08       Comm-Long Distance          22:15 00:04:00 Routed From MGA                        1.67
                                            Entertainment Of Room #5425
 07-17-08       Parking-Valet Overnight     Routed From Nolan Tom Of Room #403                 10.00
 07-17-08       Parking-Valet Overnight     Routed From Shorr Aaron Of Room #327               10.00
 07-17-08       Parking-Valet Overnight     Routed From Herrington Rob Of Room #221            10.00
 07-17-08       Parking-Valet Overnight     Routed From Roth Carl Of Room #202                 10,00
 07-17-08       Parking-Valet Overnight     Routed From Lopez Alex Of Room #154                10.00
 07-17-08       Parking-Valet Overnight     Routed From Isomoto Becky Of Room #355             10.00
 07-17-08       Parking-Valet Overnight     Routed From Harden Susan Of Room #345              10.00
 07-17-08       Room-Group                   Routed From Lopez Alex Of Room #154               99.00
 07-17-08       Occupancy Tax                Routed From Lopez Alex Of Room #154               10.89
 07-17-08       Room-Group                   Routed From Hansen David Of Room #173             99,00




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                                        #:325207




                                                                                          Arrival date:      05-14-08
 MGA Entertainment                                                                        Departure date:    08-29.08
 16300 Roscoe Boulevard                                                                   No. iii party:    0/0
 Van Nuys, CA 91406                                                                       Room No.:          9001
                                                                                          Account No.:
                                                                                           BookingNo.:
                                                                                          Page No.:             29 of 53

                                                                                           Invoice .:
  INFORMATION INVOICE                                                                                             08-06-08

                                       ••.•           •                                         Chai.ges          Credits
             •••...:........•   •




 07-17-08              Occupancy Tax           Routed From Hansen David Of Room #173               10.89
 07-17-08              Room-Group              Routed From Roth Carl Of Room #202                 189.00
 07-17-08              Occupancy Tax           Routed From Roth Carl Of Room #202                  20.79
 07-17-08              Room-Group              Routed From Hill Donna Of Room #203                 99,00
 07-17-08              Occupancy Tax           Routed From Hill Donna Of Room 11203                10.89
 07-17-08              Room-Group              Routed From Holden Craig Of Room #211               99.00
 07-17-08              Occupancy Tax           Routed From Holden Craig Of Room 1/211              10.89
 07-17-08              Room-Group              Routed From Rogosa Diana Of Room 11217              99.00
 07-17-08              Occupancy Tax           Routed From Rogosa Diana Of Room #217               10.89
 07-17-08              Room-Group              Routed From Herrington Rob Of Room #221             99.00
 07-17-08              Occupancy Tax           Routed From Herrington Rob Of Room #221             10.89
 07-17-08              Room-Group              Routed From Turnipseed Alissa Of Room               99.00
                                              11230
 07-17-08              Occupancy Tax           Routed From Turnipseed Alissa Of Room               10.89
                                              #230
 07-17-08              Room-Group              Routed From Feirman Jordan Of Room #233             99.00
 07-17-08              Occupancy Tax           Routed From Feirman Jordan Of Room 11233            10.89
 07-17-08              Room-Group              Routed From Aguiar Lauren Of Room #286             189.00
 07-17-08              Occupancy Tax           Routed From Aguiar Lauren Of Room #286              20.79
 07-17-08              Room-Group              Routed From Shorr Aaron Of Room #327                99.00
 07-17-08              Occupancy Tax           Routed From Shorr Aaron Of Room #327                10.89
 07-17-08              Room-Group              Routed From Rinker Greg Of Room #340                99.00
 07-17-08              Occupancy Tax           Routed From Rinker Greg Of Room #340                10.89
 07-17-08              Room-Group              Routed From Harden Susan Of Room #345               99.00
 07-17-08              Occupancy Tax           Routed From Harden Susan Of Room 11345              10.89
 07-17-08              Room-Group              Routed From Uslaner Jonathan Of Room                99.00
                                              #349
 07-17-08              Occupancy Tax           Routed From Uslaner Jonathan Of Room                10.89
                                              #349
 07-17-08              Room-Group              Routed From Isomoto Becky Of Room #355              99.00
 07-17-08              Occupancy Tax           Routed From Isomoto Becky Of Room #355              10.89
 07-17-08              Room-Group              Routed From Lybrand Steve Of Room #377              99.00




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                                                                                       Arrival date:      05-14-08
 MGA Entertainment                                                                     Departure date:    08-29-08
 16300 Roscoe Boulevard                                                                No. in party:       /
 Van Nuys, CA 91406                                                                    Room No.:          9001
                                                                                       Account No.:
                                                                                        BookingNo.:
                                                                                       Page No.:             30 of 53

                                                                                        Invoice .:
  INFORMATION INVOICE                                                                                          08-06-08
 Date        Description.                                                                    Char ;cti'        Credits

 07-17-08       Occupancy Tax             Routed From Lybrand Steve Of Room #377                10,89
 07-17-08       Room-Group                Routed From Nolan Tom Of Room #403                   350.00
 07-17-08       Occupancy Tax             Routed From Nolan Tom Of Room #403                    38.50
 07-18-08       Parking-Valet Overnight   Uslaner Jonathan #349—>MGA Entertainment              10.00
                                          #9001
 07-18-08       Comm-Local Calls          10:45 00:01:00 Routed From Holden Craig Of             0.75
                                          Room #211
 07-18-08       Comm-Long Distance        10:47 00:03:00 Routed From Holden Craig Of             1.44
                                          Room #211
 07-18-08       Comm-Local Calls          10:50 00:04:00 Routed From Holden Craig Of             0.75
                                          Room #211
 07-18-08       Comm-Local Calls          11:04 00:02:00 Routed From Holden Craig Of             0.75
                                          Room #211
 07-18-08       Comm-Long Distance        12:11 00:01:00 Routed From MGA                         0.98
                                          Entertainment Of Room #5425
 07-18-08       Banquet Invoice           39958                                                842.82
 07-18-08       Comm-Long Distance        15:25 00:14:00 Routed From MGA                         3.97
                                          Entertainment Of Room #5425
 07-18-08       Comm-Long Distance        16:50 00;02:00 Routed From MGA                           1,21
                                          Entertainment Of Room #5425
 07-18-08       Parking-Valet Overnight   Routed From Isomoto Becky Of Room #355                10.00
 07-18-08       Parking-Valet Overnight   Routed From Harden Susan Of Room #345                 10.00
 07-18-08       Parking-Valet Overnight   Routed From Roth Carl Of Room #202                    10.00
 07-18-08       Parking-Valet Overnight   Routed From Shorr Aaron Of Room #327                  10.00
 07-18-08       Parking-Valet Overnight   Routed From Uslaner Jonathan Of Room #349             10.00
 07-18-08       Room-No Show              Kennedy Raoul #158=>MGA Entertainment                189.00
                                          #9001
 07-18-08       Room-Group                 Routed From Lopez Alex Of Room #154                  99.00
 07-18-08       Occupancy Tax              Routed From Lopez Alex Of Room #154                  10.89
 07-18-08       Room-Group                 Routed From Hansen David Of Room #173                99.00
 07-18-08       Occupancy Tax              Routed From Hansen David Of Room #173                10.89
 07-18-08       Room-Group                 Routed From Roth Carl Of Room #202                  189.00
 07-18-08       Occupancy Tax              Routed From Roth Carl Of Room #202                   20.79




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                                                                                      Arrival dale;      05-14-08
 MGA Entertainment                                                                    Departure date:   08-29-08
 16300 Roscoe Boulevard                                                               No. in party:     0/0
 Van Nuys, CA 91406                                                                   Room No.:         9001
                                                                                      Account No.:
                                                                                       BookingNo.:
                                                                                      Page No.:             31 of 53

                                                                                       Invoice .:
  INFORMATION INVOICE                                                                                         08-06-08
 Date        Deseription                                                                    Charges           Credits

 07-18-08       Room-Group                 Routed From Rogosa Diana Of Room #217               99.00
 07-18-08       Occupancy Tax              Routed From Rogosa Diana Of Room #217               10.89
 07-18-08       Room-Group                 Routed From Turnipseed Alissa Of Room               99,00
                                          #230
 07-18-08       Occupancy Tax              Routed From Turnipseed Alissa Of Room               10,89
                                          4230
 07-18-08       Room-Group                 Routed From Feirman Jordan Of Room #233             99.00
 07-18-08       Occupancy Tax              Routed From Feirman Jordan Of Room #233             10.89
 07-18-08       Room-Group                 Routed From Aguiar Lauren Of Room #286             189.00
 07-18-08       Occupancy Tax              Routed From Aguiar Lauren Of Room #286              20.79
 07-18-08       Room-Group                 Routed From Shorr Aaron Of Room 11327               99.00
 07-18-08       Occupancy Tax              Routed From Shorr Aaron Of Room ll327               10.89
 07-18-08       Room-Group                 Routed From Herrington Rob Of Room #328             99.00
 07-18-08       Occupancy Tax              Routed From Herrington Rob Of Room #328             10.89
 07-18-08       Room-Group                 Routed From Rinker Greg Of Room #340                99,00
 07-18-08       Occupancy Tax              Routed From Rinker Greg Of Room #340                10.89
 07-18-08       Room-Group                 Routed From Harden Susan Of Room #345               99.00
 07-18-08       Occupancy Tax              Routed From Harden Susan Of Room #345               10.89
 07-18-08       Room-Group                 Routed From Uslaner Jonathan Of Room                99.00
                                          #349
 07-18-08       Occupancy Tax              Routed From Uslaner Jonathan Of Room                10.89
                                          #349
 07-18-08       Room-Group                 Routed From Isomoto Becky Of Room #355              99.00
 07-18-08       Occupancy Tax              Routed From Isomoto Becky Of Room #355              10.89
 07-18-08       Room-Group                 Routed From Lybrand Steve Of Room #377              99.00
 07-18-08       Occupancy Tax              Routed From Lybrand Steve Of Room #377              10.89
 07-18-08       Room-Group                 Routed From Nolan Tom Of Room #403                 350,00
 07-18-08       Occupancy Tax              Routed From Nolan Tom Of Room #403                  38,50
 07-19-08       Banquet Invoice           39959                                               842.82
 07-19-08       Parking-Valet Overnight   Routed From Shorr Aaron Of Room #327                 10.00
 07-19-08       Parking-Valet Overnight   Routed From Uslaner Jonathan Of Room #349            10.00
 07-19-08       Parking-Valet Overnight   Routed From Isomoto Becky Of Room #355               10.00




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                                           #:325210




                                                                                      Arrival date:     05-14-08
 MGA Entertainment                                                                    Departure date:   08-29-08
 16300 Roscoe Boulevard                                                               No. in party:     0/0
 Van Nuys, CA 91406                                                                   Room No.:         9001
                                                                                      Account No.:
                                                                                      BookingNo.:
                                                                                      Page No.:               32 of 53

                                                                                       Invoice .:
  INFORMATION INVOICE                                                                                           08-06-08
 n.ate       .Des eription                                                                  Charges            Credits

 07-19-08        Parking-Valet Overnight   Routed From Harden Susan Of Room #345               10.00
 07-19-08        Parking-Valet Overnight   Routed From Lopez Alex Of Room #154                 10.00
 07-19-08        Parking-Valet Overnight   Routed From Lanstra Allen Of Room #146              10.00
 07-19-08        Parking-Valet Overnight   Routed From Nolan Tom Of Room 4403                  10.00
 07-19-08        Room-Group                 Routed From Hammon Patrick Of Room #144            99.00
 07-19-08        Occupancy Tax              Routed From Hammon Patrick Of Room #144            10.89
 07-19-08        Room-Group                 Routed From Lanstra Allen Of Room #146             99,00
 07-19-08        Occupancy Tax              Routed From Lanstra Allen Of Room #146             10.89
 07-19-08        Room-Group                 Routed From Lopez Alex Of Room 11154               99.00
 07-19-08        Occupancy Tax              Routed From Lopez Alex Of Room /1154               10.89
 07-19-08        Room-Group                 Routed From Kennedy Raoul Of Room #158            189.00
 07-19-08        Occupancy Tax              Routed From Kennedy Raoul Of Room #158             20.79
 07-19-08        Room-Group                 Routed From Hansen David Of Room 11173             99.00
 07-19-08        Occupancy Tax              Routed From Hansen David Of Room 1i173             10.89
 07-19-08        Room-Group                 Routed From Roth Carl Of Room #202                189.00
 07-19-08        Occupancy Tax              Routed From Roth Carl Of Room #202                 20.79
 07-19-08        Room-Group                 Routed From Rogosa Diana Of Room #217              99.00
 07-19-08        Occupancy Tax              Routed From Rogosa Diana Of Room #217              10.89
 07-19-08        Room-Group                 Routed From Turnipseed Alissa Of Room              99.00
                                           #230
 07-19-08        Occupancy Tax              Routed From Turnipseed Alissa Of Room              10.89
                                           #230
 07-19-08       Room-Group                  Routed From Feirman Jordan Of Room #233            99.00
 07-19-08       Occupancy Tax               Routed From Feirman Jordan Of Room #233            10.89
 07-19-08       Room-Group                  Routed From Aguiar Lauren Of Room #286            189.00
 07-19-08       Occupancy Tax               Routed From Aguiar Lauren Of Room #286             20.79
 07-19-08       Room-Group                  Routed From Shorr Aaron Of Room #327               99.00
 07-19-08       Occupancy Tax               Routed From Shorr Aaron Of Room #327               10.89
 07-19-08       Room-Group                  Routed From Herrington Rob Of Room #328            99,00
 07-19-08       Occupancy Tax               Routed From Herrington Rob Of Room #328            10.89
 07-19-08       Room-Group                  Routed From Rinker Greg Of Room #340               99.00
 07-19-08       Occupancy Tax               Routed From Rinker Greg Of Room #340               10.89




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                                           #:325211




                                                                                      Arrival date:      05-14-08
 MGA Entertainment                                                                    Departure date:    08-29-08
 16300 Roscoe Boulevard                                                               No, in party:     0/0
 Van Nuys, CA 91406                                                                   Roam No.:          9001
                                                                                      Account No.:
                                                                                       BookingNo.:
                                                                                      Page No.:             33 of 53

                                                                                       Invoice .:
  INFORMATION INVOICE                                                                                         08-06-08
 :Date       Description                                                                    Charges           Credits

 07-19-08       Room-Group                 Routed From Harden Susan Of Room #345               99.00
 07-19-08       Occupancy Tax              Routed From Harden Susan Of Room #345               10.89
 07-19-08       Room-Group                 Routed From Uslaner Jonathan Of Room                99.00
                                          #349
 07-19-08       Occupancy Tax              Routed From Uslaner Jonathan Of Room                10.89
                                          #349
 07-19-08       Room-Group                 Routed From lsomoto Becky Of Room #355              99.00
 07-19-08       Occupancy Tax              Routed From Isomoto Becky Of Room ff355             10.89
 07-19-08       Room-Group                 Routed From Lybrand Steve Of Room #377              99.00
 07-19-08       Occupancy Tax              Routed From Lybrand Steve Of Room #377              10.89
 07-19-08       Room-Group                 Routed From Nolan Tom Of Room #403                 350.00
 07-19-08       Occupancy Tax              Routed From Nolan Tom Of Room #403                  38.50
 07-20-08       Comm-Local Calls          11:48 00:03:00 Routed From MGA                        0.75
                                          Entertainment Of Room 45425
 07-20-08       Banquet Invoice           39960                                               842.82
 07-20-08       Comm-Long Distance        16:03 00:03:00 Routed From MGA                        1.44
                                          Entertainment Of Room #5425
 07-20-08       Comm-Long Distance        16:45 00:01:00 Routed From MGA                        0.98
                                          Entertainment Of Room #5425
 07-20-08       Comm-Long Distance        16:46 00:02:00 Routed From MGA                        1,21
                                          Entertainment Of Room #5425
 07-20-08       Comm-Long Distance        21:04 00:01:00 Routed From MGA                        0.98
                                          Entertainment Of Room #5425
 07-20-08       Banquet Invoice           dinner                                              764,46
 07-20-08       Parking-Valet Overnight   Routed From Harden Susan Of Room #345                15.00
 07-20-08       Parking-Valet Overnight   Routed From Lopez Alex Of Room #154                  15.00
 07-20-08       Parking-Valet Overnight   Routed From Lanstra Allen Of Room #146               15.00
 07-20-08       Parking-Valet Overnight   Routed From Sloan Matt Of Room #284                  15.00
 07-20-08       Parking-Valet Overnight   Routed From Herrington Rob Of Room #328              15.00
 07-20-08       Parking-Valet Overnight   Routed From Uslaner Jonathan Of Room #349            15,00
 07-20-08       Room-Group                 Routed From Hammon Patrick Of Room #144             99.00
 07-20-08       Occupancy Tax              Routed From Hammon Patrick Of Room #144             10.89
 07-20-08       Room-Group                 Routed From Lanstra Allen Of Room #146              99.00




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                                                                                Arrival date:      05-14-08
 MGA Entertainment                                                              Departure date:    08-29-08
 16300 Roscoe Boulevard                                                         No. in party:     0/0
 Van Nuys, CA 91406                                                             Room No.:          9001
                                                                                Account No.:
                                                                                 l3ookingNo.:
                                                                                Page No.:             34 of 53

                                                                                 Invoice .:
  INFORMATION INVOICE                                                                                   08-06-08
 Date        Description            Reference                                         Charges           Credits

 07-20-08       Occupancy Tax         Routed From Lanstra Allen Of Room #146             10.89
 07-20-08       Room-Group            Routed From Lopez Alex Of Room #154                99.00
 07-20-08       Occupancy Tax         Routed From Lopez Alex Of Room #154                10,89
 07-20-08       Room-Group            Routed From Kennedy Raoul Of Room 4158            189.00
 07-20-08       Occupancy Tax         Routed From Kennedy Raoul Of Room #158             20.79
 07-20-08       Room-Group            Routed From Hansen David Of Room #173              99.00
 07-20-08       Occupancy Tax         Routed From Hansen David Of Room #173              10.89
 07-20-08       Room-Group            Routed From Roth Carl Of Room #202                189.00
 07-20-08       Occupancy Tax         Routed From Roth Carl Of Room #202                 20.79
 07-20-08       Room-Group            Routed From Turnipsced Alissa Of Room              99.00
                                     #230
 07-20-08       Occupancy Tax         Routed From Turnipseed Alissa Of Room              10.89
                                     11230
 07-20-08       Room-Group            Routed From Feirman Jordan Of Room #233            99.00
 07-20-08       Occupancy Tax         Routed From Feirman Jordan Of Room #233            10.89
 07-20-08       Room-Group            Routed From Sloan Matt Of Room #284                99.00
 07-20-08       Occupancy Tax         Routed From Sloan Matt Of Room 1284                10.89
 07-20-08       Room-Group            Routed From Aguiar Lauren Of Room g286            189.00
 07-20-08       Occupancy Tax         Routed From Aguiar Lauren Of Room //286            20.79
 07-20-08       Room-Group            Routed From Short Aaron Of Room #303               99.00
 07-20-08       Occupancy Tax         Routed From Short Aaron Of Room #303               10.89
 07-20-08       Room-Group            Routed From Lybrand Steve Of Room #314             99.00
 07-20-08       Occupancy Tax         Routed From Lybrand Steve Of Room g314             10.89
 07-20-08       Room-Group            Routed From Rogosa Diana Of Room #316              99.00
 07-20-08       Occupancy Tax         Routed From Rogosa Diana Of Room #316              10.89
 07-20-08       Room-Group            Routed From Herrington Rob Of Room 1328            99.00
 07-20-08       Occupancy Tax         Routed From Herrington Rob Of Room 1328            10.89
 07-20-08       Room-Group            Routed From Rinker Greg Of Room 1340               99,00
 07-20-08       Occupancy Tax         Routed From Rinker Greg Of Room #340               10.89
 07-20-08       Room-Group            Routed From Harden Susan Of Room 11345             99.00
 07-20-08       Occupancy Tax         Routed From Harden Susan Of Room g345              10.89
 07-20-08       Room-Group            Routed From Uslaner Jonathan Of Room               99.00




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                                                                               Arrival date:      05-14-08
 MGA Entertainment                                                             Departure date:    08-29-08
 16300 Roscoe Boulevard                                                        No. in party:      0/0
 Van Nuys, CA 91406                                                            Room No,:          9001
                                                                               Account No.:
                                                                                BookingNo,:
                                                                               Page No.:              35 of 53

                                                                                Invoice .;
  INFORMATION INVOICE                                                                                   08-06-08
 Date        Description             Reference                                       Charges           Credits

                                      #349
 07-20-08       Occupancy Tax         Routed From Uslaner Jonathan Of Room              10,89
                                      #349
 07-20-08       Room-Group            Routed From Isomoto Becky Of Room #355            99.00
 07-20-08       Occupancy Tax         Routed From Isomoto Becky Of Room #355            10.89
 07-20-08       Room-Group             Routed From Nolan Tom Of Room #435              350.00
 07-20-08       Occupancy Tax          Routed From Nolan Tom Of Room #435               38.50
 07-21-08       Comm-Long Distance    10:32 00:03:00 Routed From MGA                     1.44
                                      Entertainment Of Room #5425
 07-21-08       Comm-Long Distance    11:19 00:02:00 Routed From MGA                     1,21
                                      Entertainment Of Room #5425
 07-21-08       Comm-Long Distance    11:45 00:01:00 Routed From MGA                     0.98
                                      Entertainment Of Room #5425
 07-21-08       Comm-Long Distance    11:48 00:03:00 Routed From MGA                       1.44
                                      Entertainment Of Room #5425
 07-21-08       Banquet Invoice       39961                                            906.40
 07-21-08       Comm-Long Distance    13:36 00:01:00 Routed From MGA                     0.98
                                      Entertainment Of Room #5425
 07-21-08       Comm-Long Distance    13:43 00:05:00 Routed From MGA                       1.90
                                      Entertainment Of Room #5425
 07-21-08       Comm-Long Distance    15:17 00:04:00 Routed From MGA                       1.67
                                      Entertainment Of Room #5425
 07-21-08       Comm-Local Calls      16:37 00:05:00 Routed From MGA                     0.75
                                      Entertainment Of Room #5425
 07-21-08       Comm-Local Calls      16:44 00:05:00 Routed From MGA                     0.75
                                      Entertainment Of Room #5425
 07-21-08       Comm-Long Distance    16:53 00:06:00 Routed From MGA                     2.13
                                      Entertainment Of Room #5425
 07-21-08       Banquet Invoice       DINNER                                           759.69
 07-21-08       Comm-Long Distance    22:20 00:01:00 Routed From MGA                     0.98
                                      Entertainment Of Room #5425
 07-21-08       Comm-Long Distance    22:03 00:02:00 Routed From MGA                       1.21
                                      Entertainment Of Room #5425




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                                                                                      Arrival date;      05-14-08
 MGA Entertainment                                                                    Departure date:   08-29-08
 16300 Roscoe Boulevard                                                               No. in party:     0/0
 Van Nuys, CA 91406                                                                   Room No.:         9001
                                                                                      Account No.:
                                                                                       BookingNo.:
                                                                                      Page No.:             36 of 53

                                                                                       Invoice .:
  INFORMATION INVOICE                                                                                         08-06-08
 Thte        Description                  Reference                                         Charges           Credits

 07-21-08       Parking-Valet Overnight    Routed From Isomoto Becky Of Room #355              15.00
 07-21-08       Parking-Valet Overnight    Routed From Harden Susan Of Room #345               15.00
 07-21-08       Room-Group                 Routed From Hammon Patrick Of Room #144             99.00
 07-21-08       Occupancy Tax              Routed From Hammon Patrick Of Room #144             10.89
 07-21-08       Room-Group                 Routed From Lanstra Allen Of Room #146              99,00
 07-21-08       Occupancy Tax              Routed From Lanstra Allen Of Room #146              10.89
 07-21-08       Room-Group                 Routed From Lopez Alex Of Room #154                 99.00
 07-21-08       Occupancy Tax              Routed From Lopez Alex Of Room #154                 10.89
 07-21-08       Room-Group                 Routed From Kennedy Raoul Of Room #158             189.00
 07-21-08       Occupancy Tax              Routed From Kennedy Raoul Of Room 11158             20.79
 07-21-08       Room-Group                 Routed From Hansen David Of Room #173               99.00
 07-21-08       Occupancy Tax              Routed From Hansen David Of Room #173               10.89
 07-21-08       Room-Group                 Routed From Roth Carl Of Room #202                 189.00
 07-21-08       Occupancy Tax              Routed From Roth Carl Of Room #202                  20.79
 07-21-08       Room-Group                 Routed From Turnipseed Alissa Of Room               99.00
                                           #230
 07-21-08       Occupancy Tax              Routed From Turnipsced Alissa Of Room               10.89
                                           #230
 07-21-08       Room-Group                 Routed From Feirman Jordan Of Room #233             99.00
 07-21-08       Occupancy Tax               Routed From Feirman Jordan Of Room #233            10.89
 07-21-08       Room-Group                  Routed From Aguiar Lauren Of Room #286            189.00
 07-21-08       Occupancy Tax               Routed From Aguiar Lauren Of Room #286             20.79
 07-21-08       Room-Group                  Routed From Short' Aaron Of Room #303              99.00
 07-21-08       Occupancy Tax               Routed From Short Aaron Of Room #303               10.89
 07-21-08       Room-Group                  Routed From Lybrand Steve Of ROOM #314             99.00
 07-21-08       Occupancy Tax               Routed From Lybrand Steve Of Room #314             10.89
 07-21-08       Room-Group                  Routed From Rogosa Diana Of Room #316              99.00
 07-21-08       Occupancy Tax               Routed From Rogosa Diana Of Room #316              10.89
 07-21-08       Room-Group                  Routed From Herrington Rob Of Room #328            99.00
 07-21-08       Occupancy Tax               Routed From Herrington Rob Of Room #328            10.89
 07-21-08       Room-Group                  Routed From Rinker Greg Of Room #340               99.00
 07-21-08       Occupancy Tax               Routed From Rinker Greg Of Room #340               10.89




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                                                                                           Arrival date:      05-14-08
 MGA Entertainment                                                                         Departure date:   08-29-08
 16300 Roscoe Boulevard                                                                    No. in party:     0/0
 Van Nuys, CA 91406                                                                        Room No.:         9001
                                                                                           Account No.:
                                                                                           BookingNo.:
                                                                                           Page No.:             37 of 53

                                                                                            Invoice .:
  INFORMATION INVOICE                                                                                              08-06-08
                                           • •••••••••••••:-• • • • • :•, ,• •                   Charges           Credits
 Date        Description                  Reference••::.

 07-21-08       Room-Group                      Routed From Barden Susan Of Room 4345               99.00
 07-21-08       Occupancy Tax                   Routed From Harden Susan Of Room 4345               10.89
 07-21-08       Room-Group                      Routed From Uslaner Jonathan Of Room                99.00
                                               4349
 07-21-08       Occupancy Tax                   Routed From Uslaner Jonathan Of Room                10.89
                                               #349
 07-21-08       Room-Group                      Routed From Isomoto Becky Of Room #355              99.00
 07-21-08       Occupancy Tax                   Routed From Isomoto Becky Of Room #355              10.89
 07-21-08       Room-Group                      Routed From Sloan Matt Of Room #371                 99.00
 07-21-08       Occupancy Tax                   Routed From Sloan Matt Of Room #371                 10.89
 07-21-08       Room-Group                      Routed From Nolan Tom Of Room fi435                350.00
 07-21-08       Occupancy Tax                   Routed From Nolan Tom Of Room 11435                 38.50
 07-22-08       Comm-Long Distance             10:01 00:02:00 Routed From MGA                        1.21
                                               Entertainment Of Room #5425
 07-22-08       Comm-Long Distance             11:18 00:02:00 Routed From MGA                        1.21
                                               Entertainment Of Room #5425
 07-22-08       American Express               XXXXXXXXXXX6006                  XX/XX                            30,000.00
 07-22-08       Comm-Long Distance             12:42 00:01:00 Routed From MGA                        0.98
                                               Entertainment Of Room #5425
 07-22-08       Banquet Invoice                40113                                               842.82
 07-22-08       Comm-Long Distance             17:54 00:04:00 Routed From MGA                        1.67
                                               Entertainment Of Room #5425
 07-22-08       Banquet Invoice                40163                                               750.15
 07-22-08       Comm-Long Distance             21:53 00:01:00 Routed From MGA                        0.98
                                               Entertainment Of Room #5425
 07-22-08       Comm-Local Calls               00:26 00:01:00 Routed From MGA                        0.75
                                               Entertainment Of Room 115425
 07-22-08       Comm-Local Calls               00:34 00:08:00 Routed From MGA                        0.75
                                               Entertainment Of Room 45425
 07-22-08       Parking-Valet Overnight        Routed From Shorr Aaron Of Room #303                 10.00
 07-22-08       Parking-Valet Overnight        Routed From Uslaner Jonathan Of Room #349            10.00
 07-22-08       Parking-Valet Overnight        Routed From Sloan Matt Of Room #371                  10.00
 07-22-08       Parking-Valet Overnight        Routed From Weinstein Ryan Of Room #208              10.00




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                                                                                      Arrival date:      05-14-08
 MGA Entertainment                                                                    Departure date:    08-29-08
 16300 Roscoe Boulevard                                                               No. in party:     0/0
 Van Nuys, CA 91406                                                                   Room No.:          9001
                                                                                      Account No.:
                                                                                       BookingNo.:
                                                                                      Page No.:             38 of 53

                                                                                       Invoice .:
  INFORMATION INVOICE                                                                                         08-06-08
             De:sAritkin
              . .        :                Refefence                                         Charges          Credits.

 07-22-08       Parking-Valet Overnight    Routed From Lopez Alex Of Room #154                 10.00
 07-22-08       Parking-Valet Overnight    Routed From Harden Susan Of Room #345               10.00
 07-22-08       Parking-Valet Overnight    Routed From Isomoto Becky Of Room #355              10.00
 07-22-08       Parking-Valet Overnight    Routed From Herrington Rob Of Room #328             10.00
 07-22-08       Parking-Valet Overnight    Routed From Roth Carl Of Room #202                  10.00
 07-22-08       Room-Group                  Routed From Hammon Patrick Of Room #144            99.00
 07-22-08       Occupancy Tax               Routed From Hammon Patrick Of Room #144            10.89
 07-22-08       Room-Group                  Routed From Lanstra Allen Of Room #146             99.00
 07-22-08       Occupancy Tax               Routed From Lanstra Allen Of Room #146             10.89
 07-22-08       Room-Group                  Routed From Lopez Alex Of Room #154                99.00
 07-22-08       Occupancy Tax               Routed From Lopez Alex Of Room #154                10.89
 07-22-08       Room-Group                  Routed From Kennedy Raoul Of Room #158            189.00
 07-22-08       Occupancy Tax               Routed From Kennedy Raoul Of Room 4158             20.79
 07-22-08       Room-Group                  Routed From Hansen David Of Room #173              99.00
 07-22-08       Occupancy Tax               Routed From Hansen David Of Room #173              10.89
 07-22-08       Room-Group                  Routed From Roth Carl Of Room #202                189.00
 07-22-08       Occupancy Tax               Routed From Roth Carl Of Room #202                 20.79
 07-22-08       Room-Group                  Routed From Weinstein Ryan Of Room #208            99.00
 07-22-08       Occupancy Tax               Routed From Weinstein Ryan Of Room #208            10.89
 07-22-08       Room-Group                  Routed From Turnipseed Alissa Of Room              99.00
                                           #230
 07-22-08       Occupancy Tax               Routed From Turnipsced Alissa Of Room              10.89
                                           #230
 07-22-08       Room-Group                  Routed From Feirman Jordan Of Room #233            99.00
 07-22-08       Occupancy Tax               Routed From Feirman Jordan Of Room #233            10.89
 07-22-08       Room-Group                  Routed From Proof Michael Of Room #239             99.00
 07-22-08       Occupancy Tax               Routed From Proof Michael Of Room #239             10.89
 07-22-08       Room-Group                  Deepek Jain #240—>MGA Entertainment                99.00
                                           #9001
 07-22-08       Occupancy Tax               Deepek Jain #240=>MGA Entertainment                10.89
                                           #9001
 07-22-08       Room-Group                  Routed From Aguiar Lauren Of Room #286            189.00




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                                                                                  Arrival date:      05-14-08
 MGA Entertainment                                                                Departure date:    08-29-08
 16300 Roscoe Boulevard                                                           No. in party:     0/0
 Van Nuys, CA 91406                                                               Room No.:         9001
                                                                                  Account No.:
                                                                                   BookingNo.;
                                                                                  Page No.:             39 of 53

                                                                                   Invoice .:
  INFORMATION INVOICE                                                                                      08-06-08
 Date        Description             Telerer.10.                                        Charges            Credits

 07-22-08       Occupancy Tax          Routed From Aguiar Lauren Of Room 4286              20.79
 07-22-08       Room-Group             Routed From Shorr Aaron Of Room #303                99.00
 07-22-08       Occupancy Tax          Routed From Shorr Aaron Of Room 4303                10.89
 07-22-08       Room-Group             Routed From Lybrand Steve Of Room #314              99.00
 07-22-08       Occupancy Tax          Routed From Lybrand Steve Of Room #314              10.89
 07-22-08       Room-Group             Routed From Rogosa Diana Of Room #316               99.00
 07-22-08       Occupancy Tax          Routed From Rogosa Diana Of Room ##3 16             10.89
 07-22-08       Room-Group             Routed From Herrington Rob Of Room /1328            99.00
 07-22-08       Occupancy Tax          Routed From Herrington Rob Of Room #328             10.89
 07-22-08       Room-Group             Routed From Rinker Greg Of Room #340                99.00
 07-22-08       Occupancy Tax          Routed From Rinker Greg Of Room #340                10.89
 07-22-08       Room-Group             Routed From Harden Susan Of Room #345               99.00
 07-22-08       Occupancy Tax          Routed From Harden Susan Of Room #345               10.89
 07-22-08       Room-Group             Routed From Uslaner Jonathan Of Room                99.00
                                      1/349
 07-22-08       Occupancy Tax          Routed From Uslaner Jonathan Of Room                10.89
                                      4349
 07-22-08       Room-Group             Routed From lsomoto Becky Of Room 11355             99.00
 07-22-08       Occupancy Tax          Routed From Isomoto Becky Of Room #355              10.89
 07-22-08       Room-Group             Routed From Sloan Matt Of Room #371                 99.00
 07-22-08       Occupancy Tax          Routed From Sloan Matt Of Room #371                 10.89
 07-22-08       Room-Group             Routed From Holden Craig Of Room #379               99.00
 07-22-08       Occupancy Tax          Routed From Holden Craig Of Room #379               10.89
 07-22-08       Room-Group             Routed From Nolan Tom Of Room #435                 350.00
 07-22-08       Occupancy Tax          Routed From Nolan Tom Of Room 4435                  38.50
 07-23-08       Comm-Long Distance    07:39 00:03:00 Routed From MGA                        1.44
                                      Entertainment Of Room #5425
 07-23-08       Comm-Long Distance    07:41 00:02:00 Routed From MGA                        1.21
                                      Entertainment Of Room 45425
 07-23-08       Comm-Long Distance    07:53 00:02:00 Routed From MGA                        1.21
                                      Entertainment Of Room 45425
 07-23-08       Room Service          Line# 379: CHECK4 0041998 Holden Craig               25,41
                                      #379 MGA Entertainment /19001




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                                                                                       Arrival date:      05-14-08
 MGA Entertainment                                                                     Departure dale:   08-29-08
 16300 Roscoe Boulevard                                                                No. in party:     0/0
 Van Nuys, CA 91406                                                                    Room No.:         9001
                                                                                       Account No.:
                                                                                        BookingNo.:
                                                                                       Page No.:             40 of 53

                                                                                        Invoice .:
  INFORMATION INVOICE                                                                                          08-06-08
 Date        Descriptio n                 Reference                                          Charges           Credits

 07-23-08       Comm-Long Distance         08:50 00:01:00 Routed From MGA                        0.98
                                           Entertainment Of Room 0425
 07-23-08       Comm-Long Distance         09:00 00:04:00 Routed From MGA                        1.67
                                           Entertainment Of Room #5425
 07-23-08       Comm-Long Distance         09:00 00:01:00 Routed From MGA                        0.98
                                           Entertainment Of Room #5425
 07-23-08       Comm-Long Distance         09:33 00:03:00 Routed From MGA                        1.44
                                           Entertainment Of Room #5425
 07-23-08       Banquet Invoice            40114                                               842.82
 07-23-08       Comm-Long Distance         16:48 00:02:00 Routed From MGA                        1.21
                                           Entertainment Of Room #5425
 07-23-08       Comm-Long Distance         21:54 00:03:00 Routed From MGA                        1.44
                                           Entertainment Of Room #5425
 07-23-08       Banquet Invoice            DINNER                                              754.93
 07-23-08       Parking-Valet Overnight    Holden Craig #379=>MGA Entertainment                 10.00
                                           #9001
 07-23-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room #303                 10.00
 07-23-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349            10.00
 07-23-08       Parking-Valet Overnight    Routed From Sloan Matt Of Room #371                  10.00
 07-23-08       Parking-Valet Overnight    Routed From Lanstra Allen Of Room #146               10.00
 07-23-08       Parking-Valet Overnight    Routed From Weinstein Ryan Of Room #208              10.00
 07-23-08       Parking-Valet Overnight    Routed From Lopez Alex Of Room #154                  10.00
 07-23-08       Parking-Valet Overnight    Routed From Harden Susan Of Room #345                10.00
 07-23-08       Parking-Valet Overnight    Routed From Roth Carl Of Room #202                   10.00
 07-23-08       Parking-Valet Overnight    Routed From Isomoto Becky Of Room #355               10.00
 07-23-08       Parking-Valet Overnight    Routed From Nolan Tom Of Room #435                   10.00
 07-23-08       Parking-Valet Overnight    Routed From Herrington Rob Of Room #328              10.00
 07-23-08       Room-Group                  Routed From Hammon Patrick Of Room #144             99.00
 07-23-08       Occupancy Tax               Routed From Hammon Patrick Of Room #144             10.89
 07-23-08       Room-Group                  Routed From Lanstra Allen Of Room 4146              99.00
 07-23-08       Occupancy Tax               Routed From Lanstra Allen Of Room #146              10.89
 07-23-08       Room-Group                  Routed From Lopez Alex Of Room #154                 99.00
 07-23-08       Occupancy Tax               Routed From Lopez Alex Of Room #154                 10.89




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                                                                                 Arrival date:       05-14-08
 MGA Entertainment                                                               Departure date:    08.29-08
 16300 Roscoe Boulevard                                                          No. in party:      0/0
 Van Nuys, CA 91406                                                              Room No.:           9001
                                                                                 Account No.:
                                                                                 BookingNo.:

                                                                                 Page No.:              41 of 53

                                                                                  Invoice
  INFORMATION INVOICE                                                                                     08-06-08
 Date        Description            Reference                                          ChargeS            Credits

 07-23-08       Room-Group            Routed From Kennedy Raoul Of Room #158             189.00
 07-23-08       Occupancy Tax         Routed From Kennedy Raoul Of Room #158              20,79
 07-23-08       Room-Group            Routed From Hansen David Of Room #173               99.00
 07-23-08       Occupancy Tax         Routed From Hansen David Of Room #173               10.89
 07-23-08       Room-Group            Routed From Roth Carl Of Room #202                 189.00
 07-23-08       Occupancy Tax         Routed From Roth Carl Of Room #202                  20.79
 07-23-08       Room-Group            Routed From Weinstein Ryan Of Room 11208            99.00
 07-23-08       Occupancy Tax         Routed From Weinstein Ryan Of Room 1#208            10.89
 07-23-08       Room-Group            Routed From Turnipseed Alissa Of Room               99.00
                                     #230
 07-23-08       Occupancy Tax         Routed From Turnipseed Alissa Of Room                 10.89
                                     #230
 07-23-08       Room-Group            Routed From Feirman Jordan Of Room V233             99.00
 07-23-08       Occupancy Tax         Routed From Feirman Jordan Of Room #233             10.89
 07-23-08       Room-Group            Routed From Aguiar Lauren Of Room #286             189.00
 07-23-08       Occupancy Tax         Routed From Aguiar Lauren Of Room #286              20.79
 07-23-08       Room-Group            Routed From Shorr Aaron Of Room 1#303               99.00
 07-23-08       Occupancy Tax         Routed From Shorr Aaron Of Room #303                10.89
 07-23-08       Room-Group            Routed From Lybrand Steve Of Room #314              99.00
 07-23-08       Occupancy Tax         Routed From Lybrand Steve Of Room 11314             10.89
 07-23-08       Room-Group            Routed From Rogosa Diana Of Room #316               99.00
 07-23-08       Occupancy Tax         Routed From Rogosa Diana Of Room #316               10.89
 07-23-08       Room-Group            Routed From Herrington Rob Of Room #328             99.00
 07-23-08       Occupancy Tax         Routed From Herrington Rob Of Room #328             10.89
 07-23-08       Room-Group            Routed From Rinker Greg Of Room #340                99.00
 07-23-08       Occupancy Tax         Routed From Rinker Greg Of Room #340                10.89
 07-23-08       Room-Group            Routed From Harden Susan Of Room #345               99.00
 07-23-08       Occupancy Tax         Routed From Harden Susan Of Room #345               10.89
 07-23-08       Room-Group            Routed From Uslaner Jonathan Of Room                99.00
                                     #349
 07-23-08       Occupancy Tax         Routed From Uslaner Jonathan Of Room                  10.89
                                     #349




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                                                                                       Arrival date:      05-14-08
 MGA Entertainment                                                                     Departure date:    08-29-08
 16300 Roscoe Boulevard                                                                No. in party:     0/0
 Van Nuys, CA 91406                                                                    Room No.:          9001
                                                                                       Account No.:
                                                                                       BoolcingNo.:
                                                                                       Page No.:             42 of 53

                                                                                        Invoice .:
  INFORMATION INVOICE                                                                                          08-06-08
 Date        Description                  lieference.                                        Charges           Credits

 07-23-08       Room-Group                  Routed From Isomoto Becky Of Room #355              99.00
 07-23-08       Occupancy Tax               Routed From Isomoto Becky Of Room #355              10.89
 07-23-08       Room-Group                  Routed From Sloan Matt Of Room #371                 99.00
 07-23-08       Occupancy Tax               Routed From Sloan Matt Of Room #371                 10.89
 07-23-08       Room-Group                  Routed From Nolan Tom Of Room #435                 350.00
 07-23-08       Occupancy Tax               Routed From Nolan Tom Of Room #435                  38.50
 07-24-08       Comm-Long Distance         10:08 00:04:00 Routed From MGA                        5.35
                                           Entertainment Of Room #5425
 07-24-08       Comm-Long Distance         10:22 00:03:00 Routed From MGA                        1,44
                                           Entertainment Of Room #5425
 07-24-08       Comm-Long Distance         10:25 00:01:00 Routed From MGA                        0.98
                                           Entertainment Of Room #5425
 07-24-08       Comm-Long Distance         10:24 00:02:00 Routed From MGA                        1.21
                                           Entertainment Of Room #5425
 07-24-08       Comm-Long Distance         10:49 00:01:00 Routed From MGA                        0.98
                                           Entertainment Of Room #5425
 07-24-08       Comm-Long Distance         11:31 00:01:00 Routed From MGA                        0.98
                                           Entertainment Of Room #5425
 07-24-08       Banquet Invoice            40115                                               842.82
 07-24-08       Comm-Long Distance         18:06 00:04:00 Routed From MGA                        1.67
                                           Entertainment Of Room #5425
 07-24-08       Comm-Long Distance         21: I 6 00:07:00 Routed From MGA                      2.36
                                           Entertainment Of Room #5425
 07-24-08       Comm-Long Distance         21:27 00:01:00 Routed From MGA                        0.98
                                           Entertainment Of Room #5425
 07-24-08       Room Service               Line# 417 : CHECK# 0042106 Holden Craig              36.25
                                           #417=>MGA Entertainment #9001
 07-24-08       Banquet Invoice            dinner                                              759.69
 07-24-08       Parking-Valet Overnight    Routed From Roth Carl Of Room #202                   10.00
 07-24-08       Parking-Valet Overnight    Routed From Nolan Tom Of Room #435                   10.00
 07-24-08       Parking-Valet Overnight    Routed From Isomoto Becky Of Room #355               10.00
 07-24-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349            10.00
 07-24-08       Parking-Valet Overnight    Routed From Sloan Matt Of Room #371                  10.00




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                                          #:325221




                                                                                       Arrival date:      05-14-08
 MGA Entertainment                                                                     Departure date:   08., 29-08
 16300 Roscoe Boulevard                                                                No. in party:     0/0
 Van Nuys, CA 91406                                                                    Room No.:          900)
                                                                                       Account No.:
                                                                                        BookiugNo.:
                                                                                       Page No.:             43 of 53

                                                                                        Invoice .:
  INFORMATION INVOICE                                                                                            08-06-08

 Date                                     Refercnce                                          charges             Credits

 07-24-08       Parking-Valet Overnight    Routed From Lanstra Allen Of Room #146                10.00
 07-24-08       Parking-Valet Overnight    Routed From Lopez Alex Of Room #154                   10.00
 07-24-08       Parking-Valet Overnight    Routed From Harden Susan Of Room #345                 10.00
 07-24-08       Parking-Valet Overnight    Routed From Weinstein Ryan Of Room #208               10.00
 07-24-08       Parking-Valet Overnight    Shorr Aaron #303—>MGA Entertainment                   10.00
                                           #9001
 07-24-08       Room-Group                  Routed From Hill Donna Of Room #101                 99.00
 07-24-08       Occupancy Tax               Routed From Hill Donna Of Room #101                  10.89
 07-24-08       Room-Group                  Routed From Larian Isaac Of Room #102              189.00
 07-24-08       Occupancy Tax               Routed From Larian Isaac Of Room #102                20.79
 07-24-08       Room-Group                  Routed From Hammon Patrick Of Room #144              99.00
 07-24-08       Occupancy Tax               Routed From Hammon Patrick Of Room #144              10.89
 07-24-08       Room-Group                  Routed From Lanstra Allen Of Room /1146              99.00
 07-24-08       Occupancy Tax               Routed From Lanstra Allen Of Room 1.1146             10.89
 07-24-08       Room-Group                  Routed From Lopez Alex Of Room 4154                  99,00
 07-24-08       Occupancy Tax               Routed From Lopez Alex Of Room lf 1 54               10.89
 07-24-08       Room-Group                  Routed From Kennedy Raoul Of Room 4158             189.00
 07-24-08       Occupancy Tax               Routed From Kennedy Raoul Of Room 4158               20.79
 07-24-08       Room-Group                  Routed From Hansen David Of Room #173                99.00
 07-24-08       Occupancy Tax               Routed From Hansen David Of Room #173                10.89
 07-24-08       Room-Group                  Routed From Roth Carl Of Room #202                 189.00
 07-24-08       Occupancy Tax               Routed From Roth Carl Of Room #202                   20.79
 07-24-08       Room-Group                  Routed From Weinstein Ryan Of Room #208              99.00
 07-24-08       Occupancy Tax               Routed From Weinstein Ryan Of Room #208              10.89
 07-24-08       Room-Group                 Routed From Turnipseed Alissa Of Room                 99.00
                                           #230
 07-24-08       Occupancy Tax              Routed From Turnipseed Alissa Of Room                 10,89
                                           #230
 07-24-08       Room-Group                  Routed From Aguiar Lauren Of Room #286             189.00
 07-24-08       Occupancy Tax               Routed From Aguiar Lauren Of Room #286               20.79
 07-24-08       Room-Group                  Routed From Shorr Aaron Of Room #303                 99.00
 07-24-08       Occupancy Tax               Routed From Shorr Aaron Of Room #303                 10.89




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                                          #:325222




                                                                                 Arrival date:       05-14-08
 MGA Entertainment                                                               Departure date:     08-29-08
 16300 Roscoe Boulevard                                                          No. in party:      0/0
 Van Nuys, CA 91406                                                              Room No.:           9001
                                                                                 Account No.:
                                                                                  BookingNo.:
                                                                                 Page No.:              44 of 53

                                                                                  Invoice .:
  INFORMATION INVOICE                                                                                     08-06-08
 Date        Description             Reference                                         C.It arges         Credits

 07-24-08       Room-Group            Routed From Lybrand Steve Of Room #314              99.00
 07-24-08       Occupancy Tax         Routed From Lybrand Steve Of Room #314              10.89
 07-24-08       Room-Group            Routed From Rogosa Diana Of Room #316               99.00
 07-24-08       Occupancy Tax         Routed From Rogosa Diana Of Room #316               10.89
 07-24-08       Room-Group            Routed From Herrington Rob Of Room fi328            99.00
 07-24-08       Occupancy Tax         Routed From Herrington Rob Of Room #328             10.89
 07-24-08       Room-Group            Routed From Rinker Greg Of Room //340               99.00
 07-24-08       Occupancy Tax         Routed From Rinker Greg Of Room #340                10.89
 07-24-08       Room-Group             Routed From Harden Susan Of Room fi345             99,00
 07-24-08       Occupancy Tax          Routed From Harden Susan Of Room #345              10.89
 07-24-08       Room-Group             Routed From Uslaner Jonathan Of Room               99.00
                                      #349
 07-24-08       Occupancy Tax          Routed From Uslaner Jonathan Of Room               10.89
                                      #349
 07-24-08       Room-Group             Routed From Isomoto Becky Of Room #355             99.00
 07-24-08       Occupancy Tax          Routed From Isomoto Becky Of Room #355             10.89
 07-24-08       Room-Group             Routed From Sloan Matt Of Room 071                 99.00
 07-24-08       Occupancy Tax          Routed From Sloan Matt Of Room fi371               10.89
 07-24-08       Room-Group             Routed From Holden Craig Of Room #417              99.00
 07-24-08       Occupancy Tax          Routed From Holden Craig Of Room #417              10.89
 07-24-08       Room-Group             Routed From Nolan Tom Of Room #435                500.00
 07-24-08       Occupancy Tax          Routed From Nolan Tom Of Room #435                 55.00
 07-25-08       Room Service          Line# 417: CHECK11 0042130 Holden Craig             19.83
                                      #417=>MGA Entertainment #9001
 07-25-08       Comm-Long Distance    09:12 00:02:00 Routed From MGA                         1.21
                                      Entertainment Of Room #5425
 07-25-08       Comm-Long Distance    09:19 00:03:00 Routed From MGA                         1,44
                                      Entertainment Of Room #5425
 07-25-08       Comm-Long Distance    09:15 00:02:00 Routed From MGA                         1.21
                                      Entertainment Of Room #5425
 07-25-08       Comm-Long Distance    10:31 00:01:00 Routed From MGA                         0.98
                                      Entertainment Of Room #5425
 07-25-08       Comm-Local Calls      10:52 00:02:00 Routed From MGA                         0.75




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                                                                              Arrival date:      05-14-08
 MGA Entertainment                                                            Departure date:   08-29.08
 16300 Roscoe Boulevard                                                       No. in party:     0/0
 Van Nuys, CA 91406                                                           Room No.:         9001
                                                                              Account No.:
                                                                               l3ookingNo.:
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                                                                               Invoice
  INFORMATION INVOICE                                                                                 08-06-08
                                     Reference                                      Charges          Credits

                                      Entertainment Of Room #5425
 07-25-08       Comm-Long Distance    11:30 00:07:00 Routed From MGA                     2.36
                                      Entertainment Of Room #5425
 07-25-08       Comm-Long Distance    12:01 00:01:00 Routed From MGA                     0.98
                                      Entertainment Of Room #5425
 07-25-08       Banquet Invoice       40115                                         1,012.82
 07-25-08       Comm-Long Distance    15:28 00:01:00 Routed From MGA                    0.98
                                      Entertainment Of Room #5425
 07-25-08       Comm-Long Distance    15:33 00:04:00 Routed From MGA                     1.67
                                      Entertainment Of Room #5425
 07-25-08 Comm-Long Distance          15:48 00:01:00 Routed From MGA                     0,98
                                      Entertainment Of Room 45425
 07-25-08       Comm-Long Distance    15:50 00:02:00 Routed From MGA                     1,21
                                      Entertainment Of Room #5425
 07-25-08       Comm-Long Distance    16:51 00:05:00 Routed From MGA                     1.90
                                      Entertainment Of Room #5425
 07-25-08       Comm-Long Distance    17:05 00:01:00 Routed From MGA                     0.98
                                      Entertainment Of Room #5425
 07-25-08       Comm-Long Distance    17:11 00:01:00 Routed From MGA                     0.98
                                      Entertainment Of Room #5425
 07-25-08       Comm-Long Distance    17:14 00:01:00 Routed From MGA                     0.98
                                      Entertainment Of Room #5425
 07-25-08       Comm-Long Distance    17:14 00:01:00 Routed From MGA                     0.98
                                      Entertainment Of Room #5425
 07-25-08       Comm-Long Distance    17:19 00:01:00 Routed From MGA                     0.98
                                      Entertainment Of Room #5425
 07-25-08       Comm-Long Distance    18:02 00:02:00 Routed From MGA                     1.21
                                      Entertainment Of Room /15425
 07-25-08       Comm-Long Distance    18:06 00:02:00 Routed From MGA                     1.21
                                      Entertainment Of Room #5425
 07-25-08       Room-Transient        Harden Susan #345=>MGA Entertainment             99.00
                                      #9001
 07-25-08       Occupancy Tax          Harden Susan #345=>MGA Entertainment            10.89




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                                                                                      Arrival date:      05-14-08
 MGA Entertainment                                                                    Departure dale:    08-29-08
 16300 Roscoe Boulevard                                                               No, in party:     010
 Van Nuys, CA 91406                                                                   Room No.:          9001
                                                                                      Account No.:
                                                                                       BooltingNo.:
                                                                                      Page No.:             46 of 53

                                                                                       Invoice .:

  INFORMATION INVOICE                                                                                         08-06-08
 Date        Description                  Reference                                         Charges           Credits

                                           #9001
 07-25-08       Room-Transient             Weinstein Ryan #208=>MGA Entertainment              99.00
                                           #9001
 07-25-08       Occupancy Tax               Weinstein Ryan #208=>MGA Entertainment             10,89
                                           0001
 07-25-08       Room-Transient             Lopez Alex #154—>MGA Entertainment                  99.00
                                           #9001
 07-25-08       Occupancy Tax               Lopez Alex RI 54=>MGA Entertainment                10.89
                                           #9001
 07-25-08       Room-Group                  Routed From Sloan Matt Of Room #371                99.00
 07-25-08       Occupancy Tax               Routed From Sloan Matt Of Room #371                10.89
 07-25-08       Parking-Valet Overnight    Routed From Holden Craig Of Room 11417              10.00
 07-25-08       Parking-Valet Overnight    Routed From Hammon Patrick Of Room 1/144            10.00
 07-25-08       Parking-Valet Overnight    Routed From Harden Susan Of Room #345               10.00
 07-25-08       Parking-Valet Overnight    Routed From Hammon Patrick Of Room #144             10.00
 07-25-08       Room-Group                  Routed From MGA Storage Room Of Room               99.00
                                           #132
 07-25-08       Occupancy Tax               Routed From MGA Storage Room Of Room               10.89
                                           11132
 07-25-08       Room-Group                  Routed From Hammon Patrick Of Room #144            99.00
 07-25-08       Occupancy Tax               Routed From Hammon Patrick Of Room #144            10.89
 07-25-08       Room-Group                  Routed From Turnipseed Alissa Of Room              99.00
                                           #230
 07-25-08       Occupancy Tax               Routed From Turnipseed Alissa Of Room              10.89
                                           11230
 07-25-08       Room-Group                  Routed From Aguiar Lauren Of Room #286            189.00
 07-25-08       Occupancy Tax               Routed From Aguiar Lauren Of Room #286             20.79
 07-25-08       Room-Group                  Routed From Shorr Aaron Of Room #303               99.00
 07-25-08       Occupancy Tax               Routed From Shorr Aaron Of Room #303               10.89
 07-25-08       Room-Group                  Routed From Lybrand Steve Of Room #314             99.00
 07-25-08       Occupancy Tax               Routed From Lybrand Steve Of Room #314             10.89
 07-25-08       Room-Group                  Routed From Rogosa Diana Of Room #316              99.00
 07-25-08       Occupancy Tax               Routed From Rogosa Diana Of Room #316              10.89




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                                                                                         Arrival date:      05-14-08
 MGA Entertainment                                                                       Departure date:    08-29-08
 16300 Roscoe Boulevard                                                                  No. in party:     0/0
 Van Nuys, CA 91406                                                                      Room No.:          9001
                                                                                         Account No,:
                                                                                         BookingNo.:
                                                                                         Page No,:             47 of 53

                                                                                          Invoice .:
  INFORMATION INVOICE                                                                                            08-06-08
 Date        Description                  ":Refer.ettee.::                                     Charges           Credits

 07-25-08       Room-Group                   Routed From Herrington Rob Of Room #328              99.00
 07-25-08       Occupancy Tax                Routed From Herrington Rob Of Room #328              10,89
 07-25-08       Room-Group                   Routed From Rinker Greg Of Room #340                 99.00
 07-25-08       Occupancy Tax                Routed From Rinker Greg Of Room #340                 10.89
 07-25-08       Room-Group                    Routed From Harden Susan Of Room #345               99.00
 07-25-08       Occupancy Tax                 Routed From Harden Susan Of Room #345               10,89
 07-25-08       Room-Group                    Routed From Nolan Tom Of Room #435                 500.00
 07-25-08       Occupancy Tax                 Routed From Nolan Tom Of Room #435                  55.00
 07-26-08       Banquet Invoice              40117                                               725.00
 07-26-08       Parking-Valet Overnight      Routed From Aguiar Lauren Of Room 11286              10.00
 07-26-08       Parking-Valet Overnight      Routed From Hammon Patrick Of Room #144              10.00
 07-26-08       Room-Group                    Routed From MGA Storage Room Of Room                99.00
                                             #132
 07-26-08       Occupancy Tax                 Routed From MGA Storage Room Of Room                10.89
                                             #132
 07-26-08       Room-Group                    Routed From Hammon Patrick Of Room ft144            99.00
 07-26-08       Occupancy Tax                 Routed From Hammon Patrick Of Room #144             10.89
 07-26-08       Room-Group                    Routed From Turnipseed Alissa Of Room               99.00
                                             #230
 07-26-08       Occupancy Tax                 Routed From Turnipseed Alissa Of Room               10.89
                                             #230
 07-26-08       Room-Group                    Routed From Aguiar Lauren Of Room #286             189.00
 07-26-08       Occupancy Tax                 Routed From Aguiar Lauren Of Room #286              20.79
 07-26-08       Room-Group                    Routed From Shorr Aaron Of Room #303                99.00
 07-26-08       Occupancy Tax                 Routed From Shorr Aaron Of Room #303                10.89
 07-26-08       Room-Group                    Routed From Lybrand Steve Of Room #314              99.00
 07-26-08       Occupancy Tax                 Routed From Lybrand Steve Of Room #314              10.89
 07-26-08       Room-Group                    Routed From Rogosa Diana Of Room #316               99.00
 07-26-08       Occupancy Tax                 Routed From Rogosa Diana Of Room #3 16              10.89
 07-26-08       Room-Group                    Routed From Herrington Rob Of Room #328             99.00
 07-26-08       Occupancy Tax                 Routed From Herrington Rob Of Room #328             10.89
 07-26-08       Room-Group                    Routed From Harden Susan Of Room #345               99.00




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                                                                                 Arrival date:      05-14-08
 MGA Entertainment                                                               Departure date:    08-29-08
 16300 Roscoe Boulevard                                                          No. in party:     0/ 0
 Van Nuys, CA 91406                                                              Room No.:          9001
                                                                                 Account No.:
                                                                                  BookingNo.:
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                                                                                  Invoice .:
  INFORMATION INVOICE                                                                                    08-06-08
 Date        Description             Reference                                         Charges.          Credits

 07-26-08       Occupancy Tax          Routed From Harden Susan Of Room #345              10.89
 07-26-08       Room-Group             Routed From Nolan Tom Of Room #435                500.00
 07-26-08       Occupancy Tax         Routed From Nolan Tom Of Room #435                  55,00
 07-27-08       Banquet Invoice       40199                                              725.00
 07-27-08       Room-Group             Routed From Hammon Patrick Of Room #144            99.00
 07-27-08       Occupancy Tax          Routed From Hammon Patrick Of Room #144            10.89
 07-27-08       Room-Group            Routed From MGA Storage Room Of Room                99.00
                                      #132
 07-27-08       Occupancy Tax         Routed From MGA Storage Room Of Room                10.89
                                      #132
 07-27-08       Room-Group            Routed From Turnipseed Alissa Of Room               99.00
                                      #230
 07-27-08       Occupancy Tax         Routed From Turnipseed Alissa Of Room               10.89
                                      #230
 07-27-08       Room-Group             Routed From Aguiar Lauren Of Room #286            189.00
 07-27-08       Occupancy Tax         Routed From Aguiar Lauren Of Room #286              20.79
 07-27-08       Room-Group            Routed From Shorr Aaron Of Room #303                99.00
 07-27-08       Occupancy Tax         Routed From Shorr Aaron Of Room #303                10.89
 07-27-08       Room-Group            Routed From Lybrand Steve Of Room #314              99.00
 07-27-08       Occupancy Tax         Routed From Lybrand Steve Of Room #314              10.89
 07-27-08       Room-Group            Routed From Rogosa Diana Of Room #316               99.00
 07-27-08       Occupancy Tax         Routed From Rogosa Diana Of Room #316               10.89
 07-27-08       Room-Group            Routed From Herrington Rob Of Room #328             99.00
 07-27-08       Occupancy Tax         Routed From Herrington Rob Of Room #328             10.89
 07-27-08       Room-Group            Routed From Harden Susan Of Room #345               99.00
 07-27-08       Occupancy Tax         Routed From Harden Susan Of Room #345               10.89
 07-27-08       Room-Group            Routed From Nolan Tom Of Room #435                 500.00
 07-27-08       Occupancy Tax         Routed From Nolan Tom Of Room #435                  55.00
 07-28-08       Comm-Long Distance    13:20 00;01:00 Routed From MGA                       0.98
                                      Entertainment Of Room #5425
 07-28-08       Comm-Long Distance    13:19 00:01:00 Routed From MGA                       0.98
                                      Entertainment Of Room #5425
 07-28-08       Banquet Invoice       40200                                              725.00




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                                                                                  Arrival date:      05-14-08
 MGA Entertainment                                                                Departure date:    08-29-08
 16300 Roscoe Boulevard                                                           No. in party:     0/0
 Van Nuys, CA 91406                                                               Room No.:          9001
                                                                                  Account No.:
                                                                                   BookingNo.:
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  INFORMATION INVOICE                                                                                     08-06-08
 Date        Description             .Reference                                         Charges          Credits

 07-28-08       Comm-Long Distance     14:08 00:03:00 Routed From MGA                       1.44
                                       Entertainment Of Room #5425
 07-28-08       Comm-Long Distance     14:17 00:05:00 Routed From MGA                       1.90
                                       Entertainment Of Room #5425
 07-28-08       Room-Group              Routed From MGA Storage Room Of Room               99.00
                                       #132
 07-28-08       Occupancy Tax           Routed From MGA Storage Room Of Room               10.89
                                       #132
 07-28-08       Room-Group              Routed From Turnipseed Alissa Of Room              99.00
                                       #230
 07-28-08       Occupancy Tax           Routed From Turnipseed Alissa Of Room              10.89
                                       #230
 07-28-08       Room-Group              Routed From Aguiar Lauren Of Room #286            189.00
 07-28-08       Occupancy Tax           Routed From Aguiar Lauren Of Room #286             20.79
 07-28-08       Room-Group              Routed From Shorr Aaron Of Room #303               99.00
 07-28-08       Occupancy Tax           Routed From Shorr Aaron Of Room #303               10.89
 07-28-08       Room-Group              Routed From Lybrand Steve Of Room #314             99.00
 07-28-08       Occupancy Tax           Routed From Lybrand Steve Of Room #314             10.89
 07-28-08       Room-Group              Routed From Rogosa Diana Of Room #316              99.00
 07-28-08       Occupancy Tax           Routed From Rogosa Diana Of Room #3 16             10.89
 07-28-08       Room-Group              Routed From Herrington Rob Of Room #328           99.00
 07-28-08       Occupancy Tax           Routed From Herrington Rob Of Room #328           10.89
 07-28-08       Room-Group              Routed From Harden Susan Of Room #345             99.00
 07-28-08       Occupancy Tax           Routed From Harden Susan Of Room #345             10.89
 07-28-08       Room-Group              Routed From Nolan Tom Of Room #435               500.00
 07-28-08       Occupancy Tax           Routed From Nolan Tom Of Room #435                55.00
 07-29-08       Banquet Invoice        40201                                             725.00
 07-29-08       Room-Group              Routed From MGA Storage Room Of Room              99.00
                                       #132
 07-29-08       Occupancy Tax          Routed From MGA Storage Room Of Room                10.89
                                       #132
 07-29-08       Room-Group             Routed From Turnipseed Alissa Of Room               99.00
                                       #230




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                       Exhibit 3 - Page 258
         Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 51 of 101 Page ID
                                           #:325228




                                                                                       Arrival date:      05-14-08
 MGA Entertainment                                                                     Departure date:    08-29-08
 16300 Roscoe Boulevard                                                                No. in party:     0/0
 Van Nuys, CA 91406                                                                    Room No.:          9001
                                                                                       Account No,:
                                                                                       BookiugNo.:
                                                                                       Page No.:             50 of 53

                                                                                        Invoice .:
  INFORMATION INVOICE                                                                                          08-06-08
 ]Date        Description                  Refer eiiee                                       Charges.          Credits
                                                 •
 07-29-08        Occupancy Tax               Routed From Turnipsced Alissa Of Room              10.89
                                            #230
 07-29-08        Room-Group                  Routed From Feirman Jordan Of Room #233            99.00
 07-29-08        Occupancy Tax               Routed From Feirman Jordan Of Room #233            10.89
 07-29-08        Room-Group                  Routed From Aguiar Lauren Of Room #286            189.00
 07-29-08        Occupancy Tax               Routed From Aguiar Lauren Of Room #286             20.79
 07-29-08        Room-Group                  Routed From Shorr Aaron Of Room #303               99.00
 07-29-08        Occupancy Tax               Routed From Short.Aaron Of Room #303               10.89
 07-29-08        Room-Group                  Routed From Lybrand Steve Of Room #314             99.00
 07-29-08        Occupancy Tax               Routed From Lybrand Steve Of Room #314             10.89
 07-29-08        Room-Group                  Routed From Rogosa Diana Of Room #316              99.00
 07-29-08        Occupancy Tax               Routed From Rogosa Diana Of Room #316              10.89
 07-29-08        Room-Group                  Routed From Herrington Rob Of Room #328            99.00
 07-29-08        Occupancy Tax               Routed From Herrington Rob Of Room #328            10,89
 07-29-08        Room-Group                  Routed From Harden Susan Of Room 11345             99.00
 07-29-08        Occupancy Tax               Routed From Harden Susan Of Room #345              10.89
 07-29-08        Room-Group                  Routed From Nolan Tom Of Room 1#435               500.00
 07-29-08        Occupancy Tax               Routed From Nolan Tom Of Room #435                 55.00
 07-30-08        Banquet Invoice            CB40202                                            842.82
 07-30-08        Parking-Valet Overnight    Routed From Herrington Rob Of Room #328             10.00
 07-30-08        Room-No Show               Lopez Alex #154=>MGA Entertainment                  99.00
                                            #9001
 07-30-08        Room-Group                  Routed From MGA Storage Room Of Room               99.00
                                            #132
 07-30-08       Occupancy Tax                Routed From MGA Storage Room Of Room               10.89
                                            #132
 07-30-08       Room-Group                   Routed From Hill Donna Of Room #144                99.00
 07-30-08       Occupancy Tax                Routed From Hill Donna Of Room #144                10.89
 07-30-08       Room-Group                   Routed From Vilppu Glenn Of Room #153              99.00
 07-30-08       Occupancy Tax                Routed From Vilppu Glenn Of Room #153              10.89
 07-30-08       Room-Group                   Routed From Turnipseed Alissa Of Room              99.00
                                            #230




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                                          #:325229




                                                                                       Arrival date:      05-14-08
 MGA Entertainment                                                                     Departure date:    08-29-08
 16300 Roscoe Boulevard                                                                No. in party:     0/0
 Van Nuys, CA 91406                                                                    Room No.:         9001
                                                                                       Account No.:
                                                                                        BookinNo.:
                                                                                       Page No.:             51 of 53

                                                                                        Invoice .:
  INFORMATION INVOICE                                                                                           08-06-08
 Date        Description                  Reference                                          Charges            Credits

 07-30-08       Occupancy Tax               Routed From Turnipseed Alissa Of Room               10.89
                                           #230
 07-30-08       Room-Group                  Routed From Feirman Jordan Of Room #233             99.00
 07-30-08       Occupancy Tax               Routed From Feirman Jordan Of Room #233             10.89
 07-30-08       Room-Group                  Routed From Aguiar Lauren Of Room #286             189.00
 07-30-08       Occupancy Tax               Routed From Aguiar Lauren Of Room #286              20.79
 07-30-08       Room-Group                  Routed From Shorr Aaron Of Room #303                99.00
 07-30-08       Occupancy Tax               Routed From Shorr Aaron Of Room #303                10.89
 07-30-08       Room-Group                  Routed From Lybrand Steve Of Room #314              99.00
 07-30-08       Occupancy Tax               Routed From Lybrand Steve Of Room #314              10.89
 07-30-08       Room-Group                  Routed From Rogosa Diana Of Room #316               99.00
 07-30-08       Occupancy Tax               Routed From Rogosa Diana Of Room #316               10.89
 07-30-08       Room-Group                  Routed From Herrington Rob Of Room #328             99.00
 07-30-08       Occupancy Tax               Routed From Herrington Rob Of Room #328             10.89
 07-30-08       Room-Group                  Routed From Harden Susan Of Room #345               99.00
 07-30-08       Occupancy Tax               Routed From Harden Susan Of Room #345               10.89
 07-30-08       Room-Group                  Routed From Uslaner Jonathan Of Room                99.00
                                           #349
 07-30-08       Occupancy Tax               Routed From Uslaner Jonathan Of Room                10.89
                                           #349
 07-30-08       Room-Group                  Routed From Hansen David Of Room #377              99.00
 07-30-08       Occupancy Tax               Routed From Hansen David Of Room #377              10.89
 07-30-08       Room-Group                  Routed From Nolan Tom Of Room #435                500.00
 07-30-08       Occupancy Tax               Routed From Nolan Tom Of Room #435                 55.00
 07-31-08       Banquet Invoice            40203                                              842.82
 07-31-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349           10,00
 07-31-08       Room-Group                  Routed From MGA Storage Room Of Room               99.00
                                           #132
 07-31-08       Occupancy Tax              Routed From MGA Storage Room Of Room                 10.89
                                           #132
 07-31-08       Room-Group                 Routed From Turnipseed Alissa Of Room                99.00
                                           #230
 07-31-08       Occupancy Tax                                                                   10.89




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        Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 53 of 101 Page ID
                                          #:325230




                                                                                Arrival date:      05-14-08
 MGA Entertainment                                                              Departure date:    08-29-08
 16300 Roscoe Boulevard                                                         No. in party:     0/0
 Van Nuys, CA 91406                                                             Room No.:          9001
                                                                                Account No.:
                                                                                BookingNo.:
                                                                                Page No.:             52 of 53

                                                                                 Invoice .:
  INFORMATION INVOICE                                                                                    08 06 08
                                                                                                              -   -




 Date        Description                                                              Charges           Credits

                                      Routed From Turnipseed Alissa Of Room
                                     #230
 07-31-08       Room-Group            Routed From Feirman Jordan Of Room #233            99.00
 07-31-08       Occupancy Tax         Routed From Feirman Jordan Of Room #233            10.89
 07-31-08       Room-Group            Routed From Aguiar Lauren Of Room #286            189.00
 07-31-08       Occupancy Tax         Routed From Aguiar Lauren Of Room #286             20,79
 07-31-08       Room-Group            Routed From Shorr Aaron Of Room #303               99.00
 07-31-08       Occupancy Tax         Routed From Shorr Aaron Of Room #303               10.89
 07-31-08       Room-Group            Routed From Lybrand Steve Of Room #314             99.00
 07-31-08       Occupancy Tax         Routed From Lybrand Steve Of Room #314             10.89
 07-31-08       Room-Group            Routed From Rogosa Diana Of Room #316              99.00
 07-31-08       Occupancy Tax         Routed From Rogosa Diana Of Room #316              10,89
 07-31-08       Room-Group            Rinker Greg #317—>MGA Entertainment                99.00
                                     #900 I
 07-31-08       Occupancy Tax         Rinker Greg #317-->MGA Entertainment               10.89
                                     #900I
 07-31-08       Room-Group            Routed From Herrington Rob Of Room #328            99.00
 07-31-08       Occupancy Tax         Routed From Herrington Rob Of Room #328            10.89
 07-31-08       Room-Group            Routed From Harden Susan Of Room #345              99.00
 07-31-08       Occupancy Tax         Routed From Harden Susan Of Room #345              10.89
 07-31-08       Room-Group            Routed From Uslaner Jonathan Of Room               99.00
                                     #349
 07-31-08       Occupancy Tax         Routed From Uslaner Jonathan Of Room               10.89
                                     #349
 07-31-08       Room-Group            Routed From Hansen David Of Room #377              99.00
 07-31-08       Occupancy Tax         Routed From Hansen David Of Room #377              10.89
 07-31-08       Room-Group            Routed From Nolan Tom Of Room #435                500.00
 07-31-08       Occupancy Tax         Routed From Nolan Tom Of Room #435                 55.00




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                                          #:325231




                                                                                Arrival date:      05-14-08
 MGA Entertainment                                                              Departure date:   08-29-08
 16300 Roscoe Boulevard                                                         No. in party:     0/0
 Van Nuys, CA 91406                                                             Room No.:          9001
                                                                                Account No.:
                                                                                BookingNo.:
                                                                                Page No.:             53 of 53

                                                                                 Invoice .:
  INFORMATION INVOICE                                                                                     08-06-08
 Date             Description                                                         Charges             Credits

                                                                      Total        111,538.65         90,000.00

                                                                      Balance        21,538.65
    Cashier: 35


   I agree to be held personally liable in the event that
   the indicated person, company or association fails to pay all or
   part of these charges.

   Signature




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                     Exhibit 3 - Page 262
      Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 55Check#:
                                                                         of 101 39,154
                                                                                 Page ID
                                        #:325232    Mission Inn
                                           A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                            3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/6/2008

                                             Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008

Account:    MGA Entertainment                                                      Event Date:          7/1/2008
Post As:    MGA Entertainment
                                                                                   Contact:            Mr. Craig Holden
BE° Name:   MGA Entertainment
            16300 Roscoe Boulevard                                                 Phone:              (818) 221-4403
Address:
                                                                                   Fax:
            Suite #150
                                                                                   On-Site:
            Van Nuys, CA 91406




Quantity Food                                                                                  Price                                 Amount

       2   Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                         100.00
           Specialty Teas - 7:00AM
      11 ASSORTED BOXED LUNCHES                                                  20.00 Each                                            220.00

                                                                                                          Subtotal:                     320.00
                                                                                Service Charge %:             18.00                      57.60
                                                                                                 Tax %:        7.75                      29.26

                                                                                                           Total:                      406.86


Quantity Miscellaneous                                                                         Price                                  Amount

       1    Mini Fridge Rental                                                   10.00 Day                                               10.00
       1    Phone Line with PolyCom Phone - RCR A                                15.00 Day                                               15.00

                                                                                                          Subtotal:                      25.00
                                                                                 Service Charge %:                0.00                    0.00
                                                                                                 Tax %:           0.00                    0.00

                                                                                                           Total:                        25.00



            Room Rental                                                                        Price                                  Amount
    Room:   Rotunda Conference Room F                   Function: LU N
    Room:   Rotunda Conference Room E                   Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room F                   Function: OFFC                  150.00                                          150.00
    Room:   Rotunda Conference Room D                   Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room A                   Function: OFFC                  150.00                                          150.00
    Room:   Rotunda Conference Room B                   Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room C                   Function: OFFC                  100.00                                          100.00

                                                                                                          Subtotal:                     700.00
                                                                               Room Rental Tax %:                 7.75                   54.25

                                                                                                           Total:                       754.25


                                                                                                      Grand Total:                    1,186.11

                                                                                                     Balance Due:                     1,186.11




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       Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 56Check#:
                                                                          of 101 39,921
                                                                                  Page ID
                                   Mission     Inn
                                         #:325233
                                                A National Historic Landmark Hotel & Spa                                         Page: 1 of 1
                                 3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525           Printed: 8/6/2008

                                                  Estimated Banquet Check                                                 Arr: 5/14/2008 De p: 8/30/2008

Account:        MGA Entertainment                                                       Event Date:          7/1/2008
Post As:       MGA Entertainment
                                                                                        Contact:            Mr. Craig Holden
BE0 Name:      MGA Entertainment
Address:       16300 Roscoe Boulevard                                                   Phone:              (818) 221-4403
                                                                                        Fax:
               Suite #150
                                                                                        On-Site:
               Van Nuys, CA 91406




Quantity Food                                                                                       Price                                  Amount
       18      CHEF'S SELECTION DINNER BUFFET                                         28.00 Per person                                       504.00

                                                                                                               Subtotal:                     504.00
                                                                                     Service Charge %:            18.00                       90.72
                                                                                                     Tax %:            7.75                   46.09
                                                                                                                Total:                       640.81


Quantity Beverage                                                                                   Price                                  Amount

           8   Assorted Soft and Diet Soft Drinks                                     3.75 Each                                               30.00
               Charged on Consumption
                                                                                                               Subtotal:                       30.00
                                                                                     Service Charge `)/0:          18.00                       5.40
                                                                                                     Tax %:         7.75                       2.74
                                                                                                                Total:                        38.14



               Room Rental                                                                          Price                                  Amount
    Room: Ho-O-Kan                                          Function: DIN

                                                                                                               Subtotal:                        0.00
                                                                                   Room Rental Tax %:                  7.75                     0.00

                                                                                                                Total:                          0.00


                                                                                                           Grand Total:                      678.95

                                                                                                          Balance Due:                       678.95




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                           Exhibit 3 - Page 264
       Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 57 of 101 Page ID
                                   Mission     Inn
                                         #:325234
                                                                        Check#: 39,155
                                              A National Historic Landmark Hotel & Spa                                         Page: 1 of 1
                               3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525           Printed: 8/6/2008

                                                 Estimated Banquet Check                                                Arr: 5/14/2008 De p: 8/30/2008

Account:       MGA Entertainment                                                      Event Date:          7/2/2008
Post As:       MGA Entertainment
BEO Name:                                                                             Contact:            Mr. Craig Holden
               MGA Entertainment
Address:       16300 Roscoe Boulevard                                                 Phone:              (818) 2214403
               Suite #150                                                             Fax:
               Van Nuys, CA 91406                                                     On-Site:




Quantity Food                                                                                     Price                                  Amount
           2Freshly Brewed Coffee, Decaffeinated Coffee and                         50.00 Refresh                                          100.00
            Specialty Teas - 7:00AM
       19 ASSORTED BOXED LUNCHES                                                    20.00 EACH                                             380.00

                                                                                                             Subtotal:                     480.00
                                                                                   Service Charge %:            18.00                       86.40
                                                                                                    Tax %:           7.75                   43.90
                                                                                                              Total:                       610.30


Quantity Miscellaneous                                                                            Price                                  Amount
           1   Mini Fridge Rental                                                   10.00 Day                                               10.00
           1   Phone Line with PolyCom Phone - RCR A                                15.00 Day                                               15.00

                                                                                                             Subtotal:                       25.00
                                                                                   Service Charge %:                 0.00                    0.00
                                                                                                    Tax %:           0.00                    0.00
                                                                                                              Total:                        25.00




               Room Rental                                                                        Price                                  Amount
    Room:      Rotunda Conference Room D                  Function: OFFC                   100.00                                           100.00
    Room:      Rotunda Conference Room A                  Function: OFFC                   150.00                                           150.00
    Room:      Rotunda Conference Room F                  Function: OFFC                   150.00                                           150.00
    Room:      Rotunda Conference Room B                  Function: OFFC                   100.00                                           100.00
    Room:      Rotunda Conference Room C                  Function: OFFC                   100.00                                           100.00
    Room:      Rotunda Conference Room F                  Function: LUN
    Room:      Rotunda Conference Room E                  Function: OFFC                   100.00                                           100.00

                                                                                                             Subtotal:                     700.00
                                                                                 Room Rental Tax %:                  7.75                   54.25

                                                                                                              Total:                       754.25


                                                                                                         Grand Total:                    1,389.55

                                                                                                        Balance Due:                     1,389.55




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      Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 58Check#:
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                                                                                 Page ID
                                        #:325235      Mission Inn
                                                                          Page:   of
                                             A National Historic Landmark Hotel & Spa                                               1     1
                              3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525          Printed: 8/6/2008
                                               Estimated Banquet Check                                                 Am 5/14/2008 Dep: 8/30/2008

Account:    MGA Entertainment                                                        Event Date:          7/2/2008
Post As:    MGA Entertainment
                                                                                     Contact:            Mr. Craig Holden
BEG Name:   MGA Entertainment
            16300 Roscoe Boulevard                                                   Phone:              (818) 221-4403
Address:
                                                                                     Fax:
            Suite #150
            Van Nuys, CA 91406                                                       On-Site:




Quantity Food                                                                                    Price                                Amount
      18    CHEF'S SELECTION DINNER BUFFET                                         28.00 Per person                                     504.00

                                                                                                            Subtotal:                   504.00
                                                                                  Service Charge %:            18.00                     90.72
                                                                                                  Tax %:            7.75                 46.09
                                                                                                             Total:                     640.81


Quantity Beverage                                                                                Price                                Amount

       9    Assorted Soft and Diet Soft Drinks                                     3.75 Each                                             33.75
            Charged on Consumption
                                                                                                            Subtotal:                    33,75
                                                                                  Service Charge %:            18.00                      6.08
                                                                                                  Tax %:        7.75                      3.09
                                                                                                             Total:                      42.92



            Room Rental                                                                          Price                                Amount
    Room: Ho-O-Kan                                       Function: DIN
                                                                                                            Subtotal:                      0.00
                                                                                Room Rental Tax %:                  7.75                  0.00

                                                                                                             Total:                       0.00


                                                                                                        Grand Total:                    683.73

                                                                                                      Balance Due:                      683.73




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       Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 59Check#:
                                                                          of 101 39.156
                                                                                  Page ID
                                         #:325236       Mission Inn
                                                                           Page:
                                               A National Historic Landmark Hotel & Spa                                                     1 of 1
                                3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525                Printed: 8/6/2008
                                                 Estimated Banquet Check                                                     Arr: 5/14/2008 Dep: 8/30/2008

Account:        MGA Entertainment                                                      Event Date:          7/3/2008
Post As:       MGA Entertainment
BEO Name:      MGA Entertainment                                                       Contact:            Mr. Craig Holden
Address:       16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
                                                                                       Fax:
               Suite #150
               Van Nuys, CA 91406                                                      On-Site:




Quantity Food                                                                                     Price                                      Amount
           1   Freshly Brewed Coffee, Decaffeinated Coffee                           50.00 Refresh                                               50.00

                                                                                                              Subtotal:                          50.00
                                                                                    Service Charge %:            18.00                            9.00
                                                                                                    Tax %:        7.75                            4.57
                                                                                                               Total:                           63.57

Quantity Miscellaneous                                                                            Price                                      Amount
           1   Mini Fridge Rental                                                    10.00 Day                                                   10.00
           1   Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                                   15.00

                                                                                                              Subtotal:                          25.00
                                                                                    Service Charge %:                 0.00                       0.00
                                                                                                    Tax %:            0.00                       0.00
                                                                                                              Total:                            25.00



               Room Rental                                                                        Price                                      Amount
    Room:      Rotunda Conference Room C                   Function: OFFC                  100.00                                               100.00
    Room:      Rotunda Conference Room                     Function: OFFC                  100.00                                               100.00
    Room:      Rotunda Conference Room E                   Function: OFFC                  100.00                                               100.00
    Room:      Rotunda Conference Room F                   Function: LUN
    Room:      Rotunda Conference Room B                   Function: OFFC                  150.00                                               150.00
    Room:      Rotunda Conference Room A                   Function: OFFC                  150.00                                               150.00
    Room:      Rotunda Conference Room B                   Function: OFFC                  100.00                                               100.00

                                                                                                             Subtotal:                         700.00
                                                                                  Room Rental Tax %:                  7,75                      54.25

                                                                                                              Total:                           754.25


                                                                                                         Grand Total:                          842.82

                                                                                                        Balance Due:                           842.82




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      Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 60Check#:
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                                                                                 Page ID
                                        #:325237    Mission Inn
                                                                          Page:
                                           A National Historic Landmark Hotel & Spa                                                     1 of 1
                            3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525                Printed: 8/6/2008
                                             Estimated Banquet Check                                                     Arr: 5/14/2008 Dep: 8/30/2008

Account:    MGA Entertainment                                                      Event Date:          7/4/2008
Post As:    MGA Entertainment
BEO Name:   MGA Entertainment                                                      Contact:            Mr. Craig Holden
Address:    16300 Roscoe Boulevard                                                 Phone:              (818) 221-4403
            Suite #150                                                             Fax:
            Van Nuys, CA 91406                                                     On-Site:




Quantity Beverage                                                                             Price                                      Amount
       1    Freshly Brewed Coffee                                                50.00                                                       50.00

                                                                                                          Subtotal:                          50.00
                                                                                Service Charge %:            18.00                           9.00
                                                                                                Tax %:            7.75                       4.57
                                                                                                           Total:                           63.57

Quantity Miscellaneous                                                                        Price                                      Amount
       1    Mini Fridge Rental                                                   10.00 Day                                                  10.00
       1    Phone Line with PolyCom Phone - RCR A                                15.00 Day                                                  15.00

                                                                                                          Subtotal:                          25.00
                                                                                Service Charge %:                 0.00                       0.00
                                                                                                Tax %:            0.00                       0.00
                                                                                                           Total:                           25.00



            Room Rental                                                                       Price                                      Amount
   Room:    Rotunda Conference Room B                  Function: OFFC                  100.00                                               100.00
   Room:    Rotunda Conference Room C                  Function: OFFC                  100.00                                               100.00
   Room:    Rotunda Conference Room D                  Function: OFFC                  100.00                                               100.00
   Room:    Rotunda Conference Room E                  Function: OFFC                  100.00                                               100.00
   Room:    Rotunda Conference Room F                  Function: OFFC                  150.00                                               150.00
   Room:    Rotunda Conference Room A                  Function: OFFC                  150.00                                               150.00

                                                                                                         Subtotal:                         700.00
                                                                              Room Rental Tax %:                  7.75                      54.25

                                                                                                          Total:                           754.25


                                                                                                     Grand Total:                          842.82

                                                                                                    Balance Due:                           842.82




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       Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 61Check#:
                                                                          of 101 39,158
                                                                                  Page ID
                                         #:325238       Mission Inn
                                                                           Page:
                                               A National Historic Landmark Hotel & Spa                                                   1 of 1
                                3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 7640300 • Fax (951) 784-5525               Printed: 8/6/2008

                                                 Estimated Banquet Check                                                    Arr: 5/14/2008 De p: 8/30/2008

Account:        MGA Entertainment                                                     Event Date:          7/5/2008
Post As:       MGA Entertainment
BEO Name:      MGA Entertainment                                                      Contact:            Mr. Craig Holden
Address:       16300 Roscoe Boulevard                                                 Phone:              (818) 221-4403
                                                                                      Fax:
               Suite #150
               Van Nuys, CA 91406                                                     On-Site:




Quantity Miscellaneous                                                                            Price                                      Amount
           1   Reception Phone Line - COMPLIMENTARY                                 0.00                                                          0.00
           1   Phone Line - Near Book Cases - COMPLIMENTARY                         0.00                                                          0.00
           1   Dedicated IP Address and Network Access in Offices -                 0.00                                                          0.00
               COMPLIMENTARY

                                                                                                               Subtotal:                          0.00
                                                                                    Service Charge %:            18.00                           0.00
                                                                                                   Tax %:         0.00                           0.00
                                                                                                               Total:                             0.00

               Non Hosted Self & Valet Parking @ the Prevailing Rates 0.00                                                                       0.00
           1   Mini Fridge Rental                                     10.00 Day                                                                 10.00
           1   Phone Line with PolyCom Phone - RCR A                  15.00 Day                                                                 15.00

                                                                                                               Subtotal:                        25.00
                                                                                   Service Charge %:                 0.00                        0.00
                                                                                                   Tax (}/0:         0.00                        0.00

                                                                                                               Total:                           25.00



               Room Rental                                                                        Price                                      Amount
    Room:      Rotunda Conference Room A                   Function: OFFC                  150.00                                              150.00
    Room:      Rotunda Conference Room B                   Function: OFFC                  100.00                                              100.00
    Room:      Rotunda Conference Room C                   Function: OFFC                  100.00                                              100.00
    Room:      Rotunda Conference Room D                   Function: OFFC                  100.00                                              100.00
    Room:      Rotunda Conference Room E                   Function: OFFC                  100.00                                              100.00
    Room:      Rotunda Conference Room F                   Function: OFFC                  150.00                                              150.00

                                                                                                               Subtotal:                       700.00
                                                                                  Room Rental Tax %:                 7.75                       54.25

                                                                                                               Total:                          754.25


                                                                                                        Grand Total:                           779.25

                                                                                                       Balance Due:                            779.25




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                             Exhibit 3 - Page 269
      Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 62Check#:
                                                                         of 101 39,159
                                                                                  Page ID
                                      Mission            Inn
                                                  #:325239
                               A National Historic Landmark Hotel & Spa   Page: 1 of 1
                            3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/6/2008
                                             Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008

Account:     MGA Entertainment                                                     Event Date:          7/6/2008
Post As:    MGA Entertainment
                                                                                   Contact:            Mr. Craig Holden
BEO Name:   MGA Entertainment
Address:    16300 Roscoe Boulevard                                                 Phone:              (818) 221-4403
                                                                                   Fax:
            Suite #150
            Van Nuys, CA 91406                                                     On-Site:




Quantity Miscellaneous                                                                        Price                                  Amount
       1    Mini Fridge Rental                                                   10.00 Day                                               10.00
       1    Phone Line with PolyCom Phone - RCR A                                15.00 Day                                               15.00

                                                                                                          Subtotal:                      25.00
                                                                                Service Charge %:                 0.00                    0.00
                                                                                                Tax %:            0.00                    0.00
                                                                                                           Total:                       25.00



            Room Rental                                                                       Price                                  Amount
    Room:   Rotunda Conference Room A                  Function: OFFC                   150.00                                          150.00
    Room:   Rotunda Conference Room B                  Function: OFFC                   100.00                                          100.00
    Room:   Rotunda Conference Room C                  Function: OFFC                   100.00                                          100.00
    Room:   Rotunda Conference Room D                  Function: OFFC                   100.00                                          100.00
    Room:   Rotunda Conference Room E                  Function: OFFC                   100.00                                          100.00
    Room:   Rotunda Conference Room F                  Function: OFFC                   150.00                                          150.00

                                                                                                          Subtotal:                    700.00
                                                                              Room Rental Tax %:                  7.75                  54.25
                                                                                                           Total:                      754.25

                                                                                                     Grand Total:                      779.25

                                                                                                    Balance Due:                       779.25




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                      Exhibit 3 - Page 270
       Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 63 of 101 Page ID
                                         #:325240        Mission Inn    Check#: 39,160
                                                A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                                 3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/6/2008
                                                                                                                          Arr: 5/14/2008 Dep: 8/30/2008
                                                   Estimated Banquet Check

Account:       MGA Entertainment                                                        Event Date:          7/7/2008
Post As:       MGA Entertainment
                                                                                        Contact:            Mr. Craig Holden
BEO Name:      MGA Entertainment
               16300 Roscoe Boulevard                                                   Phone:              (818) 221-4403
Address:
                                                                                        Fax:
               Suite #150
                                                                                        On-Site:
               Van Nuys, CA 91406




Quantity Beverage                                                                                   Price                                  Amount

           1   Gallon of coffee, decaf and hot tea                                    50.00                                                   50.00

                                                                                                               Subtotal:                      50.00
                                                                                      Service Charge %:            18.00                       9.00
                                                                                                      Tax %:        7.75                       4.57
                                                                                                                Total:                        63.57


Quantity Miscellaneous                                                                              Price                                  Amount

           1   Mini Fridge Rental                                                      10.00 Day                                              10.00
           1   Phone Line with PolyCom Phone - RCR A                                   15.00 Day                                              15.00

                                                                                                               Subtotal:                      25.00
                                                                                      Service Charge %:                0.00                    0.00
                                                                                                 Tax %:                0.00                    0.00
                                                                                                                Total:                        25.00



               Room Rental                                                                          Price                                  Amount

     Room:     Rotunda Conference Room A                     Function: OFFC                  150.00                                          150.00
     Room:     Rotunda Conference Room B                     Function: OFFC                  100.00                                          100.00
     Room:     Rotunda Conference Room C                     Function: OFFC                  100.00                                          100.00
     Room:     Rotunda Conference Room D                     Function: OFFC                  100.00                                          100.00
     Room:     Rotunda Conference Room E                     Function: OFFC                  100.00                                          100.00
     Room:     Rotunda Conference Room F                     Function: OFFC                  150.00                                          150.00

                                                                                                                Subtotal:                    700.00
                                                                                    Room Rental Tax %:                 7.75                   54.25

                                                                                                                 Total:                      754.25


                                                                                                            Grand Total:                     842.82

                                                                                                          Balance Due:                       842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                           Exhibit 3 - Page 271
      Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 64 of 101 Page ID
                                  Mission     Inn
                                        #:325241
                                                                       Check#: 39 . 988
                                                                                                                             Page: 1 of 1
                                            A National Historic Landmark Hotel & Spa
                             3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525           Printed: 8/6/2008
                                                                                                                      Arr: 5/14/2008 Dep.. 8/30/2008
                                              Estimated Banquet Check

Account:    MGA Entertainment                                                       Event Date:          7/7/2008
Post As:    MGA Entertainment
                                                                                    Contact:            Mr. Craig Holden
BED Name:   MGA Entertainment
                                                                                    Phone:              (818) 221-4403
Address:    16300 Roscoe Boulevard
                                                                                    Fax:
            Suite #150
                                                                                    On-Site:
            Van Nuys, CA 91406




Quantity Food                                                                                   Price                                  Amount

      18 CHEF'S SELECTION DINNER BUFFET                                           28.00 Per person                                       504.00

                                                                                                           Subtotal:                     504.00
                                                                                  Service Charge %:            18.00                      90.72
                                                                                             Tax `Yo:           7.75                      46.09

                                                                                                            Total:                       640.81


Quantity Beverage                                                                               Price                                  Amount

            Assorted Soft and Diet Soft Drinks                                     3.75 Each                                               45.00
      12
            Charged on Consumption
                                                                                                           Subtotal:                       45.00
                                                                                  Service Charge %:            18.00                        8.10
                                                                                             Tax %:             715                         4.12

                                                                                                             Total:                        57.22




            Room Rental                                                                          Price                                  Amount

    Room: Ho-O-Kan                                       Function: DIN
                                                                                                            Subtotal:                        0.00
                                                                                Room Rental Tax %:                 7.75                     0.00

                                                                                                             Total:                         0.00


                                                                                                        Grand Total:                      698.03


                                                                                                       Balance Due:                       698.03




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                       Exhibit 3 - Page 272
       Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 65Check#:
                                                                           of 101 39,161
                                                                                   Page ID
                                         #:325242         Mission Inn                                                            Page: 1 of 1
                                                 A National Historic Landmark Hotel & Spa
                                  3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525           Printed: 8/6/2008
                                                                                                                           Arr: 5/14/2008 Dep: 8/30/2008
                                                   Estimated Banquet Check

Account:       MGA Entertainment                                                         Event Date:          7/8/2008
Post As:       MGA Entertainment
                                                                                         Contact:            Mr. Craig Holden
BEO Name:      MGA Entertainment
                                                                                         Phone:              (818) 221-4403
Address:       16300 Roscoe Boulevard
                                                                                         Fax:
               Suite #150
                                                                                         On-Site:
               Van Nuys, CA 91406




Quantity Food                                                                                        Price

           1   Gallon of coffee                                                         50.00

                                                                                                                Subtotal:
                                                                                       Service Charge %:            18.00                       9.00
                                                                                                       Tax %:        7.75                       4.57

                                                                                                                 Total:                        63.57


Quantity Miscellaneous                                                                               Price                                  Amount

           1   Mini Fridge Rental                                                       10.00 Day                                              10.00
           I   Phone Line with PolyCom Phone - RCR A                                    15.00 Day                                              15.00

                                                                                                                Subtotal:                      25.00
                                                                                       Service Charge %:                0.00                    0.00
                                                                                                       Tax %:           0.00                    0.00

                                                                                                                 Total:                        25.00




               Room Rental                                                                           Price                                  Amount

     Room:     Rotunda Conference Room F                      Function: OFFC                  150.00                                          150.00
     Room:     Rotunda Conference Room A                      Function: OFFC                  150.00                                          150.00
     Room:     Rotunda Conference Room B                      Function: OFFC                  100.00                                          100.00
     Room:     Rotunda Conference Room C                      Function: OFFC                  100.00                                          100.00
     Room:     Rotunda Conference Room D                      Function: OFFC                  100.00                                          100.00
     Room:     Rotunda Conference Room E                      Function: OFFC                  100.00                                          100.00

                                                                                                                Subtotal:                     700.00
                                                                                     Room Rental Tax %:                 7.75                   54.25

                                                                                                                  Total:                      754.25


                                                                                                            Grand Total:                      842.82


                                                                                                           Balance Due:                       842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                            Exhibit 3 - Page 273
       Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 66 of 101 Page ID
                                         #:325243       Mission Inn     Check* 39,989
                                                                                                                               Page: 1 of 1
                                               A National Historic Landmark Hotel & Spa
                                3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525           Printed: 8/6/2008

                                                 Estimated Banquet Check                                                 Arr: 5/14/2008 De p: 8/30/2008


Account:       MGA Entertainment                                                       Event Date:          7/8/2008
Post As:       MGA Entertainment
                                                                                       Contact:            Mr. Craig Holden
EEO Name:      MGA Entertainment
               16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
Address:
                                                                                       Fax:
               Suite #150
                                                                                       On-Site:
               Van Nuys, CA 91406




Quantity Food                                                                                      Price                                  Amount

       18      CHEF'S SELECTION DINNER BUFFET                                        28.00 Per person                                       504.00

                                                                                                              Subtotal:                     504.00
                                                                                    Service Charge %:             18.00                      90.72
                                                                                                Tax %:             7.75                      46.09

                                                                                                               Total:                       640.81


Quantity Beverage                                                                                  Price                                  Amount

           9   Assorted Soft and Diet Soft Drinks                                     3.75 Each                                               33.75
               Charged on Consumption
                                                                                                              Subtotal:                       33.75
                                                                                     Service Charge %:            18.00                        6.08
                                                                                                Tax %:             7.75                        3.09

                                                                                                               Total:                        42.92




               Room Rental                                                                         Price                                  Amount

     Room: Ho-O-Kan                                         Function: DIN

                                                                                                              Subtotal:                        0.00
                                                                                   Room Rental Tax %:                 7.75                     0.00

                                                                                                                Total:                         0.00


                                                                                                          Grand Total:                      683.73

                                                                                                         Balance Due:                       683.73




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                          Exhibit 3 - Page 274
      Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 67 of 101 Page ID
                                        #:325244     Mission Inn       Check#: 39.949
                                            A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                             3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/6/2008

                                              Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008

Account:    MGA Entertainment                                                       Event Date:          7/9/2008
Post As:    MGA Entertainment
                                                                                    Contact:            Mr. Craig Holden
BEO Name:   MGA Entertainment
            16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
Address:
                                                                                    Fax:
            Suite #150
                                                                                    On-Site:
            Van Nuys, CA 91406




Quantity Food                                                                                   Price                                  Amount

       1    Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                           50.00
            Specialty Teas
                                                                                                           Subtotal:                      50.00
                                                                                 Service Charge %:             18.00                       9.00
                                                                                                  Tax %:        7.75                       4.57
                                                                                                            Total:                        63.57


Quantity Miscellaneous                                                                          Price                                  Amount

       1    Mini Fridge Rental                                                     10.00 Day                                              10.00
       1    Phone Line with PolyCom Phone - RCR A                                  15.00 Day                                              15.00

                                                                                                           Subtotal:                      25.00
                                                                                  Service Charge %:                0.00                    0.00
                                                                                              Tax %:               0.00                    0.00
                                                                                                            Total:                        25.00



            Room Rental                                                                         Price                                  Amount

    Room:   Rotunda Conference Room A                    Function: OFFC                  150.00                                          150.00
    Room:   Rotunda Conference Room B                    Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room C                    Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room D                    Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room E                    Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room F                    Function: OFFC                  150.00                                          150.00

                                                                                                            Subtotal:                    700.00
                                                                                Room Rental Tax %:                 7.75                   54.25

                                                                                                             Total:                      754.25


                                                                                                       Grand Total:                      842.82

                                                                                                      Balance Due:                       842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                       Exhibit 3 - Page 275
       Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 68 of 101 Page ID
                                         #:325245        Mission Inn    Check#: 39,990
                                                                                                                                 Page: 1 of 1
                                               A National Historic Landmark Hotel & Spa
                                3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/6/2008
                                                                                                                         Arr: 5/14/2008 Dep: 8/30/2008
                                                 Estimated Banquet Check

Account:       MGA Entertainment                                                       Event Date:          7/9/2008
Post As:       MGA Entertainment
                                                                                       Contact:            Mr. Craig Holden
BEO Name:      MGA Entertainment
               16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
Address:
                                                                                       Fax:
               Suite #150
                                                                                       On-Site:
               Van Nuys, CA 91406




Quantity Food                                                                                      Price                                  Amount

       18 CHEF'S SELECTION DINNER BUFFET                                             28.00 Per person                                       504.00

                                                                                                              Subtotal:                     504.00
                                                                                    Service Charge %:             18.00                      90.72
                                                                                               Tax %:              7.75                      46.09

                                                                                                               Total:                      640.81


Quantity Beverage                                                                                  Price                                  Amount

           8   Assorted Soft and Diet Soft Drinks                                     3. 75 Each                                             30.00
               Charged on Consumption
                                                                                                              Subtotal:                      30.00
                                                                                     Service Charge %:            18.00                       5.40
                                                                                                Tax %:             7.75                       2.74

                                                                                                               Total:                        38.14



               Room Rental                                                                         Price                                  Amount

     Room: Ho-O-Kan                                         Function: DIN
                                                                                                               Subtotal:                       0.00
                                                                                   Room Rental Tax %:                 7.75                    0.00
                                                                                                                Total:                        0.00 •

                                                                                                          Grand Total:                      678.95


                                                                                                         Balance Due:                       678.95




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                          Exhibit 3 - Page 276
       Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 69Check#:
                                                                           of 101 39,950
                                                                                   Page ID
                                         #:325246       Mission Inn
                                               A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                                3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525           Printed: 8/6/2008

                                                 Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008

Account:       MGA Entertainment                                                       Event Date:          7/10/2008
Post As:       MGA Entertainment
                                                                                       Contact:            Mr. Craig Holden
BEO Name:      MGA Entertainment
Address:       16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
                                                                                       Fax:
               Suite #150
                                                                                       On-Site:
               Van Nuys, CA 91406




Quantity Food                                                                                      Price                                 Amount

           1   Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                           50.00
               Specialty Teas
                                                                                                              Subtotal:                      50.00
                                                                                    Service Charge %:             18.00                       9.00
                                                                                               Tax `)/0:           7.75                       4.57
                                                                                                               Total:                        63.57


Quantity Miscellaneous                                                                             Price                                  Amount

           1   Mini Fridge Rental                                                    10.00 Day                                               10.00
           1   Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                               15.00

                                                                                                              Subtotal:                      25.00
                                                                                    Service Charge %:                 0.00                    0.00
                                                                                                Tax :                 0.00                    0.00
                                                                                                               Total:                        25.00



               RoomRental                                                                          Price                                  Amount
    Room:      Rotunda Conference Room B                    Function: OFFC                  100.00                                          100.00
    Room:      Rotunda Conference Room C                    Function: OFFC                  100.00                                          100.00
    Room:      Rotunda Conference Room D                    Function: OFFC                  100.00                                          100.00
    Room:      Rotunda Conference Room E                    Function: OFFC                  100.00                                          100.00
    Room:      Rotunda Conference Room F                    Function: OFFC                  150.00                                          150.00
    Room:      Rotunda Conference Room F                    Function: LUN
    Room:      Rotunda Conference Room A                    Function: OFFC                  150.00                                          150.00

                                                                                                              Subtotal:                     700.00
                                                                                   Room Rental Tax e./0:              7.75                   54.25

                                                                                                               Total:                      754.25


                                                                                                          Grand Total:                      842.82

                                                                                                         Balance Due:                      842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                          Exhibit 3 - Page 277
       Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 70Check#:
                                                                           of 101 39,991
                                                                                   Page ID
                                   Mission     Inn
                                         #:325247
                                           A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                            3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525           Printed: 8/6/2008

                                             Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008

Account:     MGA Entertainment                                                     Event Date:          7/10/2008
Post As:     MGA Entertainment
                                                                                   Contact:            Mr. Craig Holden
BEO Name:    MGA Entertainment
             16300 Roscoe Boulevard                                                Phone:              (818) 221-4403
Address:
                                                                                   Fax:
             Suite #150
                                                                                   On-Site:
             Van Nuys, CA 91406




Quantity Food                                                                                  Price                                 Amount

       18 CHEF'S SELECTION DINNER BUFFET                                         28.00 Per person                                       504.00

                                                                                                          Subtotal:                     504.00
                                                                                Service Charge %:             18.00                      90.72
                                                                                                 Tax %:        7.75                      46.09
                                                                                                           Total:                      640.81



             Room Rental                                                                       Price                                  Amount

     Room:   Ho-O-Kan                                   Function: DIN

                                                                                                          Subtotal:                       0.00
                                                                               Room Rental Tax %:                 7.75                    0.00

                                                                                                           Total:                         0.00


                                                                                                      Grand Total:                     640.81

                                                                                                     Balance Due:                      640.81




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                      Exhibit 3 - Page 278
      Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 71Check#:
                                                                         of 101 39,951
                                                                                 Page ID
                                        #:325248      Mission Inn
                                            A National Historic Landmark Hotel & Spa                                              Page: 1 of 1
                             3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525                Printed: 8/6/2008
                                              Estimated Banquet Check                                                     Arr: 8/14/2008 Dep: 8/30/2008

Account:     MGA Entertainment                                                      Event Date:          7/11/2008
Post As:    MGA Entertainment
                                                                                    Contact:            Mr. Craig Holden
BEO Name:   MGA Entertainment
                                                                                    Phone:              (818) 221-4403
Address:    16300 Roscoe Boulevard
                                                                                    Fax:
            Suite #150
                                                                                    On-Site:
            Van Nuys, CA 91406




Quantity Food                                                                                   Price                                     Amount
       1    Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                               50.00
            Specialty Teas

                                                                                                           Subtotal:                          50.00
                                                                                 Service Charge %:            18.00                            9.00
                                                                                            Tax %;             7.75                            4.57
                                                                                                            Total:                            63.57


Quantity Miscellaneous                                                                          Price                                      Amount
       1    Mini Fridge Rental                                                    10.00 Day                                                   10.00
       1    Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                                   15.00

                                                                                                           Subtotal:                          25.00
                                                                                 Service Charge %:                 0.00                        0.00
                                                                                                  Tax %:           0.00                        0.00
                                                                                                            Total:                            25.00



            Room Rental                                                                         Price                                     Amount
    Room:   Rotunda Conference Room C                    Function: OFFC                  100.00                                              100.00
    Room:   Rotunda Conference Room D                    Function: OFFC                  100.00                                              100.00
    Room:   Rotunda Conference Room E                    Function: OFFC                  100.00                                              100.00
    Room:   Rotunda Conference Room F                    Function: OFFC                  150.00                                              150.00
    Room:   Rotunda Conference Room B                    Function: OFFC                  100.00                                              100.00
    Room:   Rotunda Conference Room F                    Function: LUN
    Room:   Rotunda Conference Room A                    Function: OFFC                  150.00                                              150.00

                                                                                                           Subtotal:                         700.00
                                                                               Room Rental Tax %:                  7.75                       54.25

                                                                                                            Total:                          754.25


                                                                                                       Grand Total:                         842.82

                                                                                                      Balance Due:                          842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                           Exhibit 3 - Page 279
      Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 72Check#:
                                                                         of 101 39,952
                                                                                 Page ID
                                        #:325249      Mission Inn
                                            A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                             3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/6/2008
                                              Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008

Account:    MGA Entertainment                                                       Event Date:          7/12/2008
Post As:    MGA Entertainment
                                                                                    Contact:            Mr. Craig Holden
BEO Name:   MGA Entertainment
Address:    16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
                                                                                    Fax:
            Suite #150
                                                                                    On-Site:
            Van Nuys, CA 91406




Quantity Food                                                                                   Price                                 Amount

       1    Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                           50.00
            Specialty Teas
                                                                                                           Subtotal:                      50.00
                                                                                 Service Charge %:             18.00                       9.00
                                                                                                  Tax %:        7.75                       4.57
                                                                                                            Total:                        63.57


Quantity Miscellaneous                                                                          Price                                  Amount
       1    Mini Fridge Rental                                                    10.00 Day                                               10,00
       1    Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                               15,00

                                                                                                           Subtotal:                      25.00
                                                                                 Service Charge %:                 0.00                    0.00
                                                                                                  Tax %:           0,00                    0.00
                                                                                                            Total:                        25.00



            Room Rental                                                                         Price                                  Amount
    Room:   Rotunda Conference Room B                   Function: OFFC                   100.00                                          100.00
    Room:   Rotunda Conference Room C                   Function: OFFC                   100.00                                          100.00
    Room:   Rotunda Conference Room D                   Function: OFFC                   100.00                                          100.00
    Room:   Rotunda Conference Room E                   Function: OFFC                   100.00                                          100.00
    Room:   Rotunda Conference Room F                   Function: OFFC                   150.00                                          150.00
    Room:   Rotunda Conference Room A                   Function: OFFC                   150.00                                          150.00

                                                                                                           Subtotal:                     700.00
                                                                                Room Rental Tax %:                 7.75                   54.25

                                                                                                            Total:                      754.25


                                                                                                       Grand Total:                     842.82

                                                                                                      Balance Due:                      842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                       Exhibit 3 - Page 280
       Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 73 of 101 39,953
                                                                                   Page ID
                                         #:325250        Mission Inn    Check#:
                                                                          Page: 1 of 1
                                               A National Historic Landmark Hotel & Spa
                                3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-6525            Printed: 8/6/2008

                                                 Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008

Account:       MGA Entertainment                                                       Event Date:          7/13/2008
Post As:       MGA Entertainment
                                                                                       Contact:            Mr. Craig Holden
BEO Name:      MGA Entertainment
               16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
Address:
                                                                                       Fax:
               Suite #150
                                                                                       On-Site:
               Van Nuys, CA 91406




Quantity Food                                                                                      Price                                  Amount

           1   Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                           50.00
               Specialty Teas
                                                                                                              Subtotal:                      50.00
                                                                                    Service Charge %:             18.00                       9.00
                                                                                               Tax %:              7.75                       4.57
                                                                                                               Total:                        63.57


Quantity Miscellaneous                                                                             Price                                  Amount

           1   Mini Fridge Rental                                                    10.00 Day                                               10.00
           1   Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                               15.00

                                                                                                              Subtotal:                      25.00
                                                                                     Service Charge %:                0.00                    0.00
                                                                                                     Tax %:           0.00                    0.00
                                                                                                               Total:                        25.00



               Room Rental                                                                         Price                                  Amount
     Room: Rotunda Conference Room A                        Function: OFFC                  150.00                                          150.00
     Room: Rotunda Conference Room B                        Function: OFFC                  100.00                                          100.00
     Room: Rotunda Conference Room C                        Function: OFFC                  100.00                                          100.00
     Room: Rotunda Conference Room D                        Function: OFFC                  100.00                                          100.00
     Room: Rotunda Conference Room E                        Function: OFFC                  100.00                                          100.00
     Room: Rotunda Conference Room F                        Function: OFFC                  150.00                                          150.00

                                                                                                               Subtotal:                    700.00
                                                                                   Room Rental Tax %:                 7.75                   54.25

                                                                                                                Total:                      754.25


                                                                                                          Grand Total:                      842.82


                                                                                                         Balance Due:                       842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                          Exhibit 3 - Page 281
      Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 74Check#:
                                                                         of 101 39,954
                                                                                  Page ID
                                  Mission     Inn
                                        #:325251                          Page: 1 of 1
                                            A National Historic Landmark Hotel & Spa
                             3649 Mission Enn Avenue • Riverside, CA 92501* {951) 784-0300 • Fax (951) 784-5525            Printed: 8/6/2008

                                              Estimated Banquet Check                                                Arr: 5/14/2008 Dep: 8/30/2008


Account:    MGA Entertainment                                                      Event Date:          7/14/2008
Post As:    MGA Entertainment
                                                                                   Contact:            Mr. Craig Hoiden
BEO Name:   MGA Entertainment
            16300 Roscoe Boulevard
                                                                                   Phone:              (818) 221-4403
Address:
                                                                                   Fax:
            Suite #150
                                                                                   On-Site:
            Van Nuys, CA 91406




Quantity Food                                                                                  Price                                 Amount

       1    Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                          50.00
            Specialty Teas
                                                                                                          Subtotal:                      50.00
                                                                                 Service Charge %:            18.00                       9.00
                                                                                            Tax %:             7.75                       4,57
                                                                                                           Total:                        63.57


Quantity Miscellaneous                                                                         Price                                  Amount

       1    Mini Fridge Rental                                                    10.00 Day                                              10.00
       1    Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                              15.00

                                                                                                          Subtotal:                      25.00
                                                                                 Service Charge %:                0.00                    0.00
                                                                                                 Tax %:           0.00                    0.00
                                                                                                           Total:                        25.00



            Room Rental                                                                        Price                                  Amount
    Room:   Rotunda Conference Room F                   Function: OFFC                  150.00                                          150.00
    Room:   Rotunda Conference Room A                   Function: OFFC                  150.00                                          150.00
    Room:   Rotunda Conference Room B                   Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room C                   Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room D                   Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room E                   Function: OFFC                  100.00                                          100.00

                                                                                                          Subtotal:                     700.00
                                                                               Room Rental Tax %:                 7.75                   54.25

                                                                                                           Total:                       754.25


                                                                                                      Grand Total:                      842.82

                                                                                                     Balance Due:                      842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                      Exhibit 3 - Page 282
      Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 75Check#:
                                                                          of 101 40,086
                                                                                   Page ID
                                        #:325252    Mission Inn           Page:
                                           A National Historic Landmark Hotel & Spa                                                 1 of 1
                            3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5626            Printed: 8/6/2008
                                                                                                                     Arr: 5/14/2008 Dep: 8/3012008
                                             Estimated Banquet Check

Account:   MGA Entertainment                                                       Event Date:          7/14/2008
Post As:   MGA Entertainment
                                                                                   Contact:            Mr. Craig Holden
BEG Name: MGA Entertainment
                                                                                   Phone:              (818) 221-4403
Address:   16300 Roscoe Boulevard
                                                                                   Fax:
           Suite #150
                                                                                   On-Site:
           Van Nuys, CA 91406




Quantity Food                                                                                  Price                                  Amount

      10    CHEF'S SELECTION DINNER BUFFET                                        28.00 Per person                                      280.00

                                                                                                          Subtotal:                     280.00
                                                                                 Service Charge %:            18.00                      50.40
                                                                                            Tax %:                7.75                   25.61

                                                                                                           Total:                       356.01


Quantity Beverage                                                                              Price                                  Amount

       6   Assorted Soft and Diet Soft Drinks                                     3.75 Each                                              22.50
           Charged on Consumption
                                                                                                          Subtotal:                      22.50
                                                                                 Service Charge %:            18.00                       4.05
                                                                                            Tax %:             7.75                       2.06

                                                                                                            Total:                       28.61



           Room Rental                                                                         Price                                  Amount

    Room: Ho-O-Kan                                      Function: DIN
                                                                                                           Subtotal:                       0.00
                                                                               Room Rental Tax %:                 7.75                    0.00

                                                                                                            Total:                        0.00


                                                                                                      Grand Total:                      384,62


                                                                                                     Balance Due:                       384.62




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                      Exhibit 3 - Page 283
      Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 76Check#:
                                                                          of 101 39,955
                                                                                   Page ID
                                        #:325253     Mission Inn
                                            A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                             3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/6/2008

                                              Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008

Account:    MGA Entertainment                                                       Event Date:          7/15/2008
Post As:    MGA Entertainment
                                                                                    Contact:            Mr. Craig Holden
BEO Name:   MGA Entertainment
Address:    16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
                                                                                    Fax:
            Suite #150
                                                                                    On-Site:
            Van Nuys, CA 91406




Quantity Food                                                                                   Price                                 Amount      1
       1    Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                           50.00
            Specialty Teas
                                                                                                           Subtotal:                      50.00
                                                                                 Service Charge %:             18.00                       9.00
                                                                                            Tax %:              7.75                       4.57
                                                                                                            Total:                        63.57


Quantity Miscellaneous                                                                          Price                                  Amount

       1    Mini Fridge Rental                                                    10.00 Day                                               10.00
       1    Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                               15.00

                                                                                                           Subtotal:                      25.00
                                                                                 Service Charge %:                 0.00                    0.00
                                                                                                  Tax %:           0.00                    0.00
                                                                                                            Total:                        25.00



            Room Rental                                                                         Price                                  Amount

    Room:   Rotunda Conference Room A                    Function: OFFC                  150.00                                          150.00
    Room:   Rotunda Conference Room B                    Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room C                    Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room                      Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room E                    Function: OFFC                  100,00                                          100.00
    Room:   Spanish Patio                                Function: OFFC                  150.00                                          150.00

                                                                                                           Subtotal:                     700.00
                                                                                Room Rental Tax %:                 7.75                   54.25

                                                                                                            Total:                       754.25


                                                                                                       Grand Total:                      842.82

                                                                                                      Balance Due:                       842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                       Exhibit 3 - Page 284
      Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 77 of 101 Page ID
                                        #:325254     Mission Inn       Check#: 39,956
                                            A National Historic Landmark Hotel & Spa                                         Page: 1 of 1
                             3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/6/2008

                                              Estimated Banquet Check                                                  Arr: 5/14/2008 Dep: 8/30/2008

Account:    MGA Entertainment                                                       Event Date:          7/16/2008
Post As:    MGA Entertainment
                                                                                    Contact:            Mr, Craig Holden
BEO Name:   MGA Entertainment
            16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
Address:
                                                                                    Fax:
            Suite #150
                                                                                    On-Site:
            Van Nuys, CA 91406




Quantity Food                                                                                   Price                                   Amount

       1    Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                            50.00
            Specialty Teas
                                                                                                           Subtotal:                       50.00
                                                                                 Service Charge %:             18.00                        9.00
                                                                                             Tax %:                7.75                     4,57
                                                                                                            Total:                         63.57


Quantity Miscellaneous                                                                          Price                                   Amount

       1    Mini Fridge Rental                                                    10.00 Day                                                10.00
       1    Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                                15.00

                                                                                                           Subtotal:                       25.00
                                                                                  Service Charge %:                0.00                     0.00
                                                                                                  Tax %:           0.00                     0.00
                                                                                                            Total:                         25.00



            Room Rental                                                                         Price                                   Amount

    Room:   Rotunda Conference Room A                    Function: OFFC                  150.00                                           150.00
    Room:   Rotunda Conference Room B                    Function: OFFC                  100.00                                           100.00
    Room:   Rotunda Conference Room C                    Function: OFFC                  100.00                                           100.00
    Room:   Rotunda Conference Room D                    Function: OFFC                  100.00                                           100.00
    Room:   Rotunda Conference Room E                    Function: OFFC                  100.00                                           100.00
    Room:   Rotunda Conference Room F                    Function: OFFC                  150.00                                           150.00

                                                                                                           Subtotal:                      700.00
                                                                                Room Rental Tax %:                 7 .75                   54.25

                                                                                                             Total:                       754.25


                                                                                                       Grand Total:                       842.82

                                                                                                      Balance Due:                        842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                        Exhibit 3 - Page 285
       Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 78Check#:
                                                                          of 101 39,957
                                                                                  Page ID
                                         #:325255       Mission Inn
                                               A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                                3649 Mission Inn Avenue • Riverside, CA 92501 (951) 784-0300 • Fax (951) 784-5525            Printed: 8/6/2008
                                                 Estimated Banquet Check                                               Arr: 5/14/2008 Dep: 8/30/2008

Account:        MGA Entertainment                                                     Event Date:         7/17/2008
Post As:       MGA Entertainment
                                                                                      Contact:            Mr. Craig Holden
BE() Name:     MGA Entertainment
               16300 Roscoe Boulevard                                                 Phone:              (818) 221-4403
Address:
                                                                                      Fax:
               Suite #150
               Van Nuys, CA 91406                                                     On-Site:




Quantity Food                                                                                    Price                                 Amount
           1   Freshly Brewed Coffee, Decaffeinated Coffee and                      50.00 Refresh                                          50.00
               Specialty Teas
                                                                                                            Subtotal:                      50.00
                                                                                   Service Charge %:            18.00                       9.00
                                                                                                   Tax %:        7.75                       4.57
                                                                                                             Total:                        63.57


Quantity Miscellaneous                                                                           Price                                 Amount

           1   Mini Fridge Rental                                                   10.00 Day                                              10.00
           1   Phone Line with PolyCom Phone - RCR A                                15.00 Day                                              15.00

                                                                                                            Subtotal:                      25.00
                                                                                   Service Charge %:                0.00                    0.00
                                                                                                   Tax %:           0.00                    0.00
                                                                                                             Total:                        25.00



               Room Rental                                                                       Price                                  Amount
    Room:      Rotunda Conference Room F                   Function: OFFC                  150.00                                         150.00
    Room:      Rotunda Conference Room D                   Function: OFFC                  100.00                                         100.00
    Room:      Rotunda Conference Room E                   Function: OFFC                  100.00                                         100.00
    Room:      Rotunda Conference Room A                   Function: OFFC                  150.00                                         150.00
    Room:      Rotunda Conference Room B                   Function: OFFC                  100.00                                         100.00
    Room:      Rotunda Conference Room C                   Function: OFFC                  100.00                                         100.00

                                                                                                            Subtotal:                     700.00
                                                                                 Room Rental Tax                    7.75                   54.25

                                                                                                             Total:                       754.25


                                                                                                        Grand Total:                     842.82

                                                                                                       Balance Due:                      842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                        Exhibit 3 - Page 286
      Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 79Check#:
                                                                         of 101 39.958
                                                                                 Page ID
                                  Mission     Inn
                                        #:325256
                                            A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                             3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/6/2008
                                              Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008

Account:     MGA Entertainment                                                      Event Date:          7/18/2008
Post As:    MGA Entertainment
                                                                                    Contact:            Mr. Craig Holden
BEO Name:   MGA Entertainment
                                                                                    Phone:              (818) 221-4403
Address:    16300 Roscoe Boulevard
                                                                                    Fax:
            Suite #150
                                                                                    On-Site:
            Van Nuys, CA 91406




Quantity Food                                                                                   Price                                 Amount
       1    Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                           50.00
            Specialty Teas
                                                                                                           Subtotal:                      50.00
                                                                                 Service Charge %:            18.00                        9.00
                                                                                            Tax %:             7.75                        4.57
                                                                                                            Total:                       63.57


Quantity Miscellaneous                                                                          Price                                 Amount

       1    Mini Fridge Rental                                                    10.00 Day                                               10.00
       1    Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                               15.00

                                                                                                           Subtotal:                      25.00
                                                                                 Service Charge %:                 0.00                    0.00
                                                                                                 Tax %:            0.00                    0.00
                                                                                                            Total:                       25.00



            Room Rental                                                                         Price                                 Amount

    Room:   Rotunda Conference Room C                   Function: OFFC                   100.00                                          100.00
    Room:   Rotunda Conference Room A                   Function: OFFC                   150.00                                          150.00
    Room:   Rotunda Conference Room B                   Function: OFFC                   100.00                                          100.00
    Room:   Rotunda Conference Room D                   Function: OFFC                   100.00                                          100.00
    Room:   Rotunda Conference Room E                   Function: OFFC                   100.00                                          100.00
    Room:   Rotunda Conference Room F                   Function: OFFC                   150.00                                          150.00

                                                                                                           Subtotal:                     700.00
                                                                               Room Rental Tax %:                  7.75                   54.25

                                                                                                            Total:                      754.25


                                                                                                       Grand Total:                     842.82

                                                                                                     Balance Due:                       842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                       Exhibit 3 - Page 287
       Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 80Check#:
                                                                          of 101 39,959
                                                                                   Page ID
                                         #:325257       Mission Inn
                                                                           Page: 1 of 1
                                               A National Historic Landmark Hotel & Spa
                                3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525              Printed: 8/6/2008
                                                 Estimated Banquet Check                                                     Am 5/14/2008 Dep: 8/30/2008

Account:       MGA Entertainment                                                       Event Date:          7/19/2008
Post As:       MGA Entertainment
                                                                                       Contact:            Mr. Craig Holden
BEO Name:      MGA Entertainment
Address:       16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
                                                                                       Fax:
               Suite #150
                                                                                       On-Site:
               Van Nuys, CA 91406




Quantity Food                                                                                      Price                                    Amount
           1   Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                             50.00
               Specialty Teas
                                                                                                              Subtotal:                        50.00
                                                                                    Service Charge %:            18.00                          9.00
                                                                                               Tax %:             7.75                          4.57
                                                                                                               Total:                          63.57


Quantity Miscellaneous                                                                             Price                                    Amount

           1   Mini Fridge Rental                                                    10.00 Day                                                 10.00
           1   Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                                 15.00

                                                                                                              Subtotal:                        25.00
                                                                                    Service Charge %:                 0.00                      0.00
                                                                                                     Tax %:           0.00                      0.00
                                                                                                               Total:                          25.00



               Room Rental                                                                         Price                                    Amount
    Room:      Rotunda Conference Room A                   Function: OFFC                   150.00                                             150.00
    Room:      Rotunda Conference Room B                   Function: OFFC                   100.00                                             100.00
    Room:      Rotunda Conference Room C                   Function: OFFC                   100.00                                             100.00
    Room:      Rotunda Conference Room D                   Function: OFFC                   100.00                                             100.00
    Room:      Rotunda Conference Room E                   Function: OFFC                   100.00                                             100.00
    Room:      Rotunda Conference Room F                   Function: OFFC                   150.00                                             150.00

                                                                                                              Subtotal:                       700.00
                                                                                  Room Rental Tax %:                  7.75                     54.25

                                                                                                               Total:                         754.25


                                                                                                          Grand Total:                        842.82

                                                                                                        Balance Due:                          842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                             Exhibit 3 - Page 288
       Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 81 of 101 Page ID
                                         #:325258    Mission Inn        Check#: 39 = 960
                                                                                                                            Page: 1 of 1
                                            A National Historic Landmark Hotel & Spa
                             3649 Mission inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525           Printed: 8/6/2008
                                                                                                                      Arr: 5/14/2008 Dep: 8/30/2008
                                               Estimated Banquet Check

Account:   MGA Entertainment                                                        Event Date:          7/20/2008
Post As:  MGA Entertainment
                                                                                    Contact:            Mr. Craig Hoiden
BEO Name: MGA Entertainment
           16300 Roscoe Boulevard                                                   Phone:              (818) 221-4403
Address:
                                                                                    Fax:
           Suite #150
                                                                                    On-Site:
          Van Nuys, CA 91406




Quantity Food                                                                                   Price                                  Amount

       1    Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                           50.00
            Specialty Teas
                                                                                                           Subtotal:                      50.00
                                                                                 Service Charge %:             18.00                       9.00
                                                                                             Tax %:             7.75                       4.57
                                                                                                            Total:                        63.57


Quantity Miscellaneous                                                                          Price                                  Amount

       1    Mini Fridge Rental                                                    10.00 Day                                               10.00
       1    Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                               15.00

                                                                                                           Subtotal:                      25.00
                                                                                  Service Charge %:                0.00                    0.00
                                                                                                  Tax %:           0.00                    0.00
                                                                                                            Total:                        25.00



            Room Rental                                                                         Price                                  Amount
    Room:   Rotunda Conference Room A                    Function: OFFC                  150.00                                          150.00
    Room:   Rotunda Conference Room B                    Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room C                    Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room D                    Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room E                    Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room F                    Function: OFFC                  150.00                                          150.00

                                                                                                           Subtotal:                     700.00
                                                                                Room Rental Tax %:                 7.75                   54.25

                                                                                                             Total:                      754.25


                                                                                                       Grand Total:                      842.82

                                                                                                      Balance Due:                       842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                       Exhibit 3 - Page 289
       Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 82 of 101 40,161
                                                                                   Page ID
                                         #:325259    Mission Inn        Check*
                                            A National Historic Landmark Hotel & Spa                                       Page: 1 of 1
                             3649 Mission Inn Avenue • Riverside, CA 92501 • (961) 784-0300 • Fax (951} 784-5525          Printed: 8/6/2008
                                                                                                                      Am 5/14/2008 Dep: 8/30/2008
                                              Estimated Banquet Check

Account:    MGA Entertainment                                                       Event Date:          7/20/2008
Post As:    MGA Entertainment
                                                                                    Contact:            Mr. Craig Holden
BEG Name:   MGA Entertainment
            16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
Address:
                                                                                    Fax:
            Suite #150
                                                                                    On-Site:
            Van Nuys, CA 91406




Quantity Food                                                                                   Price                                Amount

       20 CHEFS SELECTION DINNER BUFFET                                           28.00 Per person                                     560.00

                                                                                                           Subtotal:                   560.00
                                                                                 Service Charge %:             18.00                   100.80
                                                                                            Tax %:                 7.75                 51.21
                                                                                                            Total:                     712,01


Quantity Beverage                                                                               Price                                Amount

       11   Assorted Soft and Diet Soft Drinks                                     3.75 Each                                            41.25
            Charged on Consumption
                                                                                                           Subtotal:                     41.25
                                                                                  Service Charge %:            18.00                      7.43
                                                                                             Tax %:             7.75                      3.77

                                                                                                            Total:                       52.45




            Room Rental                                                                         Price                                 Amount

     Room: Ho-O-Kan                                      Function: DIN
                                                                                                            Subtotal:                     0.00
                                                                                Room Rental Tax %:                 7.75                   0.00

                                                                                                             Total:                       0.00


                                                                                                       Grand Total:                    764.46

                                                                                                      Balance Due:                     764.46




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                       Exhibit 3 - Page 290
      Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 83 of 101 Page ID
                                        #:325260     Mission Inn       Check#: 39,961
                                            A National Historic Landmark Hotel & Spa                                         Page: 1 of 1
                             3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525           Printed: 8/6/2008
                                                                                                                      Arr: 5/14/2008 Dep: 8/30/2008
                                              Estimated Banquet Check

Account:    MGA Entertainment                                                       Event Date:          7/21/2008
Post As:    MGA Entertainment
                                                                                    Contact:            Mr. Craig Holden
BEO Name:   MGA Entertainment
                                                                                    Phone:              (818) 221-4403
Address:    16300 Roscoe Boulevard
                                                                                    Fax:
            Suite #150
                                                                                    On-Site:
            Van Nuys, CA 91406




Quantity Food                                                                                   Price                                  Amount

       1    Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                           50.00
            Specialty Teas
       1    PITCHER OF 0.J                                                        25.00                                                   25.00
       1    PITCHER OF MILK                                                       25.00                                                   25.00

                                                                                                           Subtotal:                     100.00
                                                                                  Service Charge %:            18.00                      18.00
                                                                                             Tax %:                7.75                    9.15
                                                                                                            Total:                       127.15


Quantity Miscellaneous                                                                          Price                                  Amount

       1    Mini Fridge Rental                                                     10.00 Day                                              10.00
       1    Phone Line with PolyCom Phone - RCR A                                  15.00 Day                                              15.00

                                                                                                           Subtotal:                      25.00
                                                                                  Service Charge %:                0.00                    0.00
                                                                                             Tax %:                0.00                    0.00

                                                                                                             Total:                       25.00




            Room Rental                                                                         Price                                  Amount

    Room:   Rotunda Conference Room A                    Function: OFFC                   150.00                                          150.00
    Room:   Rotunda Conference Room B                    Function: OFFC                   100.00                                          100.00
    Room:   Rotunda Conference Room C                    Function: OFFC                   100.00                                          100.00
    Room:   Rotunda Conference Room D                    Function: OFFC                   100.00                                          100.00
    Room:   Rotunda Conference Room E                    Function: OFFC                   100.00                                          100.00
    Room:   Rotunda Conference Room F                    Function: OFFC                   150.00                                          150.00

                                                                                                            Subtotal:                    700.00
                                                                                Room Rental Tax %:                 7.75                   54.25

                                                                                                             Total:                      754.25


                                                                                                        Grand Total:                     906.40

                                                                                                       Balance Due:                      906.40




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                       Exhibit 3 - Page 291
       Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 84Check#:
                                                                           of 101 40,162
                                                                                   Page ID
                                         #:325261    Mission Inn                                                              Page: 1 of 1
                                            A National Historic Landmark Hotel & Spa
                             3649 Mission inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/6/2008
                                                                                                                      Arr: 5/14/2008 Dep: 8/30/2008
                                              Estimated Banquet Check
Account:    MGA Entertainment                                                       Event Date:          7/21/2008
Post As:    MGA Entertainment
                                                                                    Contact:            Mr. Craig Holden
BED Name:   MGA Entertainment
            16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
Address:
                                                                                    Fax:
            Suite #150
                                                                                    On-Site:
            Van Nuys, CA 91406




Quantity Food                                                                                   Price                                  Amount

       20   CHEF'S SELECTION DINNER BUFFET                                        28.00 Per person                                       560.00

                                                                                                           Subtotal:                     560.00
                                                                                  Service Charge %:            18.00                     100.80
                                                                                                  Tax %:        7.75                      51.21
                                                                                                            Total:                       712.01


Quantity Beverage                                                                               Price                                  Amount

       10   Assorted Soft and Diet Soft Drinks                                     3.75 Each                                              37.50
            Charged on Consumption
                                                                                                           Subtotal:                      37.50
                                                                                  Service Charge %:            18.00                       6.75
                                                                                             Tax %:             7.75                       3.43
                                                                                                            Total:                        47.68



            Room Rental                                                                         Price                                  Amount

     Room: Ho-O-Kan                                      Function: DIN

                                                                                                            Subtotal:                       0.00
                                                                                Room Rental Tax %:                 7.75                    0.00

                                                                                                             Total:                        0.00


                                                                                                       Grand Total:                      759.69


                                                                                                      Balance Due:                       759.69




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                       Exhibit 3 - Page 292
       Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 85Check#:
                                                                          of 101 40,113
                                                                                  Page ID
                                         #:325262       Mission Inn                                                              Page: 1 of 1
                                               A National Historic Landmark Hotel & Spa
                                3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/6/2008
                                                                                                                         Arr: 5/14/2008 Dep: 8/30/2008
                                                 Estimated Banquet Check

Account:       MGA Entertainment                                                       Event Date:          7/22/2008
Post As:       MGA Entertainment
                                                                                       Contact:            Mr. Craig Holden
BEO Name:      MGA Entertainment
                                                                                       Phone:              {818) 221-4403
Address:       16300 Roscoe Boulevard
                                                                                       Fax:
               Suite #150
                                                                                       On-Site:
               Van Nuys, CA 91406




Quantity Food                                                                                      Price                                  Amount

           1   Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                           50.00
               Specialty Teas
                                                                                                              Subtotal:                      50.00
                                                                                    Service Charge %:             18.00                       9.00
                                                                                               Tax %:                 7.75                    4.57
                                                                                                               Total:                        63.57


Quantity Miscellaneous                                                                             Price                                  Amount

               Mini Fridge Rental                                                     10.00 Day                                              10.00
           1   Phone Line with PolyCom Phone - RCR A                                  15.00 Day                                              15.00

                                                                                                              Subtotal:                      25.00
                                                                                     Service Charge %:                0.00                    0.00
                                                                                                     Tax %:           0.00                    0.00

                                                                                                               Total:                        25.00



               Room Rental                                                                         Price

     Room:     Rotunda Conference Room C                    Function: OFFC                  100.00                                          100.00
     Room:     Rotunda Conference Room D                    Function: OFFC                  100.00                                          100.00
     Room:     Rotunda Conference Room E                    Function: OFFC                  100.00                                          100.00
     Room:     Rotunda Conference Room F                    Function: OFFC                  150.00                                          150.00
     Room:     Rotunda Conference Room A                    Function: OFFC                  150.00                                          150.00
     Room:     Rotunda Conference Room B                    Function: OFFC                  100.00                                          100.00

                                                                                                              Subtotal:                     700.00
                                                                                   Room Rental Tax %:                 7.75                   54.25

                                                                                                               Total:                       754.25


                                                                                                          Grand Total:                      842.82

                                                                                                         Balance Due:                       842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                          Exhibit 3 - Page 293
      Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 86Check#:
                                                                         of 101 40,163
                                                                                 Page ID
                                        #:325263       Mission Inn                                                            Page: 1 of 1
                                             A National Historic Landmark Hotel & Spa
                              3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525           Printed: 8/6/2008
                                                                                                                       Arr: 5/14/2008 De p: 8/30/2008
                                               Estimated Banquet Check

Account:    MGA Entertainment                                                        Event Date:          7/22/2008
Post As:    MGA Entertainment
                                                                                     Contact:            Mr. Craig Holden
BEO Name:   MGA Entertainment
            16300 Roscoe Boulevard                                                   Phone:              (818) 221-4403
Address:
                                                                                     Fax:
            Suite #150
                                                                                     On-Site:
            Van Nuys, CA 91406




Quantity Food                                                                                    Price                                  Amount

      20 CHEF'S SELECTION DINNER BUFFET                                            28.00 Per person                                       560.00

                                                                                                            Subtotal:                     560.00
                                                                                  Service Charge %:             18.00                     100.80
                                                                                             Tax %:              7.75                      51.21
                                                                                                             Total:                       712.01


Quantity Beverage                                                                                Price                                  Amount

       8    Assorted Soft and Diet Soft Drinks                                      3.75 Each                                               30.00
            Charged on Consumption
                                                                                                            Subtotal:                       30.00
                                                                                   Service Charge               18.00                        5.40
                                                                                                   Tax %:        7.75                        2.74
                                                                                                             Total:                         38.14



            Room Rental                                                                          Price                                  Amount

    Room: Ho-O-Kan                                        Function: DIN
                                                                                                            Subtotal:                        0.00
                                                                                 Room Rental Tax %:                 7.75                     0.00

                                                                                                             Total:                          0.00


                                                                                                        Grand Total:                      750.15

                                                                                                       Balance Due:                       750.15




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                        Exhibit 3 - Page 294
      Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 87Check#:
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                                                                                  Page ID
                                        #:325264      Mission Inn
                                            A National Historic Landmark Hotel & Spa                                           Page: 1 of 1
                             3649 NI ssion Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/6/2008
                                                                                                                       Arr: 5/14/2008 De p: 8/30/2008
                                               Estimated Banquet Check

Account:    MGA Entertainment                                                        Event Date:          7/23/2008
Post As:    MGA Entertainment
                                                                                    Contact:             Mr. Craig Holden
BEO Name:   MGA Entertainment
            16300 Roscoe Boulevard                                                  Phone:               (818) 221-4403
Address:
                                                                                    Fax:
            Suite #150
                                                                                     On-Site:
            Van Nuys, CA 91406




Quantity Food                                                                                    Price                                  Amount

       1    Freshly Brewed Coffee, Decaffeinated Coffee and                        50.00 Refresh                                            50.00
            Specialty Teas
                                                                                                            Subtotal:                       50.00
                                                                                  Service Charge %:            18.00                         9.00
                                                                                             Tax %:             7.75                         4.57
                                                                                                             Total:                        63.57


Quantity Miscellaneous                                                                           Price                                  Amount

       1    Mini Fridge Rental                                                     10.00 Day                                                10.00
       1    Phone Line with PolyCom Phone - RCR A                                  15.00 Day                                                15.00

                                                                                                            Subtotal:                       25.00
                                                                                  Service Charge %:                 0.00                     0.00
                                                                                             Tax %:                 0.00                     0.00
                                                                                                             Total:                         25.00



            Room Rental                                                                          Price                                  Amount
    Room:   Rotunda Conference Room A                    Function: OFFC                   150.00                                           150.00
    Room:   Rotunda Conference Room B                    Function: OFFC                   100.00                                           100.00
    Room:   Rotunda Conference Room C                    Function: OFFC                   100.00                                           100.00
    Room:   Rotunda Conference Room                      Function: OFFC                   100.00                                           100.00
    Room:   Rotunda Conference Room E                    Function: OFFC                   100.00                                           100.00
    Room:   Rotunda Conference Room F                    Function: OFFC                   150.00                                           150.00

                                                                                                            Subtotal:                      700.00
                                                                                Room Rental Tax `)/0:               7.75                    54.25

                                                                                                             Total:                       754.25


                                                                                                        Grand Total:                      842.82


                                                                                                       Balance Due:                       842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                        Exhibit 3 - Page 295
      Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 88 of 101 Page ID
                                        #:325265   Mission Inn         Check#: 40,197
                                                                                                                           Page: 1 of 1
                                          A National Historic Landmark Hotel & Spa
                           3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 754-5525           Printed: 8/6/2008
                                                                                                                    Arr: 5/14/2008 Dep: 8/30/2008
                                            Estimated Banquet Check

Account:     MGA Entertainment                                                    Event Date:          7/23/2008
Post As:    MGA Entertainment
                                                                                  Contact:            Mr. Craig Holden
BED Name:   MGA Entertainment
            16300 Roscoe Boulevard                                                Phone:              (818) 221-4403
Address:
                                                                                  Fax:
            Suite #150
                                                                                  On-Site:
            Van Nuys, CA 91406




            Room Rental                                                                       Price                                  Amount

    Room: San Diego West                               Function: EXHB                  300.00                                          300.00

                                                                                                         Subtotal:                     300.00
                                                                              Room Rental Tax %:                 7.75                   23.25

                                                                                                          Total:                       323.25


                                                                                                     Grand Total:                      323.25

                                                                                                    Balance Due:                      323.25




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                     Exhibit 3 - Page 296
       Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 89 of 101 40,164
                                                                                   Page ID
                                         #:325266       Mission Inn     Check#:
                                                                                                                                 Page: 1 of 1
                                               A National Historic Landmark Hotel & Spa
                                3649 Mission inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/6/2008
                                                                                                                         Arr: 5/14/2008 Dep: 8/30/2008
                                                 Estimated Banquet Check

Account:       MGA Entertainment                                                       Event Date:          7/23/2008
Post As:       MGA Entertainment
                                                                                       Contact:            Mr. Craig Holden
BED Name:      MGA Entertainment
                                                                                       Phone:              (818) 221-4403
Address:       16300 Roscoe Boulevard
                                                                                       Fax:
               Suite #150
                                                                                       On-Site:
               Van Nuys, CA 91406




Quantity Food                                                                                      Price                                  Amount

       20 CHEF'S SELECTION DINNER BUFFET                                              28.00 Per person                                      560.00

                                                                                                              Subtotal:                     560.00
                                                                                     Service Charge °/0:          18.00                    100.80
                                                                                                 Tax 3/4:          7.75                     51.21

                                                                                                               Total:                       712.01


                                                                                                   Price                                  Amount
Quantity Beverage
           9   Assorted Soft and Diet Soft Drinks                                     3.75 Each                                              33.75
               Charged on Consumption
                                                                                                              Subtotal:                      33.75
                                                                                     Service Charge %:            18.00                       6.08
                                                                                                Tax 70:            7.75                       3.09

                                                                                                                Total:                       42.92



               Room Rental                                                                          Price                                 Amount

     Room: Ho-O-Kan                                         Function: DIN
                                                                                                               Subtotal:                       0.00
                                                                                   Room Rental Tax Vo:                7.75                     0.00

                                                                                                                Total:                         0.00


                                                                                                           Grand Total:                     754.93

                                                                                                          Balance Due:                      754,93




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                          Exhibit 3 - Page 297
      Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 90 of 101 40,115
                                                                                 Page ID
                                        #:325267     Mission Inn       Check#:
                                                                                                                            Page: 1 of 1
                                            A National Historic Landmark Hotel & Spa
                             3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525           Printed: 8/6/2008
                                                                                                                      Arr: 5/14/2008 Dep: 8/30/2008
                                              Estimated Banquet Check

Account:    MGA Entertainment                                                       Event Date:          7/24/2008
Post As:    MGA Entertainment
                                                                                    Contact:            Mr. Craig Holden
BEO Name:   MGA Entertainment
            16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
Address:
                                                                                    Fax:
            Suite #150
                                                                                    On-Site:
            Van Nuys, CA 91406




Quantity Food                                                                                   Price                                  Amount 1

       1    Freshly Brewed Coffee, Decaffeinated Coffee and                        50.00 Refresh                                          50.00
            Specialty Teas
                                                                                                           Subtotal:                      50.00
                                                                                  Service Charge %:            18.00                       9.00
                                                                                             Tax %:             7.75                       4.57
                                                                                                            Total:                        63.57


Quantity Miscellaneous                                                                          Price                                  Amount I

       1    Mini Fridge Rental                                                     10.00 Day                                              10.00
       1    Phone service added from 07-23-08                                      170.00                                                170.00
       1    Phone Line with PolyCom Phone - RCR A                                  15.00 Day                                              15.00

                                                                                                           Subtotal:                     195.00
                                                                                  Service Charge %:                0.00                    0.00
                                                                                             Tax %:                0.00                    0.00
                                                                                                             Total:                      195.00



            Room Rental                                                                         Price                                  Amount

    Room:   Rotunda Conference Room A                    Function: OFFC                  150.00                                          150.00
    Room:   Rotunda Conference Room B                    Function: OFFC                  100.00                                          100,00
    Room:   Rotunda Conference Room C                    Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room D                    Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room E                    Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room F                    Function: OFFC                  150.00                                          150.00

                                                                                                            Subtotal:                    700.00
                                                                                Room Rental Tax %:                 7.75                   54.25

                                                                                                             Total:                      754.25


                                                                                                       Grand Total:                    1,012.82

                                                                                                      Balance Due:                     1,012.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                       Exhibit 3 - Page 298
      Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 91 of 101 40,165
                                                                                  Page ID
                                        #:325268      Mission Inn      Check#:
                                                                                                                              Page: 1 of 1
                                            A National Historic Landmark Hotel & Spa
                             3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/6/2008
                                                                                                                      All: 5/14/2008 Dep: 8/30/2008
                                              Estimated Banquet Check
Account:    MGA Entertainment                                                       Event Date:          7/24/2008
Post As:    MGA Entertainment
                                                                                    Contact:            Mr. Craig Holden
BEG Name:   MGA Entertainment
            16300 Roscoe Boulevard                                                  Phone:              (818) 221 4403-
Address:
                                                                                    Fax:
            Suite #150
                                                                                    On-Site:
            Van Nuys, CA 91406




Quantity Food                                                                                   Price                                 Amount

      20 CHEFS SELECTION DINNER BUFFET                                            28.00 Per person                                       560.00

                                                                                                           Subtotal:                     560.00
                                                                                 Service Charge %:             18.00                    100.80
                                                                                                  Tax %:        7.75                     51.21
                                                                                                            Total:                      712.01


Quantity Beverage                                                                               Price                                  Amount

      10    Assorted Soft and Diet Soft Drinks                                     3.75 Each                                              37.50
            Charged on Consumption
                                                                                                           Subtotal:                      37.50
                                                                                  Service Charge %:            18.00                       6.75
                                                                                             Tax %:             7.75                       3.43
                                                                                                            Total:                        47.68



            Room Rental                                                                         Price                                  Amount

    Room: Ho-O-Kan                                       Function: DIN
                                                                                                           Subtotal:                        0.00
                                                                                Room Rental Tax %:                 7.75                    0.00

                                                                                                            Total:                         0.00


                                                                                                       Grand Total:                      759.69


                                                                                                      Balance Due:                      759.69




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                       Exhibit 3 - Page 299
       Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 92 of 101 40,116
                                                                                  Page ID
                                         #:325269       Mission Inn     Check#:
                                                                                                                                 Page: 1 of 1
                                               A National Historic Landmark Hotel & Spa
                                3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/6/2008

                                                 Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008


Account:       MGA Entertainment                                                       Event Date:          7/25/2008
Post As:       MGA Entertainment
                                                                                       Contact:            Mr. Craig Holden
BEO Name:      MGA Entertainment
               16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
Address:
                                                                                       Fax:
               Suite #150
                                                                                       On-Site:
               Van Nuys, CA 91406




Quantity Food                                                                                      Price                                  Amount

           1   Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                           50.00
               Specialty Teas
                                                                                                              Subtotal:                      50.00
                                                                                    Service Charge %:             18.00                       9.00
                                                                                               Tax %:              7.75                       4.57

                                                                                                               Total:                        63.57


Quantity Miscellaneous                                                                             Price                                  Amount

           1   Mini Fridge Rental                                                     10.00 Day                                              10.00
           1   Phone Line with PolyCom Phone - RCR A                                  15.00 Day                                              15.00

                                                                                                              Subtotal:                      25.00
                                                                                     Service Charge `Yo:              0.00                    0.00
                                                                                                     Tax %:           0.00                    0.00

                                                                                                               Total:                        25.00



               Room Rental                                                                         Price                                  Amount

     Room:     Rotunda Conference Room F                    Function: OFFC                  150.00                                          150.00
     Room:     Rotunda Conference Room A                    Function: OFFC                  150.00                                          150.00
     Room:     Rotunda Conference Room B                    Function: OFFC                  100.00                                          100.00
     Room:     Rotunda Conference Room C                    Function: OFFC                  100.00                                          100.00
     Room:     Rotunda Conference Room D                    Function: OFFC                  100.00                                          100.00
     Room:     Rotunda Conference Room E                    Function: OFFC                  100.00                                          100.00

                                                                                                              Subtotal:                     700.00
                                                                                   Room Rental Tax V.:                7.75                   54.25

                                                                                                                Total:                      754.25


                                                                                                          Grand Total:                      842.82

                                                                                                         Balance Due:                       842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                          Exhibit 3 - Page 300
      Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 93 of 101 40,117
                                                                                  Page ID
                                  Mission     Inn
                                        #:325270                       Check#:
                                            A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                             3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/6/2008

                                              Estimated Banquet Check                                                 Arr: 5/14/2008 Dep.. 8/30/2008


Account:    MGA Entertainment                                                       Event Date:          7/26/2008
Post As:    MGA Entertainment
                                                                                    Contact:            Mr. Craig Holden
BEO Name:   MGA Entertainment
                                                                                    Phone:              (818) 221-4403
Address:    16300 Roscoe Boulevard
                                                                                    Fax:
            Suite #150
                                                                                    On-Site:
            Van Nuys, CA 91406




Quantity Food                                                                                   Price                                  Amount

       1    Freshly Brewed Coffee, Decaffeinated Coffee and                        50.00 Refresh                                           50.00
            Specialty Teas
                                                                                                           Subtotal:                       50.00
                                                                                  Service Charge %:            18.00                        9.00
                                                                                             Tax %:             7.75                        4.57

                                                                                                            Total:                        63.57


Quantity Miscellaneous                                                                          Price                                  Amount

       1    Mini Fridge Rental                                                     10.00 Day                                               10.00
       1    Phone Line with PolyCom Phone - RCR A                                  15.00 Day                                               15.00

                                                                                                           Subtotal:                       25.00
                                                                                  Service Charge %:                0.00                     0.00
                                                                                                  Tax %:           0.00                     0.00

                                                                                                            Total:                         25.00



            Room Rental                                                                         Price                                   Amount

    Room:   Rotunda Conference Room D                    Function: OFFC                  100.00                                           100.00
    Room:   Rotunda Conference Room E                    Function: OFFC                  100.00                                           100.00
    Room:   Rotunda Conference Room F                    Function: OFFC                  150.00                                           150.00
    Room:   Rotunda Conference Room B                    Function: OFFC                  100.00                                           100.00
    Room:   Rotunda Conference Room A                    Function: OFFC                  150.00                                           150.00
    Room:   Rotunda Conference Room C                    Function: OFFC                  100.00                                           100.00

                                                                                                            Subtotal:                     700.00
                                                                                Room Rental Tax %:                 7.75                    54.25

                                                                                                             Total:                       754.25


                                                                                                       Grand Total:                       842.82


                                                                                                      Balance Due:                        842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                       Exhibit 3 - Page 301
       Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 94Check#:
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                                                                                  Page ID
                                         #:325271      Mission Inn
                                              A National Historic Landmark Hotel & Spa                                         Page: 1 of 1
                               3649 Mission Inn Avenue • Riverside, CA 92501 • {951) 784-03004 Fax (951) 784-5525            Printed: 8/6/2008
                                                                                                                       Arr: 5/14/2008 Dep: 8/30/2008
                                                Estimated Banquet Check
Account:       MGA Entertainment                                                     Event Date:          7/27/2008
Post As:       MGA Entertainment
                                                                                     Contact:            Mr. Craig Holden
BE() Name:     MGA Entertainment
               16300 Roscoe Boulevard                                                Phone:               (818) 221-4403
Address:
                                                                                     Fax:
               Suite #150
                                                                                     On-Site:
               Van Nuys, CA 91406




Quantity Miscellaneous                                                                           Price                                 Amount

           1   Mini Fridge Rental                                                   10.00 Day                                              10.00
           1   Phone Line with PolyCom Phone - RCR A                                15.00 Day                                              16.00

                                                                                                            Subtotal:                      25.00
                                                                                   Service Charge %:                0.00                    0.00
                                                                                                   Tax %:           0-00                    0.00
                                                                                                             Total:                        25.00



               Room Rental                                                                       Price                                  Amount

     Room: Rotunda Conference Room A                       Function: OFFC                 150.00                                          150.00
     Room:     Rotunda Conference Room B                   Function: OFFC                 100.00                                          100.00
     Room:     Rotunda Conference Room C                   Function: OFFC                 100.00                                          100.00
     Room:     Rotunda Conference Room D                   Function: OFFC                 100.00                                          100.00
     Room:     Rotunda Conference Room E                   Function: OFFC                 100.00                                          100.00
     Room:     Rotunda Conference Room F                   Function: OFFC                 150.00                                          150.00

                                                                                                            Subtotal:                     700.00
                                                                                 Room Rental Tax %:                 7.75                   54.25 •

                                                                                                             Total:                       754.25


                                                                                                        Grand Total:                      779.25

                                                                                                       Balance Due:                      779.25




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                        Exhibit 3 - Page 302
       Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 95Check#:
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                                                                                  Page ID
                                         #:325272   Mission Inn
                                           A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                            3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/6/2008
                                                                                                                     Arr: 5/14/2008 De p: 8/30/2008
                                             Estimated Banquet Check
Account:     MGA Entertainment                                                     Event Date:          7/27/2008
Post As:     MGA Entertainment
                                                                                   Contact:            Mr. Craig Holden
BE() Name:   MGA Entertainment
             16300 Roscoe Boulevard                                                Phone:              (818) 221-4403
Address:
                                                                                   Fax:
             Suite #150
                                                                                   On-Site:
             Van Nuys, CA 91406




Quantity Food                                                                                  Price                                  Amount

       20 CHEF'S SELECTION DINNER BUFFET                                         28.00 Per person                                       560.00

                                                                                                          Subtotal:                     560.00
                                                                                Service Charge °A):           18.00                     100.80
                                                                                           Tax %:              7.75                      51.21
                                                                                                           Total:                       712.01



             Room Rental                                                                       Price                                  Amount

     Room: Ho-O-Kan                                     Function: DIN
                                                                                                          Subtotal:                        0.00
                                                                               Room Rental Tax %:                 7.75                     0.00

                                                                                                           Total:                          0.00


                                                                                                      Grand Total:                      712.01


                                                                                                     Balance Due:                       712.01




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                      Exhibit 3 - Page 303
       Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 96Check#:
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                                                                                  Page ID
                                         #:325273      Mission Inn                                                           Page: 1 of 1
                                              A National Historic Landmark Hotel & Spa
                               3649 Mission Inn Avenue • Riverside, CA 92501 - {951) 784-0300 • Fax 951) 784-5525           Printed: 8/6/2008
                                                Estimated Banquet Check                                                Arr: 5/14/2008 Dep: 8/30/2008

Account:       MGA Entertainment                                                     Event Date:          7/28/2008
Post As:       MGA Entertainment
                                                                                     Contact:            Mr. Craig Holden
BEO Name:      MGA Entertainment
               16300 Roscoe Boulevard                                                Phone:              (818) 221-4403
Address:
                                                                                     Fax:
               Suite #150
                                                                                     On-Site:
               Van Nuys, CA 91406




Quantity Miscellaneous                                                                           Price                                  Amount

           1   Mini Fridge Rental                                                   10.00 Day                                              10.00
           1   Phone Line with PolyCom Phone - RCR A                                15.00 Day                                              15.00

                                                                                                            Subtotal:                      25.00
                                                                                   Service Charge %:                0.00                    0.00
                                                                                                   Tax %:           0.00                    0.00
                                                                                                             Total:                        25.00



               Room Rental                                                                       Price                                  Amount

     Room:     Rotunda Conference Room E                   Function: OFFC                 100.00                                          100.00
     Room:     Rotunda Conference Room F                   Function: OFFC                 150.00                                          150.00
     Room:     Rotunda Conference Room A                   Function: OFFC                 150.00                                          150.00
     Room:     Rotunda Conference Room B                   Function: OFFC                 100.00                                          100.00
     Room:     Rotunda Conference Room C                   Function: OFFC                 100.00                                          100.00
     Room:     Rotunda Conference Room D                   Function: OFFC                 100.00                                          100.00

                                                                                                            Subtotal:                     700.00
                                                                                 Room Rental Tax %:                 7.75                   54.25

                                                                                                              Total:                      754.25


                                                                                                        Grand Total:                      779.25

                                                                                                       Balance Due:                       779.25




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                        Exhibit 3 - Page 304
       Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 97 of 101 4Q201
                                                                                  Page ID
                                   Mission     inn
                                         #:325274                       Check#:
                                               A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                                3649 Mission Inn Avenue • Riverside, CA 92501 • {951) 784-0300 • Fax (951) 784-5525            Printed: 8/6/2008
                                                 Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008

Account:       MGA Entertainment                                                       Event Date:          7/29/2008
Post As:       MGA Entertainment
                                                                                       Contact:            Mr. Craig Holden
EEO Name:      MGA Entertainment
               16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
Address:
                                                                                       Fax:
               Suite #150
                                                                                       On-Site:
               Van Nuys, CA 91406




Quantity Food                                                                                      Price                                 Amount

           1   Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                           50.00
               Specialty Teas - 7:00AM
                                                                                                              Subtotal:                      50.00
                                                                                    Service Charge %:             18.00                       9.00
                                                                                               Tax %:                 7.75                    4.57
                                                                                                               Total:                        63.57


Quantity Miscellaneous                                                                             Price                                  Amount

           1   Mini Fridge Rental                                                    10.00 Day                                               10.00
           1   Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                               15.00

                                                                                                              Subtotal:                      25.00
                                                                                     Service Charge %:                0.00                    0.00
                                                                                                     Tax %:           0.00                    0.00
                                                                                                               Total:                        25.00



               Room Rental                                                                         Price                                  Amount
    Room:      Rotunda Conference Room A                    Function: OFFC                  150.00                                          150.00
    Room:      Rotunda Conference Room B                    Function: OFFC                  100.00                                          100.00
    Room:      Rotunda Conference Room C                    Function: OFFC                  100.00                                          100.00
    Room:      Rotunda Conference Room D                    Function: OFFC                  100.00                                          100.00
    Room:      Rotunda Conference Room E                    Function: OFFC                  100.00                                          100.00
    Room:      Rotunda Conference Room F                    Function: OFFC                  150.00                                          150.00

                                                                                                              Subtotal:                     700.00
                                                                                   Room Rental Tax %:                 7.75                   54.25

                                                                                                               Total:                       754.25


                                                                                                          Grand Total:                      842.82


                                                                                                         Balance Due:                       842.82




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       Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 98 of 101 40,202
                                                                                  Page ID
                                         #:325275       Mission Inn     Check#:
                                               A National Historic Landmark Hotel & Spa                                           Page: 1 of 1
                                3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525             Printed: 8/6/2008

                                                 Estimated Banquet Check                                                  Arr: 5/14/2008 Dep: 8/30/2008

Account:       MGA Entertainment                                                       Event Date:          7/30/2008
Post As:       MGA Entertainment
                                                                                       Contact:            Mr. Craig Holden
BEO Name:      MGA Entertainment
               16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
Address:
                                                                                       Fax:
               Suite #150
                                                                                       On-Site:
               Van Nuys, CA 91406




Quantity Food                                                                                      Price                                  Amount

           1   Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                            50.00
               Specialty Teas - 7:00AM
                                                                                                                Subtotal:                     50.00
                                                                                     Service Charge %:            18.00                        9.00
                                                                                                Tax °A°:           7.75                        4.57

                                                                                                                Total:                        63.57


Quantity Miscellaneous                                                                             Price                                   Amount

           1   Mini Fridge Rental                                                    10.00 Day                                                10.00
           1   Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                                15.00

                                                                                                                Subtotal:                     25.00
                                                                                     Service Charge %:                0.00                     0.00
                                                                                                     Tax °A):         0.00                     0.00
                                                                                                                Total:                        25.00



               Room Rental                                                                         Price                                   Amount

     Room:     Rotunda Conference Room A                    Function: OFFC                  150.00                                           150.00
     Room:     Rotunda Conference Room B                    Function: OFFC                  100.00                                           100.00
     Room:     Rotunda Conference Room C                    Function: OFFC                  100.00                                           100.00
     Room:     Rotunda Conference Room D                    Function: OFFC                  100.00                                           100.00
     Room:     Rotunda Conference Room E                    Function: OFFC                  100.00                                           100.00
     Room:     Rotunda Conference Room F                    Function: OFFC                  150.00                                           150.00

                                                                                                                Subtotal:                    700.00
                                                                                   Room Rental Tax %:                 7.75                    54.25

                                                                                                                 Total:                      754.25


                                                                                                          Grand Total:                       842.82

                                                                                                         Balance Due:                        842.82




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       Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 99Check#:
                                                                          of 101 40,220
                                                                                  Page ID
                                         #:325276  Mission Inn
                                          A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                           3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/6/2008
                                            Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008

Account:    MGA Entertainment                                                     Event Date:          7/30/2008
Post As:    MGA Entertainment
                                                                                  Contact:            Mr. Craig Holden
BEO Name:   MGA Entertainment
            16300 Roscoe Boulevard                                                Phone:              (818) 221-4403
Address:
                                                                                  Fax:
            Suite #150
                                                                                  On-Site:
            Van Nuys, CA 91406




Quantity Food                                                                                 Price                                 Amount

       20 CHEF'S SELECTION DINNER BUFFET                                        28.00 Per person                                      560.00

                                                                                                         Subtotal:                     560.00
                                                                               Service Charge %:             18.00                    100.80
                                                                                          Tax %:              7.75                     51.21
                                                                                                          Total:                      712.01



            Room Rental                                                                       Price                                 Amount

    Room: Ho-O-Kan                                     Function: DIN
                                                                                                         Subtotal:                       0.00
                                                                             Room Rental Tax %:                  7.75                    0.00

                                                                                                          Total:                         0.00


                                                                                                     Grand Total:                     712.01

                                                                                                    Balance Due:                      712J01




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                     Exhibit 3 - Page 307
       Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 100  of 101 Page
                                       ID #:325277   Mission Inn        Check#: 40,203
                                            A National Historic Landmark Hotel & Spa                                         Page: 1 of 1
                             3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525           Printed: 8/6/2008
                                                                                                                      Arr: 5/14/2008 Dep: 8/30/2008
                                              Estimated Banquet Check

Account:    MGA Entertainment                                                       Event Date:          7/31/2008
Post As:    MGA Entertainment
                                                                                    Contact:            Mr. Craig Holden
BEO Name:   MGA Entertainment
            16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
Address:
                                                                                    Fax:
            Suite #150
                                                                                    On-Site:
            Van Nuys, CA 91406




Quantity Food                                                                                   Price                                  Amount

       1    Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                           50.00
            Specialty Teas - 7:00AM
                                                                                                           Subtotal:                      50.00
                                                                                  Service Charge %:            18.00                       9.00
                                                                                              Tax %:               7.75                    4.57
                                                                                                            Total:                        63.57


Quantity Miscellaneous                                                                          Price                                  Amount

       1    Mini Fridge Rental                                                     10.00 Day                                              10.00
       1    Phone Line with PolyCom Phone - RCR A                                  15.00 Day                                              15.00

                                                                                                           Subtotal:                      25.00
                                                                                  Service Charge %:                0.00                    0.00
                                                                                                  Tax %:           0.00                    0.00

                                                                                                            Total:                        25.00




            Room Rental                                                                         Price                                  Amount

    Room:   Rotunda Conference Room D                    Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room E                    Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room F                    Function: OFFC                  150.00                                          150.00
    Room:   Rotunda Conference Room A                    Function: OFFC                  150.00                                          150.00
    Room:   Rotunda Conference Room (3                   Function: OFFC                  100.00                                          100,00
    Room:   Rotunda Conference Room C                    Function: OFFC                  100.00                                          100.00

                                                                                                            Subtotal:                    700.00
                                                                                Room Rental Tax %:                 7.75                   54.25

                                                                                                             Total:                      754.25


                                                                                                       Grand Total:                      842.82


                                                                                                       Balance Due:                      842.82




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           Case 2:04-cv-09049-DOC-RNB Document 10684-3 Filed 07/11/11 Page 101  of 101 Page
                                                     Mission Inn
                                           ID #:325278
                                                                            Check#: 40,221
                                            A National Historic Landmark Hotel & Spa                                         Page: 1 of 1
                             3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525           Printed: 8/6/2008
                                                                                                                      Arr: 5/14/2008 Dep: 8/30/2008
                                              Estimated Banquet Check

Account:      MGA Entertainment                                                     Event Date:          7/31/2008
Post As:      MGA Entertainment
                                                                                    Contact:            Mr. Craig Holden
BED Name:     MGA Entertainment
              16300 Roscoe Boulevard
                                                                                    Phone:              (818) 221-4403
Address:
                                                                                    Fax:
              Suite #150
                                                                                    On-Site:
              Van Nuys, CA 91406




Quantity Food                                                                                   Price                                  Amount

       20     CHEF'S SELECTION DINNER BUFFET                                      28.00 Per person                                       560.00

                                                                                                           Subtotal:                     560.00
                                                                                  Service Charge %:            18.00                    100.80
                                                                                             Tax %:                7.75                  51.21

                                                                                                            Total:                       712.01




              Room Rental                                                                       Price                                  Amount

     Room:    Ho-O-Kan                                   Function: DIN

                                                                                                           Subtotal:                       0.00
                                                                                Room Rental Tax %:                 7.75                    0.00

                                                                                                            Total:                         0.00


                                                                                                       Grand Total:                      712.01

                                                                                                      Balance Due:                      712.01




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